       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 1 of 134




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                             þr Sï'RICT (}F C(}NNXùC'{'{CU'ï'

IN IìB ]].iVA SI'ìCI]RI]'iI]S I,I:IIGATION    No.   3: I 7-CV-55tì (SRIJ)




'IHIS DOCTJMLìN'| RI]I,A'IES 'fO              No.   3: 1 B-cv-O1721(SIìIJ)

STATE OIT ALASI(A DEPAIì'|MENI- OF
IlllVLìNtJÌ1,'lRllAStJIìY DIVISION ANI)       F'IIìST AMN,NDEI)
.fi
    IIJ AI,ASI(A PI{ìMANIIN'I' iII]NI)         COMI'LAINT
CORPOIì.A'|ION
                                              .ItiIìY'f ITIAI- ÐEMAP{DEI)
                             Plaintiffìs,

              VS.


TI]VA PFIAIìMACEUTICAI, INDIJSTRII]S
I-'I'D.; iiREZ VIGODMAN; IiYAL
DIrSI-lllFI; YAACOV AI-TMAN;
SIGT]IìDUIì OI,AIìSSON ; KÅRE
SCIITJI-TZ; AND MICI IAI]L MCCLELLAN,

                             Dcf'enclants
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 2 of 134




                                      TAIìLE OII CONÏ'ENI'S
                                                                                                 nÌasç

I     INl'ROI)TJC]Ï'ION                                                                             .1

II.   JIJIìISDIC'|ION AN D VllNtJI        r                                                         ,9

III   PAR'I]IìS AND IìI,'LIIVANl''fI I]RD-PAI{'I'IES                                                .9

      A.     Plaintilß...                                                                           .L)

      B.     Defendants                                                                             l0
      C.     Iìclevant'fhird Parties                                                                12

IV    FAC'I'IJAL ALL]]GA'I'IONS                                                                     t2
      A.                   of Generic Drugs in the U.S. Is Structured to Create a
             T'he Iìegulation
             Competitive Market for the Benefit of Consumers.........,..                            t2
      ll.    In 2010-2014, a Backlog of ANDA Approvals at the IìDA Crcated a Window
             of Iteduced Cornpetition in the Generic Drug Market .........,.,..                     t4
      C.     By 2013, f'eva Was Perfonning Poorly and lìacing a Collapsing ADS Price.....           15

      D.     By 20\4, Defèndants V/ere Iìully Aware that Plice llikes lor Generic Drugs
             Could Not tse Maintainecl lbr an Extencled Period.,.....                               I7
      H.     Vigodman Ilecomes CllO and 'feva Announces Its Strategy to lJse Its Stook
             as Currency for a Major Acquisition                                                    21

      F.     'l'eva Substantially Increases Priccs on ¿r Multitudc of Drugs to Prop lJp Its
             l)eclining Revenues and Increase Its Share Price ........,                             22
              1. 'l'cva's Price Incrcases Were Approved by the Company's Senior
                      Ilxeoutives                                                                   z5

             2.       l'eva lJnilaterally Increased Prices on Dozens of Drugs                       24

             3.       Teva Increased Prices in Parallel with Other Manufacturers for a
                      Number of l)rugs                                                              25

             4,       Teva Actively Cìolluded with Other (ieneric Drug Manulacturers to
                      lìix Prices                                                                   26

                      a)        l)irect Evidence of Plice-Fixing: Nystatin and'l'heophyllinc
                                8R............                                                      27

                      b)        Direct Llvidence ofPrice-Fixing: Glipizide-Metformin............., 29
                      c)      Other Indicia of Price Collusion..                                    31

             5.       As a Iìesult of the Price Increases, 'I'eva Increasecl Its Ilevenues and
                                                                                                    aa
                      Profits by Ilillions of Dollars.                                              JJ

      G.     Iìecognizing that Its Price Inorease Scheme Was lJnsustair"rable for More than
             a Short Period, Teva Misleads Investors Iìegarding the llasis for Its Improved
             Irinancial Perfornanco................                                                 34
     Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 3 of 134



    FI    Prulpellecl by Price Increases,'l'cva's ADS Pricc       Ascencls                ..................35
          Defenrlants Lay Plans for a Major Accluisition--lnllating the ADS Price to
          lJse as "Currcncy"................                                          ,........36
    .I
          'l'he Company Announoes a $40 Iìillion Accluisition of Actavis lìuelecl ÌÌy Its
          Inllated Slrare Price ancl a I'roposcd Iloncl Ofäring.............                 ...............37
          1.      Teva Issues $3.375 Ilillion in ADS ancl fi3.375 Billion in Prol'erred
                  Shares While the ADS'i'rade at an Inl'lated Price             ...................31
          2.      Del'endants Iìush the Notes Ol'fering ancl Conceal the Fact that'feva
                  IIad lleen Served Subpoenas by the DOJ and the Connecticut 4G..........3tì
    K.    ]'he Fraud Unravels, Clausing the Price s of ]'eva Seculities to lìaIl ...................... 3 9
          l.      Days After the Close of tlie Actavis 'fransaction, 'feva llelatedly
                  Announces It Is the Subject of Government Antitrust Investigations.......39
          2.      'I'he Market Is Surprised When'l'eva Announces Dismal Iìesults for
                  the Third Quarter o1'2016 and Olafìsson Is lrired.........     ............40
          3.       'I'eva's Profits from Its Price Increase Plan Iìurther Dry tJp, and
                   Vigodman and Desheh Are Iìorocd Out of the Company..                               ......40
          4.       After Vigodman, Desheh and Olafsson Are'ferminated,'l'eva Lowers
                   Guidance, Cuts Dividends, and T'ake s a $6.1 Billion Charge Against
                   lrarnings                                                                                41

          5.       'fhe Market l,earns Additional Details I{egarding Delèndants' Price-
                   lìixing Scheme                                                                           42

V




                                                 l1
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 4 of 134



              13      Novembel lL), 2015 ......,                                                    62

              14      .lernuary 11, 2016.,..........                                                63

              15      Iìebruary    ll,   201 6..........                                            64

              16      Maroh fl, 201 6................                                                 69

              17      May 9, 2016.........                                                            71

              l8      May 10, 2016.................                                                   74

              19      June 3 and 8, 2016.....,,..                                                     75

              20      .Iuly I 3, 2016..................                                               76

              2l      August 4,2016......                                                             78

              22      September 7 andL),2016                                                       ,80

              23      November 75, 2016 .......                                                    .83

              24      January 6,2017                                                               .86
              25      F'ebruary 15, 2017 ..........                                                ,87

              26.     August 3,2017...                                                             .89
              27 .    October 31,2017                                                              .90
              28.     I)ecember 19,201[ì, January IB,2019 and lîebruary 19, 2019 ....,......       .91

       tl.    Delèndants Violated ltem 303 ol'SEC llegulation S-l( and Item 5 of lìorm
              20-F..........                                                                   .....91
VI.    ADDI'I'IONAI- AI,I,ì](ìATIONS OIì SCIIIN'I'ìJI{ .........                               .....93
VII    '[IIE ]'RU'fII EMtllìGliS: ALLEGATIONS OIì LOSS CALJSAT'ION..........,,..,,.... ...109
       A.     August 4-5,2016                                                                  ..,109
       B.     November 3 and November 6,2016......                                             ...110
       C,     November 15,2016                                                                 ...I     11

       D.     l)ecember 5-6,2016 ...............                                               ...112
       lr.    I)ecember 14,2016...,............                                                ... 1 13

       F'.    l)ecember 15-18, 2016 .........                                                  ...1r4
       G.     .Ianuary 6-8,2077 .............,.                                                ..,115
       H.     IÌebruary 6-7,2017 ...............                                               ,...116
       I.     August3-7,2077..........,.,.,                                                    ....1 16

       J.     November 2,2017 ...,..,,.,.,.,.                                                  ....118
       K.     February8,2018........,..,....                                                   ...,1 18

       L.     DecernberT-10,201t1.....,......,..                                               ,... I   t9
       M.      Mayl0-13,2019................                                                   ....120
VIII   PLAIN'I'IÌìIìS ARlr EN'|ITLI:D TO A PI{ESUMPTION OF i{8L14NCIt...........'... ,,..122


                                                           lll
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 5 of 134



iX    'lllì,i S'fA1IJ'|OIìY SAIìlr,lIAIlllOR AND IllìSPll,A.KS CAlll'lON DOC'I'IìINlì
      ARI]INAPPI,IC'AIII,Iì                                                                    .,..,.,...124
X.    cAtJSIiS Otr AC',f1()N...............                                                 .......,...."125
      COTJNT  I lìor Violations of Scction 10(b) of the lìxchangc Act and iìule ] 0b-5
      Promulgated'I'hcreuncler Against ll'eva and thc Individual Dclènclants..........................125
      COTJNT    II lror Violations of Scction 20(a) o1-the Iixchangc Act Against thc Individual
      Defèndants                                                                              .,.........126
XI.   PI{AYUR IìOR IìULI}ÌF............                                                     ..............121
XII   .IIJRY TRIAI, DI]MAND8D............                                                         .......128




                                                   IV
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 6 of 134



       Plaintil'fìs the State of Alasl<a Department of'llcvennc, 'l'reasury Division and thc Alask¿r

l)crmanent Fr-rnd Corporation (collectively, "Plaintif'ß") purohzrscd or otherwise zrcclnirccl 'l'eva

Pharnraceutical Illclustrios [,tcl. ("'I'evzt" or the "C]ompany") sccurities between lìebruary 6,2014

and May 10,2019, inclusive (the "lìelevant Period") and were damaged thereby.

       Plaintif{ìs, by and through thoir counsel, allege the following uporl personal kr-rowledge as

to themselves and their own acts,       an<l upon information and    belief as to all other mattels.

Plaintilß' information and beliel'is   based upon, among otl-rer things, the investigation conducted

by and through their attorneys which included, among other things, a review of l)efcndants'

public documents, confercnce calls and announcernents, United States ("[J.S.") Securities             ancl


Exchange Commission ("SEC") hlings, wire and press releases published by and regarding

'l'evÍl, analysts' reports about the Company, pricing data for various generio drugs obtained fiom

a nationally recognized database, various    civil complaints alleging violations of l'ederal and state

antitrust and unfair competition laws by 'Ieva and its subsidiaries, the amendecl consoliclatecl

olass action oornplaint filed in Onlario T'ectchers' Pen,sion ltlan llour¿l v.T'eva Pharmuceutical

Indttslries /-l¿l., No. 3:17-cv-00558 (SRIJ) (D. Conn. June 22,2018) ("Ontario               T.eachers

Cornplaint"), the second amended consolidated class aotion complaint filed in Onlario T'eachers'

Pension Plan Board     v. Teva Pharmaceuticul Industries ltd., No. 3:17-cv-00558 (SIIU)               (D.

Conn. Dec. 13,2019') ("Ontario T'eachers Amended Cornplaint"), and inftrrrnation obtainable on

the Internet. Plaintillìs believe that substantial additional evidentiary support    will exist for    the

allegations set forth herein aîIer a reasonable opportunity for cliscovery.

I.      INTIIODUCTION

        1.      Plaintilfs bring this action to recover damages caused by Defendants' violations

of'the federal securities laws and to pursue remedies under Sections 10(b) arid 20(a) of               the
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 7 of 134



Sccurities llxchange Act of'1934 (the "ì:ixchange Act") and SIICI Rule 10b-5, 17 C,lì.R.                ô


240. 1 0b-5, promulgatecl thereunder.

          2.    'l'eva is a pharmaceutical company basecl in Islacl that clcvekrps. procluccs and

markets gencric pharrnaceutical proclucts worldwidc, with a signilìcant presence in the lJnited

States, Iìurope and other markets. Teva is tl're leading generic drug cornpany             in the lJnited

Statcs.

          3.    'l'his action ariscs out of '['eva's plan to engagc in massive price increases fòr

many ol'its lJ.S. generic drugs to   liel   an increase in short-tenn (2 to 3 year) prolìtability. 'I'eva

believed that through this strategy, the short-terrn profrtability fiorn price inoreases would allow

the Company to use its stock as ourrr:ncy to make a major accluisition tliat (it hoped) would

secure its long-term   luture. I{owever, such a prioe     increzrse stratcgy   is not sustainable over thc

long-tcrm in the generic drug business-due to relative low barriers t<l entry to the market and

other reasons explained below--and'feva knew it.

          4.    Given'leva's unsustainable business model, l)efen<lants lied to investors for thrce

years--f'rom February 2014 through February 2017-by l'alsely claiming that 'lleva was not

increasing prices and that the Company's increased prolitability was in fàct due to other, more

sustainable factors including aggressive cost-cutting and improved operational ef1ìciency.

'l-eva's liaudulent statements perrnitted the Company to mislead the market and to complete a

$40 billion acquisition of the Actavis generic drug clivision from Allergan plc in 2015. Flowever,

Teva's price increases coulcl not be sustained. Ry rnid-2O16, the Company succumbed to the

pricing pressures of the generics market, and its stock price declined, costing investors tens of

billions of dollals.




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          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 8 of 134



        5.      Prior to the Iìelevant Period,'l'eva f'accd major heaclwinds. In 2012,'I'eva

reoeivecl a subpoena Iìom the SIìC lbr allegcc'l violatior-rs of'the lìederal Corrupt Practices Act

("FCPA"). 'fhe SHC allegccl that'feva bribed Iìussian,         Iriastern liuropcan, ancl   Latin Amcrican

countries to gain market share ol'generic drugs and Jàlsifiecl its accounting. 'I'eva later parid a

Íì519 million line to the SEC and the LJ,S. l)epartment of .Tustice ("DOJ"). No longer able to rely

on bribes to foreign ollìcials, these pipelines driecl up.

        6,      'I-eva's U.S, pipeline was equally bleak. 'I'he Company's [J.S. generics business

reportcd clramatically lower revt:nues, year over year.        A May 3,2013       Deutsche Bank report

concluded that Teva's overall generics business had "significantly underperformcd."            Iìy August

14, 2013, 'leva's then-Chiol' Executive Ofhcer ("CllO") and President Jererny                   M. I-evin
("[,evin") aoknowledged that "(ieneric growth in the United States lwasl                          slowing

fundamentolly." Moreover, feva would soon lose its patent protection on Copaxone, by fàr its
Iargest specialty drug, accounting for as much as 50'r/o of 'leva's profits at that time. On October

30,2013,'l'eva's Board of Directors I'orced Levin to step down, less than 18 months into the job.

          7.    In sum, T'eva   necclecl   to rcinvent itself. In.Tanuary 2014, 'feva announced        the

appointment of Defendant E¡e'z Vigodman ("Vigodman") as its President and CIrO, effeotive

February 11,2014. LIe replaced Defendant lìyal Desheh ("I)esheh"), Teva's Chief Financial

Ollìcer ("CFO") fiom July 200t1 through June 30, 2017 (except lrom October 30, 2013 to
                                                     -leva's
February 11,2014, during which he served as                    Interirn CllO and President). From the

time Vigodman took over in January 2014, it immediately became clear that'Ieva's plan was to

acquire new businesses potentially using Teva's Amelican Depositary Shares ("AI)S")                     as


cuffency. As l)esheh explained on a Q4 2013 earnings call (February 6,2074), Teva was, with

respect   to potential "business opportunities," "open f'or business." I)uring the Maroh 4, 2014



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        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 9 of 134



Cowen Ilealthcare Conlèrenco, I)esheh rlrade plain'l'eva's intentions (and nced to bclost its stock

pr:ice by any means) when hc notcd that,     with "the lstockl pricc under llì40, ... we can't use ['I'eva

Securitics asl ourroncy" {br the large accluisition he hacl toutecl two months c¿¡rlier.

        8.       'l'o achievc its   growth-thr:ough-accluisition strategy, 'l'eva had      to improvc its
prolìts and its share price. Although'l'eva was touting, as early as October 30,2013,                    a


lurnaround plan based upon an "acceleratefd'1" cost reduction plan and "a muoh better, ellìcient

generic machine[,]"       in reality, T'eva was imploving its prolitability through      enonnous price

increascs lbr drugs f'or which the Company had (i) some <legree of independent market power,

(ii) the ability to   engage in parallel price increases with other drug companios (because of limited

competition), or (iii) the ability to engage in outright price collusion in violation of the autitrust

laws. Pursuant to its prioe increase scherne, 'I'eva inoreased the prices on as many        as 55 drugs by


as nruch as    l700Yo. Wliilc'I'eva hacl begun price increases in.Iuly and August 2013, suoh plice

incrcases continued      inlo2014 and 2015, and involved at least 55 separate drugs. Many of these

price increases exceeded 500% and some exceedecl 1000% and even 1500%.

         9.      As a result of thcsc huge price increases, Teva's lJ,S. gener:ic segment revenues

inoreased by nearly 15% from $4.1S        billion in 2013, to $4.79 billion in 2015, and then decreased

to $4.56 billion in 2016, as the inevitable pricing pressure took its toll on the price iucrease

strategy.

         10.      For atime, Teva's plan worked---its share price increased from just over $37 per

share   in September 2013 to more than $70 per        share   by July 2015. I-Iowever, Teva well knew

that a strategy fbr increasing profitability based upon increasing drug prices could not                be


 sustained because the U.S. Food         &   Drug Administration ("Ff)A") was devoting increasing

resouroes     to approving Accelerated New Drug Applications ("ANDA") through which generic



                                                     4
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 10 of 134



manulàotLlrers could bring generic dlugs      to market on a Iàst-traoked basis. 'l'hus, critical to
'I'eva's strattegy was ûì¿rscllrerzrding the true basis fbr its increased pro{its and revenuos. Avoiciing

the taint of prioc increases beeame particularly irnportant ber:ausc of the public scrutit'ty affordcd

price increases in f'ormor'ly inexpensive generic drugs. As a result of the initial 'l'eva price

increases in.Tuly and August2013 and similar price increases by othcr generics manufacturers, in

January 2014, the National Community Pharmacists Association ("NCI'A"¡ wrote to the ll.S.

Senate l-{ealth Llducation I-abor and Pensions    ("IIìjLP") Committee and the U.S. I-louse lrnergy

and Commeroe Cornmittee recluesting hearings on the signifioant spike in generic phartnaceutioal

pricing. On July 8, 2014, T'hc New York Times addressed pricing issues in an article titled,

"Iìapicl Price Increases for Some (ieneric Drugs Catch lJsers by Su:prise," highlighting a 100%

plice increase for digoxin, a longtime generio drug.

          11.   As a result of the N.Y. 'fimes article, the Connecticut Attorney Gener:al ("C'f

AG") began an investigation on pricing issues with a focus on digoxin. Other state att<lrneys

general   ("A(is") followed suit. On October 2, 2014,lJ.S.          Senator Ilernie Sanders and U.S.

Representative    lilijah [ì. Cummings sent lelters to 'feva and thirteen other generic drug
companies asking for <letailed information on vatious generic drug price            hikes. 'leva    never

responded to these letters.

          12.   In November 2014, the U.S. Department of .Iustice ("I)OJ"), which had also

opened an investigation into price 1ìxing      of generic drugs, convened a grand jury in the U.S.

District Court for the Eastern District of Pennsylvania, pursuant to which subpoenas were issued

to Teva and ten other generic drug makers.

          13.    In response to this increasing drum beat regarding ever-accelerating increases in

generic drug prices, 'l'eva sought at all costs to avoid any suggestion that price increases were the




                                                     5
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 11 of 134



cause   ol its seemingly rniraculous turnarouncl. Aocorclingly, at the begir-uring ol'the Ilclcvant

Period (lìebruary 6,2014), 'l'cva attributecl its increase in revenues to highcr sales volumes ancl

launohes of new generic drugs. Nothing was said about the cighteen clrug price ir"rcreases flron-l

the summu: of 2013. In May 2014, trumpeting its Iirst quartcr 2014 results,'leva again reliccl

upon "new product launches" and a changed cornposition ol'revenues to explain its increased

profitability. On October 30, 2014, during the thircl cluarter 2014                      earnir-rgs   call, Teva   was

specil.rcally asked about the irnpact of'price increases, but Defèndant Sigurdur "Siggi" Olafsson

("Olalìsson") deflected, suggesting that thcre wcre no signilìcant increases sinoe "the base

business itsell'is slowly eroding . . .           ."    And at the end of 2014, Defendant Olafsson, President

and CEO ol'l'eva's Global Generic Medicines Group (since.Tuly 1,2014), rejected the premise

of tlre question, stating: "[LJet me correct.                 I   ltave to disagree that tltey ltave ex¡teriencecl
                                              I
trenrcndo us ¡t r ic e in cr e as e [s J ."

            14.     Throughout the remainder of 2015 and into 2016, Defendants flatly denied that

'I'eva's irnproved performance was the result of price increases. Iìor example, on February 11,

2016, Olafsson falsely insistecl that Teva achievecl $1 billion                   in   increasecl profits   "lnlot by

pricing but by portfolio mix, new products and efhciency measures." Vigodman made a similar

pronounoement on October 29,2015:

            [A]ll the improvements you see in margins is not driven hy price. It is driven by
            quantities, and by mix, and by efhoiency measures not by price,2014,2015. And
            tltat's o very important nxessflge.
'flrese statements wele demonstrably false-by mid-July 2015, Teva had raised prices on tnore

than   6l   drugs, including many by more than250%o.

            15.      On .Iuly 27,2075, when Teva's stock was trading at an all-time high, Teva's

master plan came to fruition when                 it   announced the purchase of Allergan's generics division,

            Unless otherwise stated, all emphasis is added



                                                                  6
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 12 of 134



Actavis. 'l'he    cleal, which was expected   to close in mid-2016, woulcl cost Teva approximately

llì40   billion, most o1'which was to be Iindecl througl-r a massivo debt ollèring   (as   well ¿rs a smaller

ADS and prelerred stock oI'feririg). While the debt ol'ler:ing initially was scheciulccl to takc place

after tl-re close of thc transaction, in.Tuly 2016,recogni'z,ing that the pricc-increase scheme coulcl

no longer bc maintained, 'l'eva announced that the debt offering would be accelerated to the end

of the n-ronth. 'l'he deal closed on August 2,2016.

           16,     Just two days after the closing of the Actavis transaction, on August 4,2016, 'feva

reported second quarter 2016 fìnancial results that reflected a $ì434 million decline in revenues in

its tJ.S. generics scgment comparcd to the second quarter of 2015. Teva also revealed lÌlr the

lìrst time that it was the subjeot of DOJ and state AG investigations into prioe collusion.

           11.     Shortly thereafter, on September 72, 2016, the tJ.S. Government Accountability

Office ("GAO") issued an audit rcport ("GAO lìcport") that generic drug manufacturers had

engaged in hundreds of uncxplaincd "extraordinary pricc increases," including price increases              of

more than 1,000%. 'l'eva owned the rights to many of the drugs identified in the GAO Iìeport as

having exhibitecl an extraordinary price increase between 2013 ancl 2015"

           18.     Then, on November 3, 20116, media outlets reportecl that lJ.S. prosecutors might

file criminal charges against Teva and others for unlawfully colluding to fìx generic drug prices.

On November 15, 2016, Teva reported third quarter 2016 revenues below                              consensus

expectations, which Olafsson stated were a result of pricing pressures in 'I'eva's lJ.S. generics

business.

            19.    On December 15,2016, the C'l'AG and ninetecn other AGs filed a civil

complaint in the U.S. District Court for the District         of Connecticut   against various generic




                                                     7
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 13 of 134



pharmaceutical m¿lnulàoturers, including 'l'eva Pharm¿iceuticals IJSA, Inc. ("'l'eva [JSA"), lbr

allegecl anticompetitive activity.

          20.   As 'l'eva's lìnancial conclition cletcrioratcd   ¿rncl   the scrutiny surrounding the AGs'

allegatior-rs ancl   the GAO Iìcport mounted in the latter half'o{'2016,'l'eva's stock price

preoipitously deolined. In relatively short order, the key executives responsible f'or thc tJ.S.

generics business      left the Company or were fitred, including Olafsson who was fired                    on

I)ecernber 5,2076; Vigodman who was terminated on Iìebruary 6,2017; and Desheh who left on

Junc 30, 2017. 'l'he "inauspicious tirnling]" ol'thesc departures was not lost on market watchers

like T'hestreet which reportcd that Olafsson's departure "raisfedl rnore questions for investors

amid continued worries around drug pricing."

          21.   On August 3,2017, in the lìrst hnancial report issued aftor Desheh, Vigodman

and Olafsson departed the Cornpany,'Ieva announced a Íì6.1               billion write down of its entire lJ.S.

generics business, which had been artificially inflated as the result of its ultimately unsustainable

price increase scheme. Ilowever, I)efendants continued to repeatedly-and falsely-deny that

Teva was involved in any collusive conduct, further rnisleading investors during the Relevant

Period.

          22. in May 2019, the State AGs fìled an expanded complaint                       alleging that 'I'eva

significantly raised prices on approximately 112 generic drugs, and fixed prices and/or allocated

markets for at least 107 drugs,

          23,    From July 2015 through the end of the lì-elevant Period, the price of 'feva's ADS

collapscd from an all-tirne high      of $72 per    share to just over $12, causing'leva's market

 capitalization to decline significantly. As a result of Defendants' acts and omissions, and the




                                                     I
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 14 of 134



substantial clecline       in the mad<ct value ol' 'l'eva's      securities, Plainti{'1*s sul'fered signifìcant

clamages.

xï.    .IUR.ÏSÐïCTïON,,\htÏ) VEt\{l}i

       24,           '['he claims assertecl hercin arisc uncler Sections l0(b) and 20(a) ol'the l.ixchange

Act, 15 LJ,S,Cì. $$ 78j(b) and 78t(a), and the rules and rcgulations promulgated thereundcr,

including SEC Iìule 10b-5, 17 C.F.R. ô 240.10b-5.

       25. 'fhis Court has jurisdiction            over the subject matter of this action pursuant to

Section 27    c'¡f   the Exchange Act, 15 IJ.S.C. $ 78aa, and undcr 28 IJ.S.C. $ 1331, because this is a

civil action arising under the laws of the lJnited     States.

       26.           Venue is proper in this District pursuant to Section 27 ol the Exchange Act and 28

rj.s.c, $ l3e1(b),

        2l.           In connection with the acts, conduct and other wrongs alleged in this Cìomplaint,

I)efenclants, directly or indirectly, usecl the means and instrumentalities oI interstate commerce,

including but not limited to, the United States mail, interstate telephone comlnunications, and the

facilities of the national secudties exchange, namely the New York Stock llxchange ("NYSE").

III.    I'AIìTIBSANDIIELEVANTTHIIìD-I'AIITIES
        A.            PlaintilÏs

        28.           Plaintiff the State of Alaska Department of lì"evenue, 'I'reasury Division            (the

"Treasury f)ivision") is the bank and trust center for the State of Alaska. The 'freasury Division

provides oash management, investment and portfolio rnanagement, debt management and

accounting services          for the State's Gcneral Fund, the Constitutional Budget Reserve              Fund,

various retirement funcls and numerous other funds and trusts. f'he'l'reasury l)ivision purchased

or acquired 'l'eva securities during the l{elevant Period on the Ncw York Stock Bxchange                      at

prices that were artifìcially inflated by the materially false and misleading statements and


                                                        9
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 15 of 134



omissìons ol' matorial fàct complainecl     of hcrein, in violation o1 l'ecleral sccurities laws,   and


sul'lered clzrmages as a result.

         29.    Plaintil'f'Alaska Permanent Fund Corporation is a Statc-owned corporation, basccl

in   .luneau, Alaska, that manages the assets      of the Alaska Permanent Iìund and other luncls

<lesignated   by law, such as the Alaska Mental l-lealth 'l'rust lìund. Alaska Permanent lìuncl

Corporation purchased or acquired Teva securitics during the Relevant Period on the New York

Stock Exchange at prices that were artificially inflated by the materially false and rnisleading

statements and omissions of material faot cornplained of'herein, in violation      of federal seouritics

laws, and suffered damages as a result.

         30.     Both PlaintifTs aot on behalf of the citizcns of the State of Alaska and it is those

citizens, and particularly the beneficiaries o1'the various retirement funds and trusts managed by

Plaintiffi, who werc harmed by Delendants actions.

         B.      Defcndants

         31,     I)efendant 'feva is incorporated in Israel with its principal executive offices at    5


Basel Street, P.O. Box 3190, Petach'fikva,4951033, Israel. 'leva's tl.S, wholly-owned

subsidiary'I'eva IJSA has          its principal   off,tces   at   1090 l{orsharn Road, North Wales,

Pennsylvania, 19454, ll'eva engages in interstate comnìerce within this District and regularly

transacts business within the State of Connecticut. Teva ADS are listed ancl tradecl on the NYSL'I

under the symbol     "'I'EVA." Teva ADS are traded in the United States. Teva ordinary            shares


trade on the Tel Aviv Stock Exchange ("TASE") under the symbol "TEVA."

         32.     Defendant Vigodman was 'l'eva's President and CllO fiorn lìebluary 11, 2014

through February      6, 2017, and a Director fiom June 22, 2009 through February 6,               2011.

 Vigodrnan signed and certified celtain of Teva's reports on Fortns 20-F and 6-K fìled with the

 SIJC dur:ing the Relevant Period, as set forth herein.


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          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 16 of 134



          33.     Defendant Desheli was'l-eva's CFO h'on-r .Tuly 2008 through.lune 30,2011,

except liom October 30,2013 to l'ìcbruary 11,2014, <luring whioh hc scrvecl as'l'eva's luterim

CliO   ancl   Prcsident. Desheh also was 'l'eva's (iroup lìxecutive Vioc Presiclcnt ("ÌìVP") h'our

2012to.lune 30,2A11. Desheh signed and certifiod oertain ol''l'eva's reports on lìclrms 20-F'and

6-I( filed with the Sl,ìC during the Relevant Period,   as set   lorth herein.

          34.     Defèndant Yaacov    "I(obi" Altrnan ("Altman") was 'leva's Acting CFO fiom

October 31, 2013 through I'ìebruary     II, 2014. Altman signed and certilied certain of '|eva's
repofts cln lìorms 20-F and 6-K filed with the SIjC cluling the Iìelevant Period, as set forth

herein,

          35.     Defendant Olafsson was President and CIIO of Teva's Global Generic Meclicines

Group lrorn July 1,2014 until I)ecember 5, 2016. Prior to joining 'I'eva, Olafsson held senior

leadership and other positions, within Actavis between 2003 and 2014. As President ¿rnd CIIO of

'l'eva's Global Generics Medicincs (iroup, Olafsson possessed thc power and authority to control

the contents of the Company's reports to the SEC concerning feva's [J.S. generics business and

was plovidcd with copies of thc Company's rcports ancl press releases alleged herein to be

rnisleading before, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected.

          36.     Defendant Kåre Schultz ("Sohultz")h:as served as the President and CIIO of 'feva

since November 1,2017. In addition, Schultz has served on the Company's Iloard of Directors

since November 1, 2017. Schultz signed and certified certain of 'l-eva's periodic reports filed

with the SLìC during the Relevant Period, as set forth herein.

          37.      Defendant Michael McClellan ("McClellan") was 'leva's Executive Vice

President and CIIO from November 2017 until Novembel 8, 2019. Prior to serving in that role,




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        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 17 of 134



McClellan was'I'cva's Interim Group CllìO ircm.Tuly 2017 to November 2017 ztnd Scnior Vicc

President ancl CIìO, Global Specialty Medicines fiom 2015 tcl Novernbcr             2017. McClellan

signed ancl certil.rcd certain of 'feva's periodic reports filed with the SliC cluring th<: Iìelevant

Period, as sct l'orth hercin.

        38.     Defendants Vigodman, I)esheh, Altman, Olafsson, Schultz, and MoClellan are

sometimes referred to herein collectively as the "Individual Defeudants."

        C.      lìelevant Third Parties

        3L),     Iìormer lìlployce No. 1    ("FI]-l")   served   in tl-re'frade relations group at'Ieva

during the Relevant Period.

        40.      Iìormer lìmployee No. 2 ("IìE-2") served in various positions in supply chain

management, including at the associate director level, during the Relevant Period.

IV.     F'ACTUAL,,{LLIIGATIONS

        A.       The Rcgulation of Generic Drugs in the U.S. Is Structurcd to Crcate          a
                 Competitivc Marhct fbr the lìenelit of Consumers

         41.     Since the irnplementation    of the Drug Price Cornpetition and Patcnt'lenl
Restoration    Act (known as the "Ilatch-Waxûran Act") in 1984, genoric drugs have had a

signihcant impact on healthcare in the U.S., resulting in tens of'billions of dollars in annual

savings f'or consumers and the overall healthcare system. '['he Flatch-Waxman Act was initially

enacted to simpli$r the regulatory hurdles for bringing generic drugs to tnarket ancl eliminated

the prior recluirement that generic dlug companies file costly New l)rug Applications ("NI)A")

to obtain F'DA approval. The Hatch-V/axman Act is designed to get less expensive generic drugs

into thc hands of consumer:s expeditiously. Ilnder the revised process, generic drug companies

can instead file an    ANDA. A     generic drug company that submits an ANDA generally is not

required to inclucle clinical trial data to e stablish the sal'ety and efficacy of the drug. Instead, the




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         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 18 of 134



company can "piggy-bacl<" on the safèty ancl efficaoy data suppliccl by the original NI)A holcler

fòr a given drug.

         42.     Gcneric clrugs must meet certain bioecluivalence and pharmaccutical t:quivalenoe

standards set by thc    IìDA to ensure that the gcnerie drug is essontially an exact substitutc lbr the

brand-nan're   drug. 'lo rcceive l.'DA approval through an ANDA, a generic drug must oontain tho

same active ingredient, in the samc closage form, in the same strength, to be bioecluivalent            to thc

original brand-name version approved by the FDA through an NDA. 'fhe IìDA uses a review

process to cnsure that brand-name and generic drugs that are rated "therapeutically equivalent"

have the same clinical effect and sal'ety pro{ile. According to the IìDA: "lplroducts classilìed as

therapeutioally equivalent can be substituted with the lull expectation that the substituted product

will   produce the sarne olinical ef1èct an<l safety profile as the prescribed procluct."2 'I'he FDA

assigns generics that are deemed            to be    therapeutically ecluivalent      to their bland-name
counterparts an     "AB" rating.

          43.    'l'he I-{atch-Waxman Act also provides a 180-day exclusivity period I'ol the hrst

generic drug company that files an ANDA ancl simultaneously ohallenges the validity of'tl-re

patent for a brand-name drug. This exclusivity period, which allows the generic drug cornpany

to market its generic version free from cornpetition, is intended to spur generic dlug companies

to provide alternatives to brand-name drugs. When generic drugs enter the market, they                      are

ol1en priced    well below the brand-name drugs and quickly take a large market share from the

brand-name drug company. The hrst generic drug              will generally   be priced l5o/o to 20% below

the brand-name drug. Once the exclusivity period ends and more generic versions enter the

market, the price of the generic drugs continues to fall and their combined share of the market for


'        Snu Approved Dlug Products with'l'hcrapeutic Equivalence Ilvaluations ("Orange Book"), 37't'L.d.,2017,
[J.S. Department o1'Llealth and l-h-rman Services -'Food and Drug Adrninistration, at vii.



                                                       13
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 19 of 134



that drug, relative to the brand-namc eeluivalent, continucs to grow. 'l-he pricc ol'the gcncric

vorsions of' a given clrug can fall to as littlc as l0% t<t 20o/o    o1'   the original price f'or the brand-

name drug. 'I'his oornpctition allows purchasers to buy thc generic ecluivalent of a brand-nalne

drug at substantially lower prices. As Stcplien W. Schondclmcycr, Prol'essor of Managemcnt &

llconomics at the University of'Minncsota, College of Pharmacy, explained in his testimony

bef'ore the Senate   IItrLP Committec:

        The Congressional Budget OfÏce has credited the lfatch-Waxman Act and,
        importantly, the pl'ocess for easy and routine A-rated generic substitution by
        pharmacists with providing meaningfil economic competitiou h'om generic
        drugs, and with achieving billions of dollars ol'savings for <lrug purchasers
        such as consurrrers and employers.

            44.   'fhe Maxirnum Allowable Cost ("MAC") pricing rcgimo also serves to control

drug prices. lJnder this regime, individual states or pharmacy benelìts managers ("PBMs")---

third party adrninistrators of prescription drug programs-establish an MAC for drug products

using a variety of inputs. If the cost for a pharmacy to dispense a given drug exceeds the MAC,

the phannacy      will either opt to substitute   a less expensive version,   if available, or sell the <h'ug at

a loss to service the patient. This MAC framework incentivizes pharmacies to 1ìll prescriptions

with the least expensive, therapeutically equivalent version of a drug to maximize their potential

profits. Between 2005 and 2014, generic drugs saved the tJ.S, healthcare system more than $1.6

trillion.

            B.     In 2010-2014,a Backlog of ANDA Approvals at thc F-DA Crcated a Window
                   of Reduced Competition in the Generic Drug Market

            45.    One   of the keys to reducing drug prices is ensuring that there is              substantial

 compctition in generic clrug markets. Given that generic drug makers bear none of the large

 research and development expenses borne                 by   brand-name tnanufacturers,         the   primary

 impedirnent      to entry into the gencric market is obtaining ANDA approval from the FDA.


                                                        14
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 20 of 134



Accordingly, the overall cost of prescription drugs l'or the public is rccluccd by làster generic

clrug approv¿rl   timcs, Ilistorically, thc avcrage time bctween gcneric drug application submission

and apploval ranges from six months to several years, depcnding on the comploxity of the drr,rg.

'l'hat approval time had varicd ovcr timc, howcvcr, based upon thc number of'gcneric drugs

seeking approval and the review resources avaiiable to the IrDA.

        46.       By 2012,lìDA resource problems similar to those plaguing the new drug rnarket

in the late 1980s had become a significant lirnitation on the approval of ANDA for generic drugs.

Ln2072, the FDA was làcing a backlog of over 2,800 unexamined           ANDA. 'I'his overload   was

driven by the relativo ease with which manufaoturers coulcl obtain generic drug applovals as       a


result of llatch-Waxman, and the lack of a respective incrcase in lìDA reviewers to process the

applications.     Ily   2012, the average waiting period for an ANDA approval had increased to 31

months.

        47.       Thc backlog of unapprovcd drugs, which limited generic competition, created      a


window in which generic companies had the ability to increase prices. Iìor example, the

September:2016 GAO Report found that more than 300 of the 1,441 establishecl generic clrugs

examined by the study had one or more instances            of "extraordinary price increases"-i.e.,

"periods of prices at least doubling" between the first quarter of 2010 and the first quarter of

2015. In 2OI4 alone, more than 100 generic drugs experienced these extraordinary                price

increases. F-or 48 of these 100 drugs, the price increases were 500o/o or higher.

          C.       By 2013, Teva Was Performing Poorly and Facing a Collapsing ADS Price

          48.      I{eading into 2013,'leva faced a number of significant issues. Iìilst, by 2012,

Teva's ADS price had fallen from a high of over $60 in 2010, to the upper-$3Os.

          49.      Second,   in 2012, Teva reoeived subpoenas from the SIìC relating to a lìoleign

 Corrupt Practices Act investigation into Teva's bribery scheme to generate sales ancl gain market


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        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 21 of 134



slrare of generic drugs   in lìussi¿t, lJl<rainr:   ancl   Mcxico (.1/ìC v.'l'eva Phctrm. Indus., No. 1:16-cv-

?"5298 (KN4M) (S.D.    lìla. I)ec.22,20l6) (ììCIìNo.              1 (Cìomplaint)   atll 2)). 'l'he SIÌC also alleged

that'fcva cleliberately falsifìed its aceounting. 'l'eva's gcncrios revcnues Íìom "Rcst of Vy'orld"

markets ("ROW") (includirig those subject to thc IrCPA invcstigation) fell approximatcly $2tì0

million in 2013. lJltirnately, Teva paid a fì519 million lìne and entered into a deferred

prosecution agreemerf. 'I'he investigation put pressure on the revenue pipelines fi'om these

countries.

        50,      'l'hircl, 'l'eva's lJ.S. generics business reporte<l dramatically lowcr rcvcnucs, ycar

over year. In fact, 'l'eva was the worst performing generic clrug company compared to its pecrs,

despite being the largest. As a Deutsche            llank analyst concluded in a May 3,2013 report, 'l'eva's

overalI generics business had "signiltcantly underperformed,"

        51.      Fourth, '|eva would soon lose its patent protection on Copaxone , which was far

and away its most important drug, accounting for as much as 40o/o of 'I'eva's operating profìts at

that   time.    Due   to this   impending loss         of    exclusivity, 'feva knew        it   could Iàce generic

competition to Copaxono as early as mid-2014.

         52.      On October 30,2013,'l'eva's Board of Directors forced CEO Levinto step clown

less than    l8 months after he had taken      the    job. Given      the sudden nature of Levin's termination,

the Board named Delèndant Desheh, 'I'eva's llxecutive Vioe President and CIìO, to                       fill   the role

of President and CIIO on an interim basis, effective immediately, and forrned a committee                            to

search for a permanent successor.

        53. In an October 30,2013 investor call relating to Levin's firing, then-Chairman
Phillip Frost and I)esheh assured investors that they were focused on turning the Company

around. Dosheh inlormed the rnarket that Teva "ha[d] deci<led to aocelet'ate" the cost reduction




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        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 22 of 134



plan and promiscd "to create a much better, elTcient generic maohine." Chairm¿rn                                     lì-rost


disolosed that "fì'iencls   of'[risl . . . h¿rve bouglrt hunc'lrcc'ls of mìllions       o1'cloll¿rrs   of stock during

thc last couple of weeks. . . ,"

        54.      In reality, just months earlier, reoognizing that the backlog in ANDA approvals at

the lìDA discussed above had, at least temporarily, restrioted con'rpetition for some generio

drugs, 'Icva had undertakcn a risky garnble to improve its rcsults               -   substantial prioe increases for

certain of its drugs. In July an<l Augusl2}\3, Teva increased prices on a number of drugs:

        Oxybutynin Chloride 'fablets; Nadolol 'l'ablets; F'luconazole                                  'i-ablets;
        Methotrexate Sodium'fablets; Climetidine'l'ablets; Prazosin Capsules; Ranitidine
        IICL'fablets; Enalapril Maleate T'ablets; I)oxazosin Mesylate Tablets; Etodolac
        Tablets; Pravastatin Sodium 'Jiablets; Ketoprofen Capsules; Iltodolac SR Tablets;
        'folmetin Sodium-Capsules; Clemastine Iìumarate; Dil-tiazem IICL Tablets;
                                                                        3
        Ketorolac il'rometh'f ablets ; f) icl ofenac Potassium Tablets.

        55. Iìy October           2013, this desperate gamble had r-rot yet             fully bortre lÌuit     -    costing

CÌJO Levin his job.

        D.       By 2(114, Dcf'endants Were Fully Aware that Pricc llikes for Goneric Drugs
                 Could Not Ile Maintained fbr an Ilxtcnded Period

         56.      Iìecognizing the enormons backlog the FDA was experiencing                             in its ANDA

approval process, and the attenclant negative impacts on competition in the provision of generic

drugs, Congress enacted the Generic Drug User Iìee Amendments ("GDUI"A") to provide the

FDA with a supplemental revenue source to spur the approval process, GDUFA went into effect

in October of 2012,       ancl instituted user fees on       ANDA and other facility fees to generate                  Sì1.5


billion over the life of the five-year program. The goal of GDIIFA was to eliminate the ANDA

backlog ancl reduce the average review time to ten months or less. 'Ihe expectatiotr was that,

 once the fees flowed into the system and new IrDA reviewers were hired and trained, backlogs

 t       'I-he specific timing ancl price itrcreases for these drugs are set forth in charts in Sectiorrs IV.lì.2-4 ancì in
 Appendix A hereto.




                                                            17
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 23 of 134



woulcl dccrease and competition woulcl increase, severely or-rrtailing generic drug mal<ers' ability

to incrcase pliccs. 'lhus, by late 2)l2leaily 2013, generic rnanufacturers knew that within                 the

next l -2 years, ,,\NDA approvals woulcl be on the rise ancl any ability they had to i:aisc prioes

woulcl be severely curtailed.

        57.     With the additional funds provicled by GDtJliA carre an IìDA cornmitment to

reaoh a variety of goals, including accelerating the review proce ss and elirninating the mounting

backlog of   ANDA.      One such commitment the FDA took was to aot on 90o/o of all backlogged

AND,\ by the end of Iìscal year ("FY") 2017. In a keynote address at the                               Generic

Pharmaceutical Association annual meeting            in the spring of early 2015, the Director of           thc

IìI)A's Ofhce of Generic Drugs, Kathleen lJhl, M.D., pledged accelerated action. The IìDA

delivered on I)irector [Jhl's promise, hiring nearly 1,200 new employees in 2015-more than the

preceding two years combined,

        58.      As the graph below depictsa, the number of full approvals and tentative approvals

of'generic drugs began to reach record heights in or around April 2015:




a       lrnplementatiou of the Generic Drug User Fee Amendments         of 2012   (GD[JFA), Testirnony of   Janet
Woodcock, M.D., Director, Center fbr Drug llvaluation and lìesearch, U.S. lìood and Drug Adrninistration, Ilefore
tlre Committee on Oversight and Government Reform, U.S. IIouse of Representatives, I"eb. 4,2016,a|1,



                                                       18
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 24 of 134




                                    ehart 7" Appnovals and T"entative Âpprcvals

       100
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                   r      Frrll Approvals
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             59.              On November 9, 2015,lnsiderllealthPolicy reported in an article e;nlilled, IIDA,

Pressed to Clear Generic Drug llacklog, Says                                             It Is Ahead o/'schedule,that the IìDA had takcn

action on 82% of the backlog "as a rising chorus of voices, inclucling Democratic presidential

candidate          I      lillary Clinton, press the agency to clear the backlog to help counter rising
pharmaceutical                    prices," All told, in 2015, more than 700 generic drugs were approved or

tentatively approved by the FDA-the híghestJigure in the FDA's ltistory,

             60. In addition to the increase in generic competition that would result from the
                                                                                  'feva had
adoption of GDIIFA and subsequent increase in the FDA's ANDA review capabilities,

<lther reasons to believe that its                             ability to increase prices would be a short term phenomenon that

would not extend beyond 2015 or 2016-atthe latest.

             6i.              As a result of the inìtial price increases by'feva and others in 2013, in January

2014, the NCPA wrote to the                                    ll.S.     Senate LIELP Committee and the U.S. Flouse Energy and

Commerce Committee regarding generio pharmaceutical pricing. The letter stated that "many                                             of

our members across the tJ.S. ... have seen huge upswings in generie drug prices that are hurting


                                                                                         19
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 25 of 134



patients ancl pharmaoies ability to operate."    lt further   noted lhat "770Á of' pharmaoists reportccl

26 or more instances over thc past six months of a largc r"rpswing ìn a gener:ic clrug's acclttisitior-r

price." It   aslçed   that the Senate "sohcdule an oversight hcaring to examine what f'actors may

have led to these ulllnanageable spikes in generic drugs"

        62.      On .Tuly 8, 2014,'I'he New Yolk 'l'imes addressecl pricing issues witl-r generic

drugs   in an article titled, "Rapid Pricc    Increases   frlr Some (ienerio Drugs Catch Users by

Surprise," highlighting a nearly 100% price increase for digoxin, a longtime generic drug that

Teva did not produce. 'I'he article stated:

        'l'hough generic medicines are far cheaper to bring to market than brand*nalrìe
        drugs beoause they involvc little research and developtnent, they also are priced
        lower becausc generics typically faoe intense competition. Ilut l)r. Aaron
        I(esselheim, a professor of health economics at the llarvard School of Public
        Ilealth, noted, "studies show it is not until you have four or five generics in the
        market that the prices really are down."

         63.      As a result of the New York 1'imes article, the C'l' AG began an investigation on

pricing issues with a lòeus on digoxin. Other AGs quickly followed suit.

         64.      On October 2,2014, U.S. Senator lJernie Sanders and lJ.S. Representative ljlijah

Il. Cummings sent letters to feva and thirteen other generic drug companies asking for detailed

information on various generic drug price hikes. The letter stated: "'We are oonducting an

investigation into the recent staggering price increases lor generic drugs used to treat everything

IÌom common medical conditions to life-threatening illnesses." It specihcally noted that
         'We
               are writing to your oompany to request information about thc escalating prices
         it has been charging for two drugs: Divalproex Sodium ER, which is used to
         prevent migraines and treat certain types of seizures, and Plavastatin Sodium,
         which is used to treat high cholesterol. According to data provided by the
         Iiealtircare Supply Chain Association (}'ISCA), the average prices charged for
         tlrese drugs have increased by as much as 736 percent for f)ivalproex Sodium and
         573 percent for Pravastatin Sodiurn from October 2013 to April 2014.

 'Ieva never responded to this lettcr



                                                    20
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 26 of 134



        65.    On Noven-rber 10, 2014,'l'he Wall Strect Journ¿rl reported that the I)O.T was

invcstigating generic drug ma.nulàcturors for violalions c¡f the antitrust laws. Later tl-rat month,

the DOJ convcned a grand .jury in the llastern District ol' Pennsylvania, pursuant to wl-rich

subpoenas were issued to 'l'eva ancJ at least ten other generic dr:ug manulàcturers.

       66.     On Novembcr 20, 2014, the Senate Subcornmittee on Prirnary Ilcalth and Aging

held a hearing entitled "Why Are Some Generic Drugs Skyrocketing In Price?" In l-ris opening

remarks, Senator Sanders noted that

       According to Medicare and Medicaid data, between.Iuly 2013 ar-rcl .Iuly 2014,haIf
       of all generic drugs went up in price. During this sarne tirne period, over 1,200
       generic drugs, nearly 10 percent of all generic clrugs, more than doubled in price.
       More than doubled in price. In fact, these drugs went up in price by an average of
       448 percent. l)ozens ofdrugs went up by 500, 600, 1,000 percent,

Other Senators noted the need to reduce the IrDA backlog in ANDA approvals to spur generic

competition-a prooess that was then ongoing.

        67.    As a result of the adoption o1' GDIJITA in 2012, and the intense scrutiny by

Congress, regulators and the press      in   generic drug pricing (spurred largely by drug price

increases in 2013 and 2014), f'eva knew that its ability to obtain additional revenues by raisirig

prices was a short term phenomenon that would not persist for more than a relatively short (1-2

year) period of   time. Investors were also    aware that the floo<l o1'new generics to the market

would lead to increased competition and lower prices. Teva therefore knew that acknowledging

pdce inoreases could alert investors that any success the Company was experiencing would be

short term.

        E.      Vigodman Becomos CBO and Teva Announces Its Strategy to Use Its Stock
                as Currency for a Major Acquisition

        68      In January 2014, 'leva announced the appointment of Vigodman as its President

and CllO, el'fbctive February 11,2074. Iìrom the time Vigoclman was hired,             it   immediately



                                                  21
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 27 of 134




bccame clear that'leva's plan was to solve its long-term issues through a major acquisition by

using its stock to làcilitate a deal. 'l'his strategy was the elirect result of''l'eva's plzrnning lòr       1he


encl   of its patent lbr Copaxone in 2017. Clopaxone is usccl to treat rnultiple sclerosis and was              a


lruge success flor Teva, providing as much as 40Yo of 'leva's operating profìt in sorne years.

"'I'eva's lnatlagement anticipatecl the patent ancl pricing issues well in advance, ancl decicled that

the company shoul<1 buy its way out oi'the problem through maior accluisitions."s

          69.    Thus, at a .Tanuary 14,2014 J.P. Morgan l-lealthcare Conferenco, Defendant

Desheh explainecl that 'feva was        in a position to make "more than a small acclttisition or in-

lioensing transaction." I'Ie specifioaliy noted that this "ntajor comrnitment" was supported by the

recent recruitment ol'Vigodman who would "ernphasize (potentially large) acquisitions more

readily than his predecessor," ideally using'leva's ADS as "currency."

          70.     On Maroh 4,2014, at a Cowen l-Iealth Care Conferenoe, Desheh noted that, with

"the stook plir:e uneler $40, ... we ean't use fTeva Securities as] currency" f'or the large

acquisition he had touted two months earlier.

          F.      'I'eva Substantially Incrcases Prices on a Multitudc of Ilrugs to Prop Up Its
                  Declining Revenues and Increase Its Share Price

           71.    'fhe arrival of Vigodrlan caused Teva to substantially intensify its undisclosed

 plan to increase the prices    it   oharged for an array of its generic drug offerings, Inoluding the

 multiple drugs where it had raised prices in 2013, beginning in April 2014 and extending through

 July 2015,'leva raised prices on acl<litional drugs and, in total, raised prices on at least 55 dlugs.

 ]'hese undisclosed price increases fit into one of three categories: (1) 28 drugs where Tevawas

 the only (or only major manufàcturer) increasing the prioe of the generic drug; (2) 24 drugs



 '         Dauid Segal an¿ Isabel Kershner, "'Nobody T'hought It Would Cotne   l'o'l'his': Drug Mal<er Teva Faces A
 Crisis," N.Y. Times (Dec. 27, 2017), at 81.



                                                       22
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 28 of 134



where 'l-eva's pricc incrcase occurred in parallel with increases by otl'rcr nanttl'acturers; ancl (3)

three drugs where govcrnmcntal investigations havc inclicatecì thcre may have bccn active
                                                                                         'l'eva's
collusion between 'I'eva and othcr manulàcturcrs. Iu tot¿rl, the prioc increascs swclled

rcvenue by billions of clollars.

                  l.       'l'cva's Price Incrcases Were Approvcd by thc Company's Senior
                           Itlxecutives

         72.      'feva's decisions to increase prices came from the top down, Fìl-1 explained that

'Ieva had an internal Pricing Group that was tasked with providing detailecl reviews                               and


documentation of price reductions. IïH-1 further explained that the head of 'feva USA's Pricing

Gloup, I(evin (ialownia, was "the gatekeeper" for generic pricing. V/hile Galownia was often

the conduit lor price increase orders, he <lid not make such decisions, which came from

executives more senior than him.6

         73.      'feva established review and approval procedures, pursuant to which price

increases recluired the Chief Aooounting Offìcer of''l'eva and '['eva                USA CIìO, Deborah Griflin

("Griffin"), and 'feva IJSA Chief Operating Ofhcer ("COO"), Maureen                                       Cavanaugh

("Cavanaugh"), to determine whether to make a price increase and to personally approve the

increases, Griffin and Cavanaugh would then decide when the increases would become

effèctive.

         74.       According to lìFl-2,'l'eva stored drug-by-drug pricing, sales, attd revenue data on

the Company's Oracle ERP System. FE-2 states that the Cornpany stored pricing and revenue

data "down to the NDC code" on the Oracle System and executives, including Cavanaugh, Allan

Oberman ("Oberman"), President and CEO of Teva Americas Generics l'rom Novetnber 5,2012


u         Allegations in this subsection not specifically attlibuted to an "FE" are taken from thç allegations set fortll
 inthe Ontario T'eqchers Amenciecl Complaint at\l1la0-a2. Bel'ore relying on the inf'oruration set forth in lhe Onlario
 T'eachers Amenclcd Complaint, oounsel for Plaintiffs hercin independently confirured that information.




                                                           23
           Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 29 of 134



until Deccmber 3 1, 2014, and Olal'.sson, had acoess to the Oracle LìlìP Systetn, and were

routinely lìllecl in on sales numbers, 1'he database was used to gencratc claily or" weekly

"Scorecards" that senior executives would receive that reported genelio drug rcvenues and

profìts.

           7   5.   lìIì-2 explains that the Company annually, on a predctermined schedule, prepared

a long-range "Work Plan" that forecasts 3-5 years of revenue on a granular level. IrE-2 further

states that the Work Plan was reviewed and approved by 'leva's U.S. and Israeli executives.

Vigodmari and Desheh were executives in Israel who rcviewed the Work Plan. Iìurther, during

each quarter, a docurnent called a Latest Best Estimate              ("LBE") was prepared, detailing whether

forecasts were met. 'fhe        Lllti   reports were sent to 'leva's cxecutive committee in Israel, which

included Vigodman ancl Deshch,

                    2.      Teva Unilaterally trncreased Prices on tr)ozens of Drugs

           76.      Beginning in 2013 and extending through early 2016, Teva recognized that the

FDA's ANDA backlog had bestowed it with significant market power with respect to a number

of drugs. In response, 'leva unilaterally              increased prices on at least 28 generic drugs by

signilìcant amounts. The drugs and the dates and amounts of increases are set forth below:

                                                                           Perccntage                Increased
      Gcneric Drug                      Period oflncrease'
                                                                            IncrcaseS                lìevenuce

'         A nationally recognizecl database was used to calculate prices per unit. 'l'he data reflect prices at wholesale,
but do not roflect off-invoice discounts and rebates. The data show sales prices reflecting the inventory in any given
lnonth. lìven though price inoreases may be set at a pafticular point in tirne, because the data tracl<s actual market
pricing, these prices increases can take time to work through the system as older stocks with lower prices are sold
and replaced by newer stocks with higher prices. The period of increase is calculated with respect to the beginning
ofthe price inclease and the month ofthc peak price after the price increase.
I        'Ihis represents the percentage increase for the most colRmonly prescribed dosage level for the period in the
prior column. All dosages and relevant periods are set for-th in Appendix A hcrcto,
n          To deterrnine increased l'evenue, the month plior to the price increase was identifiecl, l-hen it was assumed
that this "but-for" price wonld have continued from that point onw¿u'cl had the price increase not occurred. The
increased revenue is the difference between the actual rnonthly prices and the pre-increase price, multiplied by total
quantity. Incrcascd revcuue is only calculated for rnonths where the actual price is greatel than the pre-inclease
pt'ice. 'lhis calculation is perfonne d separatcly f'or each formulatiort of a given product.



                                                           24
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 30 of 134



                                                                 tr)crcentage       Incre¿¡se   cl
    Gençric- Drllrr             Pcriod of IncrcascT
                                                                 trncreaseS         lìevenue9
   .A.nagrelide I-lClL               3114-r2lt5                     243o/o      $ 17,1 34,5 5 8
        Cimetidine                    6lt3-6118                     861)o/u       srz,791,442
  Ciprofloxacin IICIL                12114-1117                    1111%        fì1 02,3 73,tì07
     Clemastin lìun-r                7113-121r6                    223%            $3,410,833
       Clotrimazole                  8114-12111                     500%           s3,193,627
  Crornolyu Sodiurn                  1114-6118                     392%            $6,029,503
 Cyrpoheptadine IICL                 3lr4-11117                     rt0%            .$7,460.259
        Diclofenac                   1113-8115                      3r0%        $21 ,783,41 0
 Dicloxacillin Sodiurn               3lt4-8117                       98%        $   3,326,041
                                                                                     1

     Diltiazem IICL                  7l13-Ul6                       205%        Íì3 8,020,901
       Iltodolac SR                  7113-1114                      200%         $49,403,608
    I'rluoxetine IICL                 Ur5-6t18                      l690/o       $29,043,960
         Iìlutamide                  rUrs-7116                       ss%           $88,1 70
   I'rosinipril Sodium               2lrs-9lrs                       60%          $3,928,025
       Griseofulvin                  2l15-31t6                      276%         $ 1 6,148,3 57
   Hydroxyzine Pam                   3lt4-U18                       173%         $11,019,351
        Ketoprofen                   7l13-slr8                      746Yo         $6,13 1,456
  I(etorolac Trometh                 7l13-sll6                      409%        $36,732,068
   Loperamide I-ICl,                  8114-21r6                     llL)Yo       $15,651,417
      Mcgcstlol Acc                   2lt5-6115                      35%          9162,856
 Methotrexate Sodium                  6113-111s                     5790        $ì138,314,084
        Mcthydolpa                    Ur5-2117                      216%          $645,886
     Mexiletine FICI,                 8lr4-4117                      124o/o      s23,345,258
   Nefazodone FICI-                  8tr4-rUt6                       120%        s23,479,496
  Nortriptyline I{CL                  Urs-9116                       1   5B%     s20,967,422
      Prazosin I-ICL                 1vr2-1v15                      243o/o       s43,272,877
     Ranitidine IICL                  6lt3-U17                      6tr%            $41 ,03 8,3   33

    Tolmetin Sodium                   7113-61r7                     26s%            s2,652,049


       71. In total, comparing the year prior to the price inorease to the year after the
increase, Teva's revenues for these drugs increased by a total of'$688.1 million.

                3.       Teva Increased Prices in Parallel with Othcr Manufhcturers for a
                         Numbcr of Drugs

       18.      Beginning in 2013 and extending through early 2016, ll'eva, acting in response to

or in parallel with other manufacturers, increased prices on at least 24 generic <lrugs. The drugs

and the dates and amounts of inoreases are set    folth below:


                                                   25
           Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 31 of 134



                                                                                                         ,Avcrage
                                                            Perccntage               Increascd
      Gçqç¡:!ç l)rqE         tr)cr"iotl of'Increasc                                                    trncnc¿lse   of
                                                            Incrcasclo                lìcvcnue                           lt
        llaclolcn                   3114-21r5                    306%,           $   143,490,678           716%
       IJumetanicle                 3lr4-7116                    652%                fi86,917,165          258%
Cabidopa-Levodopa                  6lr6-12116                     51%                     $94,699           79Y,,

  Carpamazepine                    8t14-t2lr6                    909%                $81 ,660,368          792o/o
    Cephalexin                      3114-7114                    17r%                $52,800,tì91           320%
       I)anazol                     1115-3116                    l69Yo                $3,5 88,5 52          76%
    Dipyridamole                   6lrs-r2117                    413%                 $1,486,507           245o/o

 Divalproex So<lium                 3113-61t8                    444%                 58,765,463            r66%
  f)oxazosin Mesy                  7113-10115                    666%                s45,142,r4r            908%
      linalapril                   6113-121r6                    1728o/o          $55,084,975              t222%
        Estazolam                   3lt4-6118                    l32Yo            s20,790,429               277Yo
         llstradiol                 7112-Ut6                     198%                61,704,431)            273%
        Etotolac                   3t13-r2lr5                    s0t%             $49,403,608               333%
     Fluconazole                       sl13-8113                 487%              $98,589,022              643%
    F,'luocinonide                 5lr4-r2lr4                    182%            $ I I0,899,1 92            358%
     Glimepiride                       1/1 s-8/1 5               l9L)o/o             $ì19,091,825           214%
    Ketooonazole                    3lr4-91r6                    590%                 s54,025,729           945%
  Meperdine FICL                    7lr4-5116                    439%                  s9,463.723           389%
        Nadolol                     6lt3-r0lr6                   1143%                $70,875,535           13r%
   Oxybutynin CL                       sl13-UI6                  869%                 s97.355,732           535%
Penioillin V Potassium              10tr6-3111                   44jYo                s27,574,780           412V"
   Pravastatin Sod                  7113-lU13                    437%                9373,633,425           394%
  Propranolol HCL                      sl13-slt4                  298%               s256,345,498           900%
   Trazodone IICL                      6lrs-2116                  rt2%               $10 168 909             \30%

            79. ln total, comparing            the year prior to the price increase to the year after the

 increase, 'leva's revenlles for these clrugs increased by a total of $1 .83             billion.

                      4.     Tcva Actively Colluded with Other Generic f)rug Manufacturers to
                             Fix Priccs

            80.       With respect to three drugs as to which Teva made signifìcant price increases-

  Nystatin, Theophylline       lllì,    and Glipizide-Metformin-thele is direct evidence that the price

           'l-his represents the percentage increase for the most commonly prescribe dosage level for the period in the
  'o
  prior column. All dosages and relevant periods are set forth in Appendix A hereto.

  "        Co*petitor price increases are inclucled here if the data showed a price increase generally within a month
  or two of l'eva's price increase for the same clrug and formulation. The data in this chaÍ represent the average
  percentage i¡crease lor all cornpetitors that increased the pricc on at least onc dosage of the drug. All cornpetitors,
  dosages aud l'elevant periods are set forth in Appendix A hereto.



                                                            26
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 32 of 134



increases were the result       of oollusion with othel manufacturers. 'l'eva          increzrsed priccs   for   and


revenues fiom these dmgs as ftrllows

                                                                     Ilercentaga                l¡lcreasccl
       Generic Dn¡¡¡¡                Pcniotl of'Increase
                                                                      xncreasel2                 ldevenuc
      Glipizidc Mctform                  2l13-2116                       142%                  $ 14,6 83,227
           Nystatin                      3114-111t5                       52%                   s4,334,575
         Theophylline                     3114-71t4                      1l2o/o                s25,624,945


                           a)        Direct Bvidence of Price-Fixing: Nystatin ancl Thcophylline IIR

         81.      Nystatin is a medication used to fight fungal infections. The generic Nystatin sold

by Teva is AB-rated to the brand name drug Mycostatin(Ð. During the I{elevant Period, 'leva's

two main competitors for Nystatin were l{eritage Itharmaceuticals Inc. ("I'leritage") and                        Sun

Pharmaceuticals (through its division Mutual Pharmaceutioals ("Mutual")).

         82.        'I'heophylline   EII is a medication used to treat asthma and airway narrowing
associated    with long-term asthma or other lung problems, such as ohronic bronchitis                           and

emphysema. 'I'he generic 1'heophylline EI{ sold by 'feva is AlI-rated to the brand name drug

Theodur@, Theophylline EII is an extended release medication, which means that                        it is released

into the body throughout the day. During the Relevant Period, Teva's primary competitor for

Theopliylline LiR was Heritage.

          83, As evidenced by facts and documents                      detailed   in the CT AG's          Arnended

Conrplaint against'Ieva and others dated June 18,2018,'l'eva, Ileritage and Mutual exchanged
                                                                                'Iheophylline
numerous e-mails and text messages regarding the prices of generic Nystatin and

ER during the Relevant Period. Many of these communications were, on information and belief,

between Nisha Patel ("Patel"), 'l'eva's former Director               of Strategic Customer Marketing from


 '2       l-his represents the percentage ilrcrease for the most oommonly prescribe dosage level for the period in the
plior column. All   dosages and relevant periods are set forth in Appendix A hereto.




                                                           27
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 33 of 134



April 2013 to August 2014 ancl its Director ol National Accounts fron-r Soptember 2014                          to

December 2016, and.lason Malclc ("N4alek"), the f'olmer Prcsiclent of'lleritage who plod guilty to

Slrerman Act antitrust violations lbr pricc-fixing in.f anuary       20Il.l3 ltor example,

        Ð In July 2013, Patel had a series of phone calls with Malek. I'hc thrce calls
              spanned 43 minutes, including an       initial call on.luly 7 that lasted 1Ìlr 21 minutes.

         b)   On .Tuly 30,2013 Patel and Malek spoke twioe, with the second of those two calls
              lasting more than twelve minutes. In between these two calls, another Ileritagc
              represcntative spoke with a Mutual representative for nearly eleven minutes.

         c) Aller these calls, Nystatin       was identilied on an internal 'feva docttment listing
              "potential" price increases, notwithstanding that Teva management had cleclined
              to raise prices a month earlier, Patel then left for maternity leave in August 2013
              until the end of'2013.

         d)   On February 5,2014, Patel and Malek spoke for more than one hour,
                                                                                         'fwo days

              later, on Iìebruary 7, Nystatin was again identilied on an internal 'l'eva document
              listing drugs for potential price increases. Patel and Malek had several additional
              calls in February and March 2014.

         e)   On April 4,2014, Teva increased the weighted average cost ("WAC") price fòr
              Nystatin and'fheophylline      lilì.

         Ð    On    April 15,2014, Patel and Malek spoke for            77 minutes and discussed price

              incrcases for Nystatin, Theophylline, and several other generic drugs.

         g) On June 23, 2014, l'leritage employees internally                    discussed strategies to
              implement its own price increases of Nystatin, which               it   had slated for a   95%o

              increase, and T'heophylline bl{, which         it has slated f'or a 1500/o increase. In her
              notes about the call, a l-leritage representative indicated that Heritage had to
              increase its WAC pricing for Nystatin, because Teva had. On June 25,2014,the
              I{eritage representative exchanged text messages with hel' contact at Sun/Mutual
              to let her know the details of Ileritage's anticipated price increase for Nystatin.

 t3
          Ilased on publicly available social media sites, Patel's tenure at Teva aligns with the teuure of Malek's
 Çontact at Teva.



                                                        28
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 34 of 134




      h) On June 25, 2014, Malek also spoko with Patel for nearly               fÌrurteen minutes,
            during wl-rich Malck reportecl that lleritage woulcl increase           its prioes     for
            Theophyllinc shortly.

      i)    On June 30, 2014, Patel cmailed her colleagues, acknowleclging the agreement
            with IÌeritage.

      .i)   lìy July 9,2014,Ileritage    hacl increased Nystatin prioes 1'or at least lourteen   of its
            customers nationwide, and by at least August of 2014, Sun began increasing its
            price for Nystatin as   well, In addition to leading the price increases for Nystatin,
            feva also refused to bid or challenge Ileritage's price increases when requested
            by Ileritage customers. Indeed, on.Tuly 8,2014, a large retail customer emailed a
            Teva representative requesting a quote for Nystatin, but 'I'eva relirsed to bid or
            challenge the i-Ieritage price increase for this customer.

       k)   Also by July 9, 2014, Lleritage had increased prices for 1'heophylline Illì for at
            least twenty diffèrent customers nationwide, much as 'leva had done three months

            earlier.

       84.      As discussed herein, in May 2019, the State AGs lÌled a significantly expanded

complaint against Teva and several other clrug companies. 'l-he agreements between Teva and

the other <irug companies to increase prices lbr 'I'heophylline and Nystatin and various other

drugs, as alleged by the State AGs, were part of a scheme to manipulate prices for these drugs,

                          b)     Direct Evidence of Pricc-Fixing: Glipizide-Mctformin

       85.      Glipizide-Metformin is a medicine indicated for the treatment of high blood sugar

levels caused by Type-2 diabetes, 'l'he generic Glipizide-Metformin manufactured by T'eva is

Alì-rated to the brand name drug Metaglip@, Prior to and during the Relevant Period, Teva's

only two competitors for Glipizide-Metformin were I-Ieritage and Mylan. In 2016, Zydus

entered the market     with less than2o/o market share.




                                                    29
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 35 of 134



        86.     Ileginning in April 2014, rcprcsentatives fiom 'lìeva, Ilcritagc, Zyclus, Mylan,

Aurobinclo, ancl/or Citron partìcipateci in numerous phone calls, and exchanged nulnerolls c-

mails and text mcssages regarcling the prices of generic Glipizidc-Metformin.

        87.      On   April 15, 2074,llcritage's Malek   spoke with Patel lor more than seventeen

minutes, during which they discussed lleritage's intention       to raise the price of Glipizide-
Metforrnin and other drugs, and 'feva agreed that if Ileritage raised the price of these drugs, Teva

would l'ollow with its own price increase or, at least, would not challenge Ileritage's price

increases by seeking to underbid I'leritage and take its accounts. Malek and Patel spoke several

more tirnes over the next several months, during which Malek and his contact conlìrmed the

agrecment to raise Glipizide-Metformin, prices, ancl Malek updated Patel on the progr:ess of

I-Ieritage' s price increases.

        88.      By May c),2014, a Teva represcntative had spoken with a Mylan representative

multiplc times regarding Glipizide-Metformin, including one call that lasted more than seven

minutes, and the two continued to stay in close contact throughout the rest o1'2014.




                                                 30
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 36 of 134



                       c)     Clther Inclicia of I'rice Collusion

       89.     In aclclition to the direct evidence of'pricc oollusion betwcen 'fcva and its rival

clrug maker in thc form of inter-company communications, there ¿rre other indici¿r of collusion.

Iìor example, there was no reasonable justifìcation fÌlr the price hikes discussed above. Wliile      a

supply shortage can explain an abrupt risc in priccs, here---notwithstanding drug manufacturers'

obligation to report shortages to the   FDA-no   such shortages werc reported during the Iìelevant

Period, In addition, there was no signihcant increase in the demand f'or these drugs or in the

drugs' production costs that woul<l explain the enormous price increase. In adilition, price

increases of this rnagnitude would have been contrary   to'I'eva's and each of,the co-conspirators'

ocon<lmic interest absent the price-1=-rxing scheme. V/ithout the oertainty that        all of the   oo-

conspirators would raise and maintain the prices for thc relevant drugs, each co-conspirator

riskecl gctting undercut by the others, leading to a loss of market share and a loss of revenue.

'fhis risk was alleviatecl by the oo-conspirators' agreement to raise   ancl maintain   their prices for

the relevant drugs.

       90. In addition, 'I'eva ancl the Individual l)efcndants had a palpable            motive to fix

prices with Teva's competitors which derives from the nature of the lJ.S. generic drug market

itself. As discussed above (TT 41-44), because Ièderal law requires     each generic pharmaceutical

to be readily substitutable for another generic of the same brand drug, competition will          cause

prices to fall until they near generic drug rnakers' marginal production costs. This stabilization

of prices in turn caused Teva's profits and revenues to level off, thus giving Teva and its co-

conspirators a common tnotive to conspire to raise prices.

        91.    'With the backdrop of this comlnon motive in mind, the markets for Nystatin,

Theophylline IìR, and Glipizide-Metformin were all susceptible to anti-competitive conduct for

the following economic reasons:


                                                 31
Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 37 of 134




a)   'fhe markct for each of thc thrce cìrugs rel'erenced abovc was highly conccntratccl

     ancl controlledby a handlil ol companies. A more conccntrated market is morc
     susceptible to anti-compctitivc behavior, due in part to the relativc ease with
     which oo-conspirertors oan monitor each othcr's pricing behavior to ensurc
     aclhcrence to the prioe-lixing agreement. Moreovcr, in a highly concentrated
     rnarket, there is a lower probability that each company has differetrt production
     costs, which facilitates the maintcnancc of a price-fixing scheme     .




b) Ilarricrs to entry into a market can delay, diminish or even prevent the attraction
   and arrival of new market participants, which is the usual mechanism for
     checking the market power-i.e., the ability to set prioes above market        costs-of
     existing participants. Iintry barriers include things like: trade secrets, patents,
     licenses, capital outlays required to start a new business, pricing elastioity, and
     dilficulties buyers may have in changing suppliers. If there is no signihcant threat
     that new lhrms will enter a market, a single firrn with a <lominant market sharc--
     or a combination of firms with a signifìoant percentage of the market-is able to
     engage in anticompetitive concluct, such as restricting output and raising prices to

     the detri¡rent of consumers. Barriers to entry in the markets for generic drugs
      include, among other things, high manufàcturing costs and regulatory and
      intellectual property requirements. For example, the requirement that companies
      file an ANDA and receive F-l)A approval can delay entry into the market by           an

      average of thirty-six months.

c) 'fhe presence of alternative       pro<lucts that can easily be substituted    for a given
      product serves to undermine anti-competitive behavior. Conversely, the absence
      of   availablc substitutes increases the susceptibility         of a market to     anti-

      competitive behavior because consulners have no alternative but to purchase the
      product, notwithstanding any price increases. In the context of prescription drugs,
      a pharmacist presented with a prescription f'or a given drug can only substitute
                                         c'AB)' rating. Only generic and brand-name
      another drug if that drug has an
      versionsof a drug are AB-rated to one another. 'l'herelbre, a pharmacist can only
      fill a prescription for a given <1rr-rg with   the brand-natne version or one of the AB-

      rate<l generic versions and cannot substitute another drug'


                                              32
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 38 of 134



       d) A    standarcfizecì, oornn'rodity-like      product with a high degrec of
           interchangeatrility betweon the goocls     o1   the palticipants iu an anti-eompetitive
           conspiracy also increases the susceptibility of a given market t<l anti-competitive
           concluct.   lly their vory nature, all gcneric versious of' a given drug are
           interchangeable, as evcry generic version of a drug must be bioecluivalent to the
           original, brand-name drug.

       92. ln adclition to the economic       oharacteristics    of these markets which indioate      a


susceptibility to anti-competitive conduct, representatives from 'feva and its co-conspirators had

substantial opportunities to meet up, socialize and engagc in collusive conduct. Teva and its co-

conspirators routinely attended conferences, meetings, and trade shows sponsored by various

phalmaceutical trade associations, interacted with each other and discussed their respective

businesses and customers, and to discuss, devise, and implement the price-fixing schemes set

forth herein. Social events and other recreational activities-inclu<ling golf outings, lunches,

cocktail parties, and clinners-weÍe also organized in conjunction with the trade assooiation

events and provicled further opportunities 1'or these rcpresentatives         to meet outside of     the


tra<litional business setting and engage in the collusive activities alleged herein.
                                                                                     'feva even

reserved a "strategic exchange" bungalow at the 2013 and 2014 annual meetings of the National

Association of Chain Drug Stores ("NACDS") which NACDS marketed as an "<)pportunitfyl to

meet ancl discuss strategic issues with key trading partners." Such bungalows provided'feva and

its competitors with a secluded place to privately conduct business. A list of these industry

events and the attendees from Teva and its co-conspirators is attached as Appendix B hereto.

                5.      As a Result of the Price Incrcases, Teva Increascd Its Rcvenues and
                        I'}rofits by lìillions of Dollars

        93.     As a result of the price increases described above, between 2014 and 2016, the

total additional levenues obtained lrom these priee increases was $2.5 billion. l'-urther, because



                                                 JJ
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 39 of 134



prioe increascs impose minimal additional costs on 'l'ovtt, tlrese rcvellue lncreases were,

ellèotively, inoreases in'['eva's profrtability resulting fì"om the pricc increase strategy.
                                                                             'l.cva's bottorn line
        94.      On an annual basis, the incteasccl revenues began to impact

beginning in 2013, pcakecl iri 2015, and by 2017,had substantially clcclined as increased pricc

co¡rpetition negatively impacted 'l'eva's ability to successfully implement its price increase

strzrtegy, ]'he additional revenues carned by Tcva from its price increase strategy for 2013

through November 2014 is set forth in the chart below:

Totat Additional llevcnues Banned From Price Increascs

                                                                   2017           201   I         'l'otal
      2013           20t4             2015           2016

  s222,115,831   s656,024,831     $741,045,795   s541,772,141   s273,812,033   $74,8fì7,541   s2,515,686,718




        G.       Ilecognizing that lts Price Increase Scheme'Was Unsustainable for More
                 tha¡ a Short Period, Tcva Misleads Investors trìcgarding thc Iìasis for lts
                 Improved Financial Performancc

         95.     In connection with its pdce increase strategy,'feva sought at all costs to avoid any

 suggestion that price inoreases were            the cause of its seemingly miraculous turnaround.

 Acoordingly, at the beginning of the Iìelevant Period of February 6, 2014, Teva attributed its

 increase in revenues for the end       of 2014 to higher sales volumes and launches of new generic

 <lrugs. Nothing was said about the rnultiple <lrug price increases from the summer of 2013.
                                                                 'feva again relied upon "new product
         96.      In May 2}|4,touting its lìrst quarter results,

 launches" an<la changed composition of revenues to explain its increased profitability.
                                                                                'feva was specihcally
         97.      On October 30,2014, dur'ing the thircl quarter earnings call,

 asked about the impact         of price increases, but Defendant Olafison <feflected, suggesting that

 there were   ¡o significant    increases since "the base business itself is slowly eroding . . .   '"




                                                       34
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 40 of 134



        98.        Anci during a conl'crence call in I)ecember 2014, Delèndant Olafsson was asl<ecl ¿t

cluestion that was basecl Llpotl     ¿ul   assumption th¿rt wholesalers of'gencric cltugs werc cxperiencing

"cxtraoldinary price irlcreases." Defendant Olalìsson rejected thc premisc of the clucstion,

stating:   "lct mc    correct.   I   havc    to   clisagrec that thcy have cxperienced tremendous pricc

increase Is.1."

           99.     Throughout 2015 and early 2016, Vigodman, Desheh and Olafsson flatly denied

that 'l'eva's improved performance was the result ol'price increases:

           .   October 29,2015 (Vigodman): "fAlll the irnprovements you see in margins \s not
               driven by price. It is driven by quantities, and by mix, and by efficiency measures, not
               by price, 2074,2015. And that's a very important message."

           .   November 19,2015 (Desheh): "'fhere is a lot of noise around pricing issues. Sorne ol'
               it is coming from politicians fwho are] driving agenda[s] . . . . Our exposure to all
               these things is very minimal . . . . I believe there are many examples for competitive
               environment, real competition, like we see in the generic market in the lJnited States            .



               . . . Teva was not associuted witlt any of tltat."

           .   Iìebluary II,2016 (Olafsson): "So how did we do this [increase our prof,rt margin by
               $1 billion over24 monthsl? Not hy pricirtg hut by portfulio mix, new products, and
               efjïc ie n cy me ús I¿ r e s ."

Al1 of the above statements were lalse because by.Iuly 2015,
                                                             'feva had raised prices on more

than 61 clrugs, including many by more than250o/o.

           H.       Propelled by Price Increases, Teva's ADS I'ricc Asccnds

           i00. In      2014, despite the storm clouds raised              by press stories, government
 investigations ancl the increasing pace             of the FDA's ANDA approval process, Teva's        price


 increases fueled a turn-around success story for
                                                  'feva's U.S. generics business, which reported

                                                                                  'l'eva's ADS
 approximately a $250 million (or 60/o) increase in revenues over the prior year.

 price soared as a result, jumping more than 50% from around $37 in late October 2013, to

                                            of 2014.   'l'hese astonishing year-over-year increases   in   U.S.
 approximately $56 by the end

 generics revenues were accomplished in the face of 23 million fewer prescriptions than in 2013              '




                                                           35
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 41 of 134



         101. 'l'he price inoreases also led to a banner    ycar in 2015 I'or'l'eva's [J.S. generics

clivisiorr, which spezrrlreacled the Company's growth    stoly, oling an Lìnpreoedcntccl increasc        in

the pricc of''leva ADS. Ileva reportecl the 2015 gross profit lì'om its overall generic medioines

segment as fù4.5 billion, an increase of fì246 million, or 6Yo, compared to $4.3 billion in2014,

and aprofit (with expenses removed) of $2.7 billion in 2015, compared to $2.2 billion in2014,

or a difference of almost 24o/o. Most o1'these glowing results stemmed liorn Teva's U.S.

generics division, which reported revenues of $4,8 billion, an increase     ol   fù375   million, or   8o/o,


over 2014, which itself had been a lìagship year lor l-i.S. generics. 'leva's inflated ADS price

rocketed lrom approximately ll55 at the beginning of the year to morc than $70 by late .iuly

201s.

         I.        Dcfendants Lay Plans for a Major Acquisition-Inflating the ADS Price to
                   Use as ttCurrencytt

         102.      lJnileterre<lby the publio outcry regarding the pricc iucreases and the government

investigations into goneric price-fìxing, as well as 'leva's knowledge that prioe increases could

not be maintaine<l over the long-term as generic competition increased, Defendants continued to

pursue plans-contemplated from the time Vigodman was hired as CEO in January                   2014-lo

engage in large acquisitions to position the company for the end of its Copoxone patent rights,

         103,      On April 27,2015, with the ADS shares trading at an artilìcially inflated price of

approximately $66 per share, l)efendants announced an offer to aoquire all of the outstanding

shares   of Mylan in a transaction valued at f882.00 per Mylan share, with the corrsideration to          be


comprised     of   approximately 50% cash and 50o/o       stock. The acquisition fell through;           yet

L)efen<lants continuecl      to   pursue other acquisition options,    all the   i.r'hile continuing to

misrepresent and omit material facts regarding the Teva's ongoing prioe-fixing conspiracy and

 sourcc of its fìnancial success.



                                                    36
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 42 of 134



       .I"     Thc Company Announces a $40 llillion Accluisition of Actavis F-ueled lly lts
               InfÏatccl Share f'rice ancl a Pro¡rosccl llond Offering

       104. Iìueled by Defendants'        misleading statements, 'l'eva's ADS price reached a theu

all-tinre high oi $72 on July 27,2015. On that day, 'I'eva announced         it   had entered iuto   a


definitive agreement with Allergan plc         to   acquile its worldwide generio pharmaoeuticals

business, Actavis, for $40.5   billion in cash and ccluity.

       105. As would later bc revcaled           during a call with investors on October 29,2015,

Defendants planned to raise approximately $ì6,75 billion from a secondary public offering of

ADS and an initial public off-ering of Prcfcrred Shares, and approxirnately $27 billion from         a


debt issuance and term loans, to finance the acquisition.

        106.   On the same day, Teva issued its third quarter 2015 results, which wele ahead of

the street's expectations, and again raised its full year guidance. As sumtnarized by the analysts

at IJIIS in their October 29,2015 report, "Our takeaway: Another good quartel"."

               1.      Tcva Issucs $3.375 lìillion in ADS and $3"375 lìillion in Pref'erred
                       Shares Whilc the ADS Trade at an Inflated Price

        107.   On l)ecember 8, 2015, Teva closed its Secondary Olfering of ADS and its Initial

Offering of Prelèrred Shares. 'feva issued 54 million ADS at f162.50 per ADS in the secondary

offering, raising approximately $3.375 billion fiotn investors. These shares were offered

publicly pursuant to a registration statement and prospectus, Teva also issued 3,375,000

Preferred Shares at $1,000.00 per share, raising another $3.375 billion from investors. Each

Preferred Share was to be converted into a number of ADS equal to the conversion rate set forth

in the Preferred Prospectus, between 13,3333 and 16.0000.

        108.    On January 6,2016, 'l'eva sold an additional 5.4 million ADS and an additional

 337,500 Preferred Shares pursuant to the exercise of the ADS/Preferred Underwriters' over-




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          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 43 of 134




allotn-rent   option. In total, 'l'eva gcncratecl nct   prooeecls   liom thc ADS Offcring   ar-rd   tht: Prel'erred

Of   fcling of'approximalely      fi7 .24   billion.

                       2.    llef'endants lL¡.lsh thc Notes Off'erixag and Comceal the Facú that Tev¿l
                             trtrael Been Servccl Subpocnas by the DOJ and the Connecticut.4.(ì


          109. O¡.Iuly         13,2016, Vigodrnan announocd that'I'eva would accelerate the timing of

the 5o¡d ofTering relatecl to the Actavis deal, despite the làct that it "lacked full visibility into the

Actavis (ìenelics numbet'." Aocording to Vigodman:

          [W]e ar'e closely monitoring the corporate bond markets and given the vadous
          attractive terms currently prevailing there, we are considering accelerating our
          plan¡ecl debt offering. With this in mind, and despite the fact that we will not yet
          have ful| visibility into the Actavis Generics nuntber, and in particular, cerlain
          pipeline information, we have decicled to provide you today with our best estimate
          of the lì¡ancial outlook f'or Teva in 2016 to 2019, following the close of thc deal.

          110. 'fhis was surprising               because   just a few weeks carlier, on a May 9,2016

conference call, Desheh had told investors that the offering would not happen until after the

 Actavis deal closed.

          111      .   As of July 3 1,2016, 'feva hacl raised $20.3 billion from the Senior Notes Offering

 to complete thc Actavis acquisition, 'I'he Actavis deal closed on August 2,2016. In the related

 August       2,   2016 press release, Vigodrnan falsely cleclared that the "acquisition                of   Actavis

 (ienerics oomes at a time when Teva is stronger than ever-in both our generics and specialty

 businesses."

              Il2. In sum, of the $33.4 billion owed Allergan             beyond the transfer of 'feva stock

 (priced as of July 2015), $5 billion was finded by Teva borrowing from its loan {àcility, and $8.1

 billion liom cash on hand that was previously raised in the ADS                    an<l Prefened Offerings,


 including from its December 2015 equity offerings and borrowings under                             its   syndicated


 revolving cre¿it, 'l'he remaining $20.3 billion came from the proceeds of the Senior Notes

  Offering. If Defendants had been unable to secure hnancing for that debt, according to the terms


                                                             38
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 44 of 134



o1'   the deal's structure, 'l'eva's agreement witli Allergan would have roquired 'feva to       pay

Allergan $2.5 billion.

          K.      The Fraud Unravels, Causing fhe Prices of Tova Securifies to Fall

                  t.      Days AfIcr thc Closc of thc Actavis 'f ransaction, Teva llelatedly
                          Announccs It Is the Subiect of Governmcnt Antitrust Investigations

          113.    On August 4,2016, three days after the Notes Offering, and two days after thc

Actavis transaction olosed,'feva reportcd second cluarter 2016 financial results that reflected     a


$434 million decline in revenues in its LJ.S. generics segment compared to the second quarter      o1'


2015. -fhe end of its ability to maintain growth through price increases was due to the massive

increase in competition as the result of the FDA's vastly acoelerated pace of ANDA approvals.

l)elèndants also revealed for the first time to investors that f'eva was now the subject of DOJ and

State AG investigations into generic drug price      collusion. In faot, the DOJ had served Teva with

a subpoena on .lune 27,2016, and thc CT AG on July 12, 2016--'just bef'ore Teva announced the

Sl20   billion Notes Offering on July 13,2016, although Dcfendants did not disclose    tl're subpoenas


at the   tirne. Upon this news, the price of 'leva's securities fell.

           114.   Despite the revelation of government inquiries and the continued unraveling of

'Ieva's ability to maintain elevated drug prices, Defendants doubled down, expressly denying the

impact of price hikes and reallirming their inflated outlook for 2016.

           115.   Defendants'denials were deeply undermined when, on Septembar 72,2016,the

GAO Report was issued. This report, based upon a rcview of Medicare data, conclude<l that

generic drug manufacturers including Teva had ma<le hundreds of unexplained "extraordinary

price incre¿ses?'-6{efinecl as a particular clrug's price increasing over I00% within a 12-month

period-including numerous price increases of more than 1,000yo in sotne cases. Teva owned




                                                     39
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 45 of 134




the rights to at loast 4$% of tl'rc clrugs identificd in thc GAO Iìcpolt as having exhibitecl an

extraordinary price incrcase betwe en 201 3 and 2015.

          116.    lìurther, a "er lJlootnberg and other tnedia outlets reported betweeu November          3


ancl   Nove¡rber 10, 2016, that lJ.S. prosecutors oould hancl down criminal charges related to its

price-fixing investigation by year-encl, resulting in sizeable liabilities lor'l'eva and other generic

clrug manufaoturers, Defenclants denied any wrongdoing, stating,      "'leva is not awaÍe of any facts

that would give rise to an exposure to the company with respect to these subpoenas."

          117. 'fhis clenial was false. Only a month       later, the C'f ,,\G would iìle its complaint

alleging {ir-ect eviclence that'l'eva ha<l engaged in a conspiracy to ltx prices on multiple drugs.

                  2.     Thc Markct Is Surprised Whcn Teva Annt)unces Dismal lìcsults fbr
                         the'Ihird Quarter of 2016 and Olafsson Is Fircd
          llfì,   On November 15, 2016, 'leva reported third quarter 2016 revenues below

consensus expectations, which Delèndant Olalison stated were a result of pricing pressures in

 'I'eva,s U.S, generics business. 'l'his news was a shock and a disappointment, given Defondants'

 bullish cornments on Teva's generics business and statements concerning prioe trends' On this

 news, the price of Teva's securities dropped.
                                                                            'I-eva's deteriorating
           119.    I-ess than three weeks later, on Deoember 5, 2016, arnid

 fìnancial conclition, the Company unexpectedly announced the "retirement" of Olafsson, the 48-

 year-olcl heacl    of generics. LIis replacement,       Dipankar Bhattacharjee, totlh over effective

                                                                     'l'he price of 'l'eva's securities
 irnmediately. In reality, Olafsson did not "retire." IIe was fìred.

 dropped in response.

                   3.     Tcvaus l¡rofits irom its Pricc Incrcasc Plrrn Furtlicr Ði;v Up, and
                          Vigodman and l)esheh Are Forced Out of thc Company

            IZ0. On January 6,       2017, Teva reduced       its 2017 guidance,     1àr below market

 expectations, which Vigodman attribute<l        "to not being able to rcalize new launches in        .




                                                    40
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 46 of 134



'I'evaf'sl lcgaoy business," rathcr tl'ran pricing pïessurc as gcneric compctition increascd. With

this report ol reclucccl rt:venuos, the price of''I'ev¿r securitics cleclinccl pr:ecipitously.

         l2l.    Shortly thereafter, on lìcbruary 6,2017,'leva announcecl the termination ol'
                                                                       'I'he prcss release
Vigoclman, effeotive immccliately and without a permanont replacement.

further notecl that Vigodlnan's service on 'I'eva's lloard had also ended. As with Olafsson,

investors cluestionecl the timing and abruptness of Vigodman's departure, especially given that

no replacement was named, or, appaïently, was under consideration at the time. Iror example,

J.P Morga¡, in a report dated February       6,2017,titled "CllO'l'ransition Adds lrurther lJncertainty

to Story," wrote that "we view today's        upclate as a disappointment,      with arguably the two most

important executives at'Ieva stepping down (Erez and Siggi Olafsson, CllO of generics) within

the last several months at a time of significant fundamental ohallenges."

          122, On April 25,2017,           numerous meclia reports surfaced that Desheh would be

pushecl ont as CIIO     at'l-eva. These reports were conl'lrmed the next day when, in an April                    26,


 2017 6-K, Teva announced that Desheh woulcl be stepping down as CIìO                            in "the   coming

 months" so that he could movc on to "the next phase of fhisl careel. "

                  4.       After Vigodman, Desheh and Olafsson Arc Tcrminated,'feva Lowers
                           (ìuidance, cuts Divi<lends, and Takes a $6.1 lliltion charge Against
                           Earnings

          lZ3.    On June 8,2017 , 'feva announced 1òur new directors to its Board in an attempt to

 regain lost credibility. ByJune 2I,2017, Desheh had also left:l'eva, Two months later, with

 Defendants Desheh, Vigodman and Olafsson f,rnally gone and new board members                              in   place,


 Teva revisecl guidance down again, reduced its dividend, and took a fl6'1 billion charge'

 Management acfunitted that these actions were triggered largely                  by the same pricing             and


 competitive market pressures that the Company-and especially former exeoutives Vigodman,

 Olafìson and l)esheh-had previously denied would have any irnpact on Teva.


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          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 47 of 134



          124.    On August 3, 2017,'l-leva announcecl lower-than-expectecl seoond cluarter 2017

results, inclucling a net IiPS loss lor the cluarter of lì5.94, reduceci guida.nce, ancl a $6.1 billion

goodwill impairment charge. As Dr. Yitzhak Peterburg, Vigodman's temporary replacement,

revealecl during the Company's earnings call that day, the IIPS loss was primarily the restlh ol'

the $6.1 billion impairment charge, which was taken to reduoe goodwill associatecl with'fcva's

U.S. generics business. Fitch downgraded 'leva's Issuer Del'ault Rating to BBB- as a result, with

a   Negative Outlook, reasoning that, "Pricing pressure in the U.S. will weigh on operations in the

near term, requiring the company         to   reduoe dcbt both through Þ'CIì generaticln ancl asset

divestitures." As reportod by Thestrcet that day, "'leva Shares Are Getting Obliterated Again

After Vioious Investment Bank f)owngrades."

           125. 'feva's August 3,2017         disclosure was the direct rcsult of'Del'endants' liaud.

Defendants had concealed fì'om investors that f'eva had generated revenues from price increases

that simply could not be maintained over the long-term. As those sollrces of revenue began to

dry up, and competition seeped back into the generic drugs market, revenue substantially

declined, necessitating thc rnassive write clown.

                  5.      The Market Learns Additional Details lìegarding Defendants' I'rice-
                          Fixing Scheme

           126.   The truth about Teva's collusion with other generic drug manufàcturels lurther

 emerged with the publication      of a l)ecember 9, 2018 article    it   T'he Washington Pr-¡sl, which

 quoted Connecticut Assistant AG Joseph Nielsen as stating that the State AG investigation had

 expanded to at least   i6 companies   and 300 drugs, and exposed "the largest cartel in the history of'

 the United States," 'fhe articlc also noted 'leva's continued denials that          it   engaged   in   any


 anticompetitive conduct, and its statement in a coult filing that allegations of a price-fìxing

    conspiraoy "are entirely conclusory and devoid of any facts."



                                                     42
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 48 of 134



        127. Ori May 10, 2019, alter the marl<et closecl, the State AGs fìlecl a                  524-page

antitrust cornplaint revealing previor,rsly undisolosecl facts regarding'l'cva's partioipation in thc

generic clrug price-Iìxing conspirzrcy allegccl hcrein. 'fhe May 2019 Statc AG oomplaint alleges

that'l'eva irnplementecl signifìcant price increases   1'or   approximately 112 generia clrugs, inclr-rcling

astonishing price hil<es of over 1,000%0, and describes'ì-eva's price-fixing with respect to at lcast

86 of those generic drugs-signilìrcantly more drugs than the 7 l'eva-related drugs at issue in the

State AGs' previously lìled action. 'I-he action details 'l'eva's role as a "consistent participant"

and a contral player in the conspiraoy. I.'urther, the        civil enforcement action names four Teva

employees as defendants: Cavanaugh, Patel, Kevin Green ("Green"), il'eva's f'ormer l)irector of

National Accounts, and David lìekenthaler ("Rekenthaler"),'feva's former Vice President, Sales

U.S. Generics.

V.      DEFENDANTS' MATEIIIALMISIìEI'TìESBNTATIONS,A.ND OMISSIONS

        128. l)uring the Iìelevant Period, Defenclants             made a series    of materially fàlse or

misleacling statements and omissions of material         fact. These statements can be sumrnarized        as


J'ollows:

         First, Defèndants made materially false and misleading statements and omissions
        regarding the reasons for the Company's success in the generic drug rnarket
        (including improved revenues, growth, profitability, costs, and margins).
        Specifically, l)efendants làlsely attribute the year-over-year ("YOY") changes in
         I'eva's generic segment profit and U.S. generic revenues to sources other than
        '['eva's price increases. Once Defendants spoke on these subjects, they had a duty
        to fully and accurately disclose the true source of 'lleva's revenues and profits.

        Second, Defendants flatly and falsely denied that Teva had engaged in price
        increases or received material benefit from price increases. Instead, Defendants
        falsely claimed that'Ieva only raised prices on a select few generic drugs due to
        market shortages.

            Third, Defendants falsely stated that the Company was immune to pricing
            pressures when, in fact, it was unable to sustain its undisclosed strategy of taking
            substantial price increases.



                                                    43
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 49 of 134



                                                        of oomtrlletion that the Compzrny
       trfuturth, Defèndants lalsely represented the levcl
       face{ in the gencric clrug markct. In truth, 'l'eva's undisclosed ancl inhercntly
       g¡sustainable strategy to takc massive short term price increatses dcpencled in
       large palt on a lack of cornpetition.

       Fifth" I)efenclants làilcd to disclose their receipt of subpoenas fì'om the tl.S.
       Department of Justice and the Connecticut Attorney General in connection with
       those agencies' investigations into price collusion in the generic pharrnaceutical
       markets and the impact of'such investigations on the Company.

       Sixfþ, L)efenclants falsely denied that 'l'eva had engaged in oollusive conduct,
       while in reality -leva was the central actor in an industry-wide price-fixing and
       market-allocation scheme, an{ four'feva executives were so extensively involved in
       the unlawful conspiracy that thcy were personally named as defendants in the
       State AGs' May 2019 comPlaint.

        I2g.    Defèndants also violated Item 303 of SEC Regulation S-K and Item 5 of Form 20-

Ir by fàiling to disclose the true reasons ancl fàctors contritruting to the increases ancl decreases in

the Company's rcvenues, i.e,, the Company's undisclosed strategy and implementation of

massive price inoreases for generic clrugs. 'fhese increases were unsustainable given, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

clrugs, and the inevitable clearing of the   ANDA baoklog at the FDA, which would have the effect

of introducing new competitors in the markct.

        A.       Defendants' Materially False and Misleading Statements and C)missions
                 During the lìelevant Period

                 1"        February 6'2014

        130.     On February 6,2014, in a press release filed with the SEC on Form 6-K that was

signed by Defendant Altman,'leva reportcd the Company's 4Q13 and irY 2013 financial results.

In thc same press release, Teva disclosect 4Q 13 U.S. Generic Medicine "t'evenues of         $ 1 '2   billion,

                         cornpare<l to the fourth queuter of 2A72,"
                                                                    'fhe press releasc reported that:
an increase   of \4a/o

         The increase resulted mainly from the exclusive launches of niacin ER, the generlo
         version of Niaspan@, and temozolomide, the generic version of Temodar'@, in the
         third quarter of ZOt:, and launohes of duloxetine, the generic version of
         Cyrnbalta@, and tobramycin, the generie version of Tobi@, in the fourth quarter of


                                                      44
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 50 of 134



       2013, as well as higher sales     of   buclesonicle inhalatiot'r,    thc gcner:ic version of'
       Pulmicort(Ð.

        131.    The statements set forth in 1f 130 above wcre materially false and misleading

ancl/or omittecl material Jàots because they had the     ef   lect of concealiug, and/or làilcd to disclose   .



that, in truth, the Cìompany's reported financial results and success in the gencric drug market,

inclucling improveci revenlles, were driven prirnarily by its undisclosed strategy to take massive

price increases, either on its own oï in tandem with other manufàcturers whom                it   purportedly

competed with.    In fact, during IìYl3 Teva      generated more than 5222 million through price

increases   alone. This strategy was inherently unsustainable in light of, arnong other things,
inclustry, regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

inevitable clearing of the ANDA backlog at the FDA, which would have the effect of introducing
                                                                                 'leva's revenue
new colnpetitors in the market. IJaving put into play the issue of the source of

growth and the subject of competition in the generic drug rnarkets, I)efendants had a <luty to

disclose f'eva's price increase strategy and the true soul'ce of its revenues.

                2"      February 10,2014

         132,    On F'ebruary 10, 2014, Teva filed its 2013 Annual Iìeport with the SL,C on Form

20-F, which was signed by Defendant Desheh. The 2013 20-F disclosed a YOY decline in

generic profit of $400 million, or 20o/o, "primarily" attributed to "lower revenucs and lower gross

profit, which were partially offset by a reduction in selling and marketing expenses," anil "by

 sales of higher profitability products in the United States."

         133.    The statements set forth in    n ß2          above were materially false and misleading

 andlor omittecl material facts becausc they had the effect of concealing, and/or failed to disclose,

 that, in truth, the Company's reported financial results in the generio drug market were driven

 prirnarily by its undisclosod strategy to take massive price increases, either on its own or in



                                                    45
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 51 of 134



                                                                                                 'l-eva
tanclem with other manul'aoturcrs wh<lm   it purportedly cornpetecl with. In faot, cluring [ìY13

generatecl more than lì222   million througl-r pr:ice increascs alonc. Without this inllated revenue,

'feva woulcl have experiencocì a YOY dccline in genoric prolit of 5622 million, or 55(% more

than what    it roportecl. This strategy was inherently unsustainablc in light ol,       among other

things, industry, regulatory ancl governmental scrutiny surrounding the pricing of generic dlugs,

and the inevitable clearing of thc ANDA backlog at the lìDA, which would have the cffect of

introducing new competitors in the market. I-Iaving put into play the issue of the source of

Teva's revenue growth a¡d the subjeot of competition in the generic drug markets, I)efèndants

had a duty to ilisolose'l'eva's price increase strategy and the true source of its revenues.

           I34.   'I'he Company's Irebruary   I0,   2014 Iìorm 20-F also described the "intense

cornpetition," 'feva faced in the lJ.S. generic market and its "competitive prioing strategy," and

again toutcd its "cotnpetitive advantages":

        Competitive Lan<lscape. In the United States, we are subject to intense
        competition in the generic drug market from other domestio and foreign generic
        drug manufacturers, brand-name pharmaceutical companies through lifecyole
        management initiatives, authorized generics, existing brand equivalents and
        manufacturers of therapeutioally sirnilar drugs. Price competition lrom additional
        generic versions of the same product typically results in margin pressures' We
        believe that our primary competitive advantages are our ability to continually
        introcluce new and complex generic equivalents for brand-name drug products on
        a timely basis, our quality ancl cost-effective production, our customer service and
        the breadth of our product line. We believe we have a focused and oornpctitivc
        pricing strategy.

           135.   In the same Form 20-F, Teva discussed the primary factors driving growth in the

 Company's Generic Medicines segment, and reported "intense competition                 in the generic

 market'

           Sales of generic pharmaceuticals have benefitted from increasing awareness and
           acceptance on the part of healthcare insurers and institutions, oonsumers,
           physicians and pharmacists globally. . . . T'hese conditions also result in intense
           competition   in the generic market, with      generic cotnpanies cornpeting for



                                                    46
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 52 of 134



        advantage basecl on pricing, time        to market, reputation, customer servicc     ancì
        breadth of product lir-re.

        136. 'fhe staternents      set   fufih in TT 134-35 above were materially làlse and misleading

ancl/or omitted material fàots because 'I'eva was not lacing "intense eompetition" or operating in

a competitive environment. Nor was 1'eva working to combat the purportcd effeots of
oompetition, which resulted in "margin presslrres," through a "oompetitive pricing strategy." In

truth, 'I'eva's undisclosed and inherently unsustainable strategy to take massive short tcrrn price

inoreases clependecl   in large part on a lack of competition. In fact, during the i{elevant Period,
'l'eva increased the prices     of multiple    drugs, many      of which were done in   tandem with its

purported compctitor s. See 1l1I 7 I -9 4.

                 3.      May 1' 2014

         137.    On May 1,2074, 'I'eva filed a press release on a Iìorm 6-K with the SllC, signed

by Defendant Desheh, reporting the Cornpany's 1Q14 hnanoial results.'Ihc Q1 2014 6-K

<lisclosed a   YOY increase in gencric prolìt of $117 million, or 3lYo, whicli was "pdmarily"        due


to: "filligher revenues, higher gross profit and a reduction in selling and marketing expenses,"

with higher gross profit attributed to "the change in the oomposition of revenues in the United

States ancl liurope, mainly products launched during the           lirst quarter o12014 and in the United

States in the second half of 2013."

         138,     That same day, 'l'eva held its 1Q14 earnings conference call, in which Defendants

Vigodman and Desheh participated. During that call, Desheh stated:

         In generics, we experienced signihcant growth in the Unites States market, with
         l7o/o year-over-year growth, to a total of $1 billion with a number of new product
         launches.

                                                     {< {< {.


         'l'he profìtability of our major business segment was driven by global generic,
         with 31%o improvernent resulting liom the strong performance in the IJS market


                                                       47
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 53 of 134



       and higher prohtability in lìur:ope. 31% irnprovemcnt in tl're profirt o1'the
       global generic business, driven by the perlbrmauoc of the IJS market, improvcd
       the total gencric share to 30% oî total prolit.

       139. 'l'he statemonts   set I'orth in   IT 137-38 abovc werc materially false and misleacling
and/or omitted material facts. Defendants' statements touting the purported success of their

generics business had the effect    of concealing, and/or failed to disclose, that, in truth, the

Clompany's reported financial results and success in the generic drug market, including improved

revenues) were driven primarily by its undisclosed strategy to take massive prioe increases, either

on its own or in tandem with other manufacturers whom it purportedly competed with.          In   fact,

<luring IrY13 1'cva generated more fhan5222       million through price increases alone and in FYl4,

generate<1 more than $656   million from price increases, much of which had been realized by May

2014. This strategy was inhercntly unsustainable in light of, among other things, industry,

regulatory ancl governmental scrutiny surrounding the pricing            of   generic drugs, aud the

inevitable clearing of the ANDA backlog at the FDA, which would have the el'fect of introducing
                                                                                 'I'eva's revenue
new colnpetitors in the market. I{aving put into play the issue of the source of

growth and the subject of cornpetition in the generic drug markets, Defendants had a duty to

disclose'leva'S prioe increase strategy and the true source of its revenucs.

               4.      July 31,2014

        140.   On July 3I,2014, 'feva liled its 2Q14 L-orm 6-K with the SIIC, which was signed

by Desheh. 'fhe 2QI4lìorm 6-K reportecl that YOY inorease in generio segment profit of $156

million, or 4IYo, "primarily" attributed to:

        IA] signifîcant reduction in selling and marketing expenses, higher revenues and
        higher gross profit, fwhich was attributed to] . . . . higher revenlles in the Unitecl
        States, specifrcally of products launched during the first half of 2014 and in the
        second half of 2013, and higher revenues in Canada as well as ... the change in
        the composition of revenues in lJurope.




                                                     48
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 54 of 134



       141. On July 31,2014,'I'eva held its 2Q14 earnings                   confèrenoe call, on which

Vigodman, Dcsheh, and Olafisson particìpatcd. During tho eall, Desheh stated:

       f'flhe improvement ol' operating profit and profìtability was clriven by strong
       results of our global generio business, with prolìt improvement o1'410lo compared
       to last year. l.aunch of gcneric Xeloda in March and generic l,ovaza this quarter
       in the IJS market . . . led to the better results.

       142.    'I'he statemcnts set forth in
                                             TT 140-41 above were materially false and misleading

and/or ornitted material làcts. Defendants' statements touting the purported suocess of their

generics business had the effect     of   ooncealing, and/or fàiled      to disclose, that, in truth, the

Company's reported financial results and success in the gencric drug market, including irnproved

revenues, were driven primarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competed                 with. In   fact,

dnring FYl3 Teva generated more thanß222 million through price increases alone and in IrYl4,

generated more than $ì656   million from price increases, much of which had been realized by             .Tuly


2014. 'l'his strategy was inhcrently unsustainable in light of, among other things, industry,

regulatory and governmental scrutiny surrounding the pricing                    of   generic drugs, and the

inevitable clearing of the ANDA backlog at the ÌìI)4, which would have the effect of introducing

new competitors in the malket. Ilaving put into play the issue of the source              of i'eva's revenue

growth and the subject of competition in the generic drug markets, Def'endants had a duty to

disclose Teva's price inorease strategy and the true s<lurce of its revenues.

               5.      October 311,2014

        143. On October 30,2014, in a press release filed with the SEC on Form 6-K and
signed by Desheh, Teva reported its 3Q14 financial results. ll.he Q3 2014 6-IK disclosed a YOY

increase in generic profit of $160   million, or   40o/o,   "primarily" from:

        ftI]igher gloss profit and a significant reduction in selling and marketing
        expenses, fwith higher gross profit attributed to.l . . lower expenses related to


                                                     49
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 55 of 134



         procluction, higher rt:venues lìnm our APi business as well as highcr gross proht
         due to the ohange in the composition of revenues.

         144.    On October 30, 2014, 'feva held its 3Q14 earnings conlèrence oall, on which

Vigo<lman, Desheh, and Olafìsson participated. During the oall, Olaiìson stated:

         I think overall, we have a good revenue off the new launches this year. fCapasi<la]
         the generic Lova:zaomega 3 fandl llntecavir. Ilntecavir was a new launch f.or us in
         the quarter. I think all these three products have been vcry significant contributors
         to the year,

         (First alteration in original.)

          I45.   On the same call, a tlBS Securities analyst asked whether price inereases in

"some of'fTeva'sl base business" impaoted f'cva's 3Q14 financial results. Olafsson responded:

"there's never a price increase on the base business as whole. Like any other business, if there's

a   pricing opportunity that comes in the market, we look for that. Ilut the base business itself has

been erocling overall because of the consolidation of the customers."

          146.   'fhe statements set f'orth in Tll 143-45 above were materially false and misleading

ancl/or omitted material facts. l)efendants' statements touting the purported success                of their

generics business had the effect           of concealing,   ancl/or failed   to disclose, that, in truth,   the


Company's reporte<l financial results and success in the gencric drug market, including improved

revenlles, were ¿riven prirnarily by its undisclosed strategy to take massive price increases, either

 on its own or in tanclem with other manufacturers whom it purportedly oompeted with. In fact,

 during FY13 Teva generated more than5222 million through price increases alone anci in IrY14,

 generated more than $656 million from price increases, much of which had been realized by

 October 2014. 'fhis strategy was inherently unsustainable               in light ol, among other     things,


 industry, regulatory and governmental scrutiny surrounding the pricing ol'generic drugs, and the

 inevitable clearing of the ANDA backlog at the FDA, wliich would have the effect of introducing

 new competitors in the market. I-Iaving put into play the issue of the source of Teva's revenue


                                                       50
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 56 of 134



growth and the subject of'competition      ir-r       the generic drug markets, Defcndants had a duty to

disclose 'l'eva's price increase strategy and thr: true source of its revenues,

                6"      Ilecembex" tr1, 2014

        147. On Decernber 11 , 2014, Vigodman, I)eshch, and Olalìsson participated in the
Company's 2015 Ilusiness Outlook Meeting conference oall. During the call, a Morgan Starrley

analyst asked "with respect to Generic inventory in the channel, both f'or T'eva and {òr other

generic manufàcturers,    I'm   assuming that wholesalers have been seeing extraordinary price

increases in recent years and has been buying inventory ahead o{'tremendous price inoreases."

Defendant Olafsson "disagree [ed] " stating       :




        So lirst let me correct. I have to disagree that they have experienced tremendous
        price inclease, I think, overall, the pricing in the US of generics has been flat to a
        slight down. 'fhere has been a lot of press about price increases on individual
        molecules and this has been a hot political issue selecting a lew products.

        148,    'l'he statements set forth in          11   147 above were materially fàlse and rnisleading

ancl/or ornitte<J material facts. Delèndants' statements that "overall, the prioing          in    the: U.S.   of

generics has been flat to a slight down" had the eff'ect of concealing, and/or fàiled to disclose,

that, in truth, the Company's reported financial results and success in the generic drug market,

including improved revenues, were driven primarily by its undisolosed strategy to take massive

price increases, either on its own or in tandem with other manufacturers whotn                it   purportedly

competed with. In fact, during FY13 and FY14 Teva generated more than $878 rnillion through

price inoreases alone. This strategy was inherently unsustainable in light of, among other things,

industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs, and the

 inevitable clearing of the ANDA backlog at the Fl)A, which would have the effèct of iirtroducing
                                                                                  'I'eva's revenue
 new competitors in the market. I{aving put into play the issue of the source <lf




                                                             51
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 57 of 134



growth and tho subjoct o1'competition in the generic clrug markets, I)cf'end¿rnts hacl a cluty to

clisclose'l'eva'S pr:ice inorezrsc str"ategy ancl tl're true sclurce of its rcvenucs.

                 7   "    Fcbruary 5 amd F ebrualy 9' 20n5

         149.    On lrebruary 5,2015,'I'eva liled a press release with the SliC on l"'orm 6-l(,

signecl by Defenclant l)esheh, reporting the Cornpany's          4Ql4 and FY2014 financial results. 'i'he

Q4 2014 Press Release disclosed a YOY increase in generic profit of fl47 million, ot                    9o/o,


attributed "primarily" to: "IO.]ur lower S&M expenses and lower I{&D expenses."

         150.    On Irebruary 9,2015,'leva filed its 2014 Annual Report with the SllC on Form

20-F, signecl by Desheh. 'I'he 2014 20-F stated that 'l'eva's management assessed                        the


ef'fectiveness   of the Company's internal control over financial reporting as of l)ecember              31,


2014, ancl concluded that its intcrnal controls were cffective, and that Defendants Vigodman and

Desheh evaluatecl the effectiveness of the Cornpany's disclosure controls and procedures as of

Dccember 37,2014, ancl concluded that its disclosure controls and prooedures were effective'

 'lhe 2014   20-F- disolosed a    YOY increase in generic proht of $480 million, or         29o/o, attributed


"mainly" t{l:

         lower S&M expenses ancl higher gross profit . . . . lwhich was] mainly a result of
         higher revenues in the United States, specifically of products launched during 2014
         and in the second half of 2013, and higher revenues in Canada, which led to higher
         gross profits, as well as higher gross profit Íìom API sales to third parties.

          151,       The Cornpany's 2014 20-F also reported that FY2014 tJ.S. Gcneric Medioine

 revenues "amounted to $4.4 billion, up        60/o   compared to $4.2 billion in 2013," explaining that:

          'l'he increase resulted mainly from the 2014 exclusive launch of capecitabine (the
          generic equivalent of Xelo<ia@), the launch of omega-3-acid ethyl esters (the
          generic ecluivalcnt of l-ovaza@) for which we were hrst to market, and the lartnch
          of raloxifene (the generic equivalent of Evista@), as well as products that were
                                                    'l'hese increases were partially offset by
           sold in 2014 that were not sold in 2013.
           lower sales of the generic versions of Adderall IR (amphetamine salts IIì),
           Pulmicort (budesonide inhalation) and Niaspan@ (niacin LìIì).



                                                          52
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 58 of 134



       I52.    The table bclow reflects'lcva's improved prohts as rcported in2014




   Iìeported YOY Change in
                                          Í;i l7                f[ 1s6       fìr60        547          Íì480
   Gencrics Profit

               -fhe
       153.           statements set forth in       IT'|lT   149-52 above were materially false and misleading

and/or omitted material facts. Defendants' statements touting the purported success                   of their

generics business had the eflèct         of concealing, and/or fàiled to disclose, that, in truth, the
Company's reported fìnancial results and success in the generic drug mar:ket, includirrg irnproved

revenues, were driven prirnarily by its undisclosed strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purpoltedly competed with. In faet,

during FYl4 Teva generated more than $656 million through price increases alone, representing

a YOY increase in inflated revenues ol'rnore than $434 rnillion, or nearly all of the reported

YOY change in generics profit. This strategy was inherently unsustainable in light of, among

other things, industry, regulatory and governmental scrutiny surrounding the pricing of generic

drugs, and the inevitable clearing of the ANDA backlog at the IìDA, which would have the effect

of introducing new competitors in the market. I{aving put into play the issue of the souroe of
'leva's revenue growth     an<l the subject        of competition in the generic drug markets, I)efendants
                         -l'eva's
had a duty to disclose              price increase strategy and the true source of its revenues.

        154. The Company's ìlebruary 9, 2015 Form 20-F also described the "intense
competition" Teva faced in the U.S. generic drug market and its "competitive pricing strategy,"

and again touted its "competitive advantages":

        In the United States, we are subject to intense competition in the generic drug
        market from domestic and international generic drug manufacturers, bran<l- name
        pharmaceutical companies through lifecycle managernent initiatives, authorized
        generics, existing brand equivalents and manufacturers of therapeutically sirnilar
        drugs. Pdce oompetition from additional generic versions of the same product


                                                               53
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 59 of 134



       typically results in margin pressures. We believe that our prirnary competitive
       advantages are our ability to continually introduce new and complex generic
       cquivalents for brand-name drug proclucts on ¿r timely basis, our quality, our
       customer service and the breadth of our product portfolio. We believe we have a
       l'ocused and competitive pricing stratcgy.

       155. In the 2014      lrorm 20-lì,'I'eva also described the "intense cornpetition      in the
generics market," and the primary factors driving growth in its Generic Medicines segment:

       Sales of generio medicines have benefitted from incleasing awareness and
       acceptance on the part of healthcare insurers and institutions, oonsumers,
       physicians and pharmacists globally. 'I'hese conditions also result in intense
       cornpetition in the generic market, with generic eompanies competing lor
       advantage bascd on pricing, titnc to market, reputation, customer service and
                                  'We
       breadth of product line.       believe that these factors, together with an aging
       population, an increase in global spending on healthcare, economic pressure on
       governments to provide less expensive healthcare solutions, legislative and
       regulatory reforms and a shift of decision-making power to payors, will lead to
       continued expansion in the global generic malket, as well as increased
       competition in this market.

       156,    In the same Form 20-F, the Cornpany also describecl thc following Risk lìactor:

       Our generic drugs face intense cornpetition, Prices of generic drugs typically
       clecline, often clramatically, especially as additional generic pharrnaceutical
       companies (inclu<ling low-cost generic producers based in China and India)
       reoeive approvals and enter the market for a given product and competition
       intensifies. Consequently, our ability to sustain our sales and profitability on any
       given product over time is affected by the number of new companies selling such
       product and the timing of their approvals.

        ß1.    The statements set forth in     II   154-56 above were materially false and misleading

and/or omittecl material facts because Teva was not facing "intense compctition" or operating in

a   competitive environment. Nor was 'feva working              to combat the purported effects of
competition, which resulted in "margin pressures," through a "competitive pricing strategy." In

truth, Teva's undisclosed an<l inhercntly unsustainable strategy to take massive short term price

increases depended in large part on a lack of competition. In fact, during the Relevant Period,

Teva inoreased the prices of rnultiple clrugs, many of which were done in tandem with its

purported competitors. See nn   7   1   -94.



                                                      54
           Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 60 of 134



                  {1.      .A¡lnil 30,2{}tr5

           158.   On April 30,2015,'l'eva fìlecl its          lQl5 Ironn 6-K with the SIlCl, also signed by
Defendant Desheh. The Cornpany's 1Ql5 Forrn 6-K r:eported a YOY increase in gencric profit

of $296 rnillion, or    5901,,   attributed "primarily" to:

           [{]igher gross profit and lower selling and marketing cxpenses as well as lower
           researchanddevelopmentexpenses....fwithl highergrossprofit...rnainlya
           result of the launch of esomeprazole in the lJnited States during the cluarter and
           improved profitability of our European business.

           159. On April 30,2015, 'leva held its 1Q15 earnings                  conference call, on which

Vigodman, Desheh, and Olaf'sson participated. l)uring the call, a Ilank of America Merlill

Lynch analyst asked "how much more potential exisls to increase generic segment margins

pr"rrely   lrom organic gains in operational efficiency?" In response, Olafsson stated:

           I think there is room for more, but it takes a little longer time. What plays into the
           operating profit in generics are probably three or four things.

           Iìirst of all, we have a significant improvemenl in our cost of goods. i think the
           operation team in 'feva has done an outstanding job in lowering the cost of goods,
           imploving the quality of the supply.

           And really, it's my business that has benefited from that because a big portion of
           our volurne comes straight to thc generic business, And really, we will continue
           that over time. . .   ,




           I think the next thing is the porlfolio offering. I think the more we have of
           exclusive complex generics on offering, we have a higher margin on these
           products. It's simple. So when we have more of the launches, it will dlive up the
           margin.

           The third thing is the cost infrastructure. I think we have done a very good job in
           the cost infrastructure. You can see that from our gross margin versus our
           opcratingprofìt....

           fO]bviously, the big jumps of 1,000 basis points we have taken over the Iast24
           months, you wouldn't see that skill of irnprovement in the generios. . . .

            When you look at the top line growth, you see that already in first quarter we have
            improved our top lino growth. That mainly comes liom our new launches but
            also our emphasis on the branded generic marlçets.



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       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 61 of 134



       160. The staternents sct forth in TT 15tl-59 above were materially        false and rnisleading

and/ol omitted n-raterial lÌrets. Def'endants' statements toutìng the purportecl succcss of thcir

generics business, inclucting the "three or lour things" that play into 'l'cva's operating profit, had

the effect of ooncealing, and/or failed to disclose, that, in truth, the Company's repofled fìnancial

results and success   in the generic drug market, including improved         revenues, were driven

primarily by its undisclosed strategy to take massive prioe increases, either on its own or in

tandem with other manufacturers whom          it   purpor'tedly competed with.   In fact, from   FY13

through F'Yl4 Teva generated more than $87tì million through prioe increases alone, and in

FY15 generated an additional 5747 million through price increases, much of which had been

realized by Aprit 2015. 'I'his strategy was inherently unsustainable       in light of, among    other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the FDA, whioh would have the eflcct of

introducing new oompetitclrs in the market. Ilavirrg put into play the issue of the souroe of

'leva's revenue growth and the subject of oompetition in the generic drug markets, Defendants

had a duty to disclose 'feva's price increase strategy and the true soutce of its revenues.

                9.      June 10,2015

        161.    During a June I0,2015 Goldman Sachs conference, Vigodman spoke oÍ "the

profound change in the generic business" since 2014, stating:

        These are "things fthat] are not conlined to numbers, but maybe fnurnbers tell the
        story]: 16.7Yo operating profit in 2013;21.9o/o operaling profit 2014," and
        attributing this success solely to "[t]he execution of the cost reduction proglamf:]
        $600 million dollars of net savings 2014; $500 million dollar 2015," and a "[f]ull
        transformation of our operational network," claiming that "lw]e closed or
        divested 1 1 plants during the last 12 months, we centralized procurement.. . . So
        everything that was done during20I4 was based on organic moves only,"

         162.    The statements set f'or1h in T 161 above were materially làlse and misleading

and/or omitted material facts. Vigodman's statements touting the purported suocess of their


                                                     s6
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 62 of 134



generics business, including the "cost reduotion program" and             "lirll   transformation of' our

operational network," had the efl'eot of'concealing, and/or làiled to ciisclose, that, in truth, the

Company's rcportcd lìnancial results and success in the generic drug market, including improved

revenues, were driven primarily by its undiscloscd strategy to talçe massive price inoreases, either

on its own or in tandem with other manulàcturers whom it purportedly competed with. In fàct,

fìom lìY13 through FYl4, Teva generated more than $878 million through price increases alone,

and in FY15 generated an additional$^747 million through price increases, much of which had

been realized by.lune   2015. This strategy was inherently unsustainable in light of, arnong other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

and the inevitable clearing of the ANDA backlog at the lìDA, which would have the elTect               of

introducing new competitors in the market. llaving put into play the issue of the source of

'I'eva's revenue growth and the subject of competition in the generic clrug markets, Defendants

hacl a cluty to clisclose Teva's price increase strategy ancl the true source   of its revcnues.

                10.     July 27,2015

        163. On July 27,2015, Teva held a call to discuss          the Company's Actavis acquisition.

On the July 27,2015 call, a BMO Capital analyst asked Olafìsson and Vigodman about the

competitive landscape in the generic market. In response, Olafsson stated, "the lJ.S. generic

market is very competitive. . .   .   fThere's] a fierce competition on most o1'the portfolio, if not all

of the portfolio." Vigodman added, "we promise to do everything in our power to take the

Company to be able      to continue the improvement that we have been witnessing here.                V/e

believe in competition, and we'll do what is needed in older to win all the markets we operate."

         164.   The statements set forth in T 163 above were materially false and misleading

and/or omitted material facts because'leva was not faoing "fierce competition" or operating in a

 competitivc environment. Nor was "the U.S. generic market              f] very competitive." In truth,

                                                     57
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 63 of 134



'I'eva's undisolosed and inherently unsustainable strategy to takc massive short term price

inereases dependccl   in large part on a luclç of eompetition. In faet, during the l{elevant   Pcriocl,

'leva increased the prices ol rnultiple clrugs, many of wliioh werc clone in tandem with its

purported competitors. See TT 71-94,

                11"     July 30,2015

         165.   On July 30,2015, T'eva filed its 2Q15 Form 6-K, which was signed by l)efendant

Desheh. 'leva's 2Q15 6-K reported a YOY increase in generic ploht of $193 million, or             360/o,


attributed "primarily" to :

         "lllligher gross proht  as well as lower selling and marketing expenses," while
         claiming that higher gross profit was "mainly a result of higher gross profit in the
         lJnited States, due to the launches of aripiprazole in the second quarter of 2015
         and of esomeplazole during the first quarter of 2015, and lower production
         expenses."

         166.   The statements set forth in T 165 above were materially false and misleacling

and/or omitted material facts. Defendants' statements touting the purportecl success            of their

generics business had the effect     of concealing, and/or failed to disclose, that, in truth, the

Company's reported financial results and success in the generic drug rnarket, ineluding improved

revenues, were driven primarily by its undisclosed strategy to take tnassive price increases, either

on its own or in tandem with other manufacturers whom it purporledly competed with. In fact,

from FY13 through lìY14'feva generated more than $878 million through price increases alone,

ancl   in FYl5 generated an additional$747 million through price increases, much of which           had


been realized by July    2015. This strategy was inherently unsustainable in light of, among other

things, industry, regulatory and governmental scrutiny surrounding the pricing of generic drugs,

 and the inevitable clearing of the ANDA backlog at the FDA, which would have the effect of

 introducing new competitors in the market. Flaving put into play the issue of the source of




                                                  58
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 64 of 134



leva's revenue growth and the subject of cornpctition in thc generic drug mzukets, I)efendants

hacl a eluty to clisclose'['cva's price incrcase strategy and the true source   ol'its revetrues.

                  12"    Octoårer 29,Z{ìLs

        167.      On October 29,2015,'I'eva filed its 3Q15 lìorm 6-K with the SEC, signecì by

Desheh. In the 3Q 15 Forn'r 6-I(, Teva reported YOY increase in generic profìt of $20 million, or

4Yo, attributed   "primarily" to:

        "fl-lower selling and marketing   expenses, partially offset by lower gross profit,"
        which in turn was partially offset "by higher gross proftt of our API business."

        168. On October 29, 2015, Vigodman,                Desheh, and Olafsson participated        in   the

Company's 3Q15 earnings confèrence oall, I)uring the call, Vigodman denied that any of 'Ieva's

margin improvements were attributable      1o   price increascs

        We are very responsible . . . in everything that pertains to prices on the generlc
        side and on the specialty side. And I would even put it another way, all the
        inrprovements you see in our - in murgÍns is not driven by price. It ís driven hy
        quuntities and by mix and by efficien.cy measures. Not by price,2014' 2015.
        Attd that's fi very important message.

         169.     In light of reoent legislative proposals that would penalize generic manufacturers

for raising prices above the rate of inflation, an analyst asked for tnanagement's thoughts on "the

potential limit to generic drug price increases." Olafsson minimized the extent and effect of

'leva's practice of increasing prices and implied that 'l'eva was not dependent on such profit

        In terms of the proposed legislation on pricing control on generics, first of all, we
        don't really know what it's going to be. But let me give you examples. So Teva
        has the largest portfolio on the lJ.S. market. We are offering approximately 275
        products. And we have told you that overall on our whole portfolio, we have a
        decline in price. The tølk øbout the inflation in generics when you ltave ø big
        portfolio is really not there. 95o/o of our portfolio is declining due to the
        consolidation of the customers I talkecl about. There might be 5o/o of the por"tfolio
        that is either flat or increasing in pricing due to some abnormalities in the market.

         fl0.      The statements set forth in TT 167-69 above were matetially false and mislcading

 and/or omitted material facts. Defendants' statements had the effect of concealing, and/or failed


                                                      59
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 65 of 134




to clisclose, that, in truth, the Company's rcported financial results and success in the generic

drug market, inoluding improved revenues, were driven prirnarily by its undisclosed strategy to

takc massivc price increases, cither on its own or in tandem with other manufacturers whom it

purporte<lly competed with. In Iàct, fì'om      IìYl3 through I"Yl4,'l'eva   gencrated more than $fl7tì

million through price increases   alone , and   in FYl5 generated an additional fiT4l million through

price increases, rnuch of whioh had been rcali'zed by October 2015. 'l'his strategy was inherently

unsustainable     in light of, among other things, industry, regulatory and governmental scrutiny

surrouncling the pricing of generic drugs, and the inevitable clearing of the ANDA backlog at the

IìDA, which would have the effect of introducing new cornpetitors in the market. I-laving put

into play thc issue of the souroe of 'leva's revenue growth and the subject of competition in the

generic drug markets, I)efendants had a duty to disclose 'feva's price increase strategy and the

true souroe of its revenues.

        I7I   .   On the same Octob er 29,201 5 call, Olafsson was aske d     il   he could   "ft¡llow up . .   .




on what your pricing trencls are here in the tJS for the generic business." Olafsson responded:

        So on the pricing, I think pricing is obviously based on the competition. We have
        talked about that the overall pricing trend is down. What will change that
        obviously, there is different things. I think the consolidation of the customers
        affect pricing. I think the backlog, when the FDA releases the backlog of 3,000
        NDA affect pricing.

        I72.      T'he statements set furth in    T 171 above were materially false and misleading
 ancl/or omitted material facts because 'l'eva's pricing was not "obviously based                     on   the


 competition" and the Company was not operating in a competitive environment. In truth, Teva's

 undisclosecl aird ii-iherently unsustainable stratcgy    to take massive short term price          increases


 <lepende<l   in large part on a lack of competition. In fact, during the Relevant Period, 'feva




                                                     60
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 66 of 134




increased the prices of rnultiple drugs, many of which werc donc in t¿rndcm with its pr"trportecl

competitors.    .See TT   71-94.

                    13"    I.{ovemtrer X9, 2015

         173.       On November 19, 2015, during a Global Ilealthcare Conference call hosted by

.Teflèries   LLC, in rcsponse to a question asking Desheh to "give us your 20,000 foot viow      ott

pricing" and asked "fils it an issue . . . where do you go on price," he stated:

        'fhere is a lot of noise around pricing issues. Some of it's coming fiom politicians
        who are driving agenda, whioh is very, very legitimate.

         Our exposrtre to all Íhese things is very minimal" " " .

         Generic prices? There are no - I believe that there are many examples for
         competitive environment, real competition, like we see in the generic market in
         the ljnited States. . .   .




         So it's a highly competitive environment with players coming Iìom all over the
         world, with a very lieree priee competition. T'he price of generic went down 50olo
         over the past 10 years. . . .

         Antl Teva was not associøted with any of that. So we'Ie playing a competitive
         game. We're playing it fairly. We, of cotlrse, play by the book and by the rule.
         Ancl we believe that our exposure to any initiutíve on price reduction in the
         United Støtes is as a small øs anyltttdy can ltove. . . .

         Ilut we also                          this, And the floor is a common economic
                          saw that there is a floor to
         and business model. And wherever      prices have come down to a level that it
         doesn't make sense, companies like us just pull out. We refuse to participate in
         tenders that generate no profit. And we just pull out , . . . prices go uP, because
         there is less supply over the demand.

             174.   The staternents set forth in T 173 above were materially false and misleading

and/or omitted material facts because Teva was not facing "fierce price competition" or

operating in a "highly competitive environnlent." In truth, Teva's undisclosed and inherently

 unsustainable strategy to take massive short term price increases depended in large part on a lack

 of competition. In faet, during the Relevant Period, Teva increased the prices of multiple drugs,

 many of which were done in tandem with its purporled competitor s. See lln        7 1 -94   .




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       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 67 of 134




       175.    Similarly, Desheh's statements set forth in       ll   173 above   -   including that'l'eva's

"cxposurc to all these things is very minimal," "we believe that our exposure to any initiative on

price reduction in the lJnitecl States is as a small    ¿rs   anybody r]an have," and "'leva was not

associatcd with any of that" -- werc fàlsc and misleading becausc 'l'<:va was highly dependent on

its stratcgy to implement massive short term price hikes. In fact, from IrYl3 through           lìYl5'feva

generated more than $1.6 billion through price inoreases alonc.'l'hus, any political initiative,

such as permitting Medioare to negotiate drug prices, could lead to drastic price decreases,

               '1,4.   .Ianuary11,2016

        176. At a January 11,2016 J.P. Morgan            Conference, a J.P. Morgan analyst asked

Olafìsson, "McKesson this morning announced some maybe challenging pricing on the generics

side or an expectation of that going forward, Could you.just comment a little bit on h<lw you see

generic pricing as we look out not just this year but jn the ftiture ancl how 'I'eva is abìe to

navigate thc ourrent environment?" In answer to this question, Olalison responded:

       The generic pricing - we need to keep in mind there's a lot of talk about inflations
       in generic pricing. But what we see is there's - overall on our total portfolio of
       270 produots, there is a slight decrease in pricing. It's low single digit, but year on
       year we see a low single-digit decrease because on 95% of our portfolio, we
       experience price decline. And tlten on 5%o, we might be flat or a sliglrt increase.
                                                  -lhere
       So, overall, we see that in the business.         's a lot of headlines of examples of
       big price increases in generics. Ilut when you are a company of the size of Teva
       and you have the portfolio that we have today - as I said,270 ploducts for the
       whole of the portfolio - there is a decline.

        177, 'l'hc statements   set forth in   n   176 above were materially false and misleading

and/or omitted material facts. Olafsson's statement that "on95o/o of our portfolio, we experience

price decline" had the effect     of   concealing, and/or làiled         to   disclose, that,   in truth, the
Company's reported financial results and success in the generic drug market, including improved

rcvcnues, were driven primarily by its undiscloscd strategy to take massive price increases, either

on its own or in tandem with other manufacturers whom it purportedly competecl with. In fact,


                                                   62
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 68 of 134




from   lryl3   through lìyl5'l'evzr gcneratecl more tlian $i1.6 billion through price increases alone.

'['his strategy was inhercntly unsustainable in light of, among other things, industry, regulatory

an<i governnental sorutiny surrounding the            pricing of gcneric drugs, and thc inevitable cleariug

of the ANDA backlog at the IìDA, which woul<l have the effèot of introducing new competitors
                                                                'lcva's revenue growth             ancl the
in the market. I,iaving put into play the issue oIthe souroe of

subject of competition in the generic <lrug markets, I)efenciants had a duty to disclose
                                                                                         Teva's

price increase strategy and     tl-re   ttue source of its revenues'

                  15.      February 11,2016

         17g.     On February 11,2016, Teva filecl with the SIIC a press release repofiing the

Company,s fourth quarter 2015              ("e4 2015") and full year 2015 ("FY 2015") financial      results


(,,e4 2015 press Release").'I'he Q4 2015 Pless Release clisclosed a YOY increase in
                                                                                    generic


 profit of $7 million, or       1Yo, attribute<l     "primarily" to: "lTlhe reduction in S&M      expenses'


 partially offset,6y, in part, "lower sales of budesonide (Pulmicort@) in the lJnited States'"

           l7g.    Also on February 71,2016, Teva lilecl its Annual Ileport with the SEC on lìorm

 20-F, signed      by Desheh. The 2015 20-F                 stated that 'I'eva's management assessed the

 effectiveness of the Company's internal control over financial reporting as
                                                                                          of December    31,

                                                                                    Vigodman and
 2014,and concluded that its internal controls were effective, ancl that Defendants

                                                                         and procedures as of
 Desheh evaluate¿ the effectiveness of the Company's disolosure controls

                                                                                            effective'
 December       3l,   ZOl4, and concluded that its clisclosure controls and procedures were

                                                                           Forrn 20-F reportecl
 Vigodman and Desheh also signed the consoli<lated balance sheet. The 2015

     yçy   increase in gcneric proht of $500 million, or 24Yo, attributed "primarily"
                                                                                      to "lower S&M
 a

  expenses an<l higher gross profit," which was "mainly a result              of higher revenues from new

                                                                             expenses and higher
  pro<lucts launched in the United States during 2015,lower other production

  gross profit from API sales to third parties."


                                                            63
Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 69 of 134




                                  64
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 70 of 134




       1tì0. I'he table below reflocts Teva's imptrovecl profits as reported in 2015


   Iìeportecl YOY Change in         gze6                                           d'?
                                                                                   ù/            $si6
   (ienerics Profit
                                                  $i93           $20


                                                                                      'l'eva's
       181.   On lrebruary 11, 2016, Vigochnan, I)esheh, and Olafsson participated in

4Q15 ancl IrY2015 earnings call. On the same call, Olafsson stated:

       2015 was a very good year for Teva (ìenerics. Thanks to our strong perl'ormance
       of the base business and good new products launches, we delivered great results
       in the tJS ald in major markets globally. We continued improving the operating
       profit of the generio business, ooming fìorn $1.68 billion operating proht in 2013,
       or \7o/o of revenue, to $12.68 billion opelating profit in 2015, oL- 28o/o of revenue'
       This is $ 1 billion improvement in operating profit over 24 months period'

       So how did we {o this? Not by pricing but by portfolio tnix, new products, and
       efficiency measures,

        IBZ. During the February ll,        2016 earnings conference call, Olafsson made the

following statements regarding pricing in the generic segment:

        Briefly, on pricing. As I've previously stated, we and the generic industry overall
        don't see piice iriflation of generics as it sometimes is portrayed in the media' On
        the contrary, for 2015, we saw mirl-single-cligit price decline for the ovcrall
        business.

        In the U.S., our largest market, we Saw approximately    4o/o   price erosion' ' '   '



        Looking forwarcl, the conjunction of price erosion with the mix changes, focus on
        cost structure, and the new procluct launches, we continue to drive our busincss
        growth, both top line and bottom line. We expeot to see the same in 2016'
        Ñothing today põintr to a significant change in the generic pricing environment.

        183.    On the same call, a Guggenheim Securities, LLC analyst asked Olafsson about

 pricing pressures cliscussecl by feva's oompetitors during the quarter. In response, Olafsson

 denied that there was any pricing pressure:

        As I rnentioned in the beginning, we didn't see anything change in foulth quartel.
        We saw approximately 4o/o pricing pressure or price decline in the IIS business
        over 2015 liat over the year. Sorne of our competitors have seen more pressure. I



                                                  65
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 71 of 134




                                                                        ilillèrences' Ilut also l
          think ovcrall, it might have to clo with some dosage lbrm
          tlrir.rkwehavebeenrightirradjustingtlrcbtlsiness'

          lB4..I.helnvestorSliclespresented<lurirrgtlreIìebruaryll,20l6carningsconference
                                                                "I)o not see the inlìationary
call contained the lbllowing statemcnts attributed to olafsson:
                                                                                                     have
pricing discussed in the rnecliaf.] Also   clo   not see the sharp ilrop in prioes other oompetitors

                                                                 2016 to maintain the currcnt
seen   recentlyf.] Mid-single digit increases in 2015['] Iìxpect

trend."

           lS5..flrestatemcntssetforthinlllllTs-s4abovcweremateliallyfalsean<lmisleading
                                              statements (i) touting the purported success
                                                                                           of their
ancr/or omitted materiar facts. Defendants,

generics business an<l (ii) denying any knowle<lge
                                                   of price inflation, had the effect of concealing'

                                                         reported Í'tnancial results and success in
 and/or failed to <lisclose,that,in truth, the Company's
                                                        were driven primarily by its unclisclosed
 the generic drug market, inoluding improve<l revenues,

                                                  on its own or in tanclem with other manufacturers
 strategy to take massive price inoreases, either

 whomitpurportedlycompetedwith.Infact,fromFYl3throughFYl5'l'evageneratedmorethan
                                             Moteover, during F'Yi5 Teva generated more
                                                                                        than
 $1.6 billion through price increases alone.
                                                                YOY increase in inflated revenues of
 $ì747    million through price increases alone, representing a

                                          20% of the reported     YoY    change   in   generics   proht'   This
  more than     fi9l million, or nearly
  strategy was inherently unsustainable in tight
                                                 of, among other things' inclustry' regulatory and

                                                    generic drugs, and the inevitable clearing of the
  governmental sorutiny surrouncling the pricing of

                                                         effect of introducing new competitors in the
  ANDA backlog at the F.DA, which wourd have the
                                                          of Teva's fevenue growth and the subject of
  market. I,Iaving put into play the issue of the source
                                                       hacl a cluty to disclose Teva's price increase
  competition in the generic drug markets, I)efendants

   strategy and the true source of its revenues




                                                         66
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 72 of 134




       1g6. In the 2015 20-lì frled on lìebruary 11,2016,'feva describod the "intense
competition" the Company facecl       in the lJ'S.    generio market an<l   its "competitive pricing

strategy," as well as its "compctitive advantages":
                                                                              genoric drug
       In the United States, we afe subjeot to intense competition in thc
                                                                               brand- name
       market fiom clomestic and international generic drug manufactyre.rs'
                                                                                 authorized
       pharmaceutioal companies through lifecycle management initiatives'
                                                                                     sirnilar
       generics, existing brancl ecluivalJnts and manufacturers of therapeutically
                                                                                    product
       drugs. Price oompetition from aclditional generic versions of the
                                                                              same
                                                                       primary competitive
       typically results in margin pressures. We believe that our
        advantages aÍo our ability to continually introduce
                                                                new a¡d complex generio
                                                                     basis, our quality' our
        equivalents for brand-name clrug proclucts on a timely
                                                                      We believe we have a
        custorner service ancl the breadtþ"oi our procluct portfolio'
        focused and competitive prioing strategy'
                 .I.he
                         2015 Form 20-F also described the "intcnse compctition
                                                                                in the generic
        1g7.
                                                            Generic Medicines segment:
 market" ancl the primary factors clriving growth in Teva's

                    generic medicines have benefitteci from increasing awareness
                                                                                          an<l
         Sales   of
         acoeptanoe on the part of healthcare insurers
                                                             and institutions' consumers'
         physicians and pharmacists globally' . . .
                                                    'fhese conclitions also result in intense
                                                                             competing lor
         competition in the generic market, with generic companies
                                                                       customer.service and
         advantage based on pricing, time to market, reputation,
                                                                     together with an aging
         breadth of produot line. we believe that these factors,
                                                                       economic pressure on
         population,^un in"r"use in global spending on,healthcare'
         governments to provi<le less                             solutions' legislative and
                                        "*p"nriu""healthcare power to payors' will lead to
         regulatory reforms and a shifl of äecision-making
         continuecl expansion in the global generic market,
                                                                      as well as increased
          comPetition in this market'

                  The same Iìorm 20-Iì also <lescribed the following
                                                                     Iìisk Faotor:
          188,
                                                                         drugs typically
          our generic drugs face intense competition. Prices of generic pharmaceutical
                                                                 genoric
          decline, oflen <lramatically, "sp.ciålly as additional
                                                                based in China andIndia)
          companies (inclu<ling low-cost'generic producers
                                                                    procluct and competition
          receive approvals and enter the market for a given
                                                                      and profitability on any
          intensifies. consequently, our ability to sustain our sales
                                                                      companies selling such
          given proáuct over time ls affected by the number of new
          produôt and the timing of their approvals'




                                                      67
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 73 of 134




        189.      During the lìebruary 11, 2016 carnings oonlèrence call, a Suscluehanna ì:ìinancial

Gror"rp analyst also asked Olalsson about the Company's relationships           with customers   ancl what


irnpact the Actavis deal was having on pricing. Olal'sson respondecl:

        We will pricle ourselves of the servioc level of tlie high cluality of'the produot.
        But at the end of the day, there is a 1ìerce competition in the market. Over 200
        gencric companies, ancl really there is no bundling or anything like that, that can
        go on in the market. So overall, same as without the deal. llut we see the
        opportunity going lòrward based on the huge pipeline that we have.

         190.     During the same call, Olafsson also stated that the lJ.S. generics business had

been "stable over the year" and "ftlhele is a lot of competition in the [JS, thore is no cluestion

about   it.    As you well know, there are over 200 generic compctitors in the market and              the

oompetition is lìerce." Olafsson claimed Teva's competitive advantage was having "the largest

fdrug] pipeline" and "an extremely good supply chain."

         191,     'fhe statements set forth in TT 186-90 above were materially false and rnisleading

and/or omitted material facts because 'I'eva was not facing "intense competition," "'à              lot of

competition in the     I--1S," oL   operating in a competitive environtnent. Nor was 'l'eva working to

oombat the purported el1èots of cornpetition, which resulted in "margin pressures," through a

"competitive pricing strategy."           In truth, Teva's   undisclosed and inherently unsustainable

strategy      to take massive short term price       increascs clepended   in   large part on a lack of

competition. In fact, during the Relevant Period, Teva increased the prices of rnultiple drugs,

many of which were done in tandem with its purported competitors. Seø             ll1lll-94.
                   16.    March 8,2016

         I92,      On March 8, 2016, during a Cowen          &   Company llealthcare Confèrence call,

Olafsson stated:

         So we came out in our fourth quarter results, and told the market that we had seen
         approximately 4o/o price decline in the US market in2015. . . '



                                                      68
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 74 of 134




                                                                       'fhere was a lot of tallt
     I tlrink overull      tlte pricing hctsrt't chønged thal ntuch' 'I'hat
                                                    Je nevef saw that'       was an inclividual
      ¿rbout irrfìation in generic pr:icing. IJut
                                   ,rs.o exa:mplc of procluots that really wetc not
                                                                                        generic
      moleeule basis, tt
      products,
                                "y
                           tt uu[n it,.y **r* ofiapatent, and in an environment
                                                                                  where there
                                                        it-te gencric business' And there
                   ".,r.r,                                                                  has
      was an inflation never really happened in
      been a deeline there. .'  .




                                                              in 2015' As of today' I don't
      so as of today, I came out with 4o/ofpr\ceerosionl
                                                          Itis re latively stable' 4o/o ts worse
      see any big changer ìir 1f.L p'icing "nïiron,,'.nt.
      than maybe two y;; ugo.
                                     gutlt's similar to what we saw in2014.llut <lverall'
      these are the three tftitgíift"t afTect the
                                                  prioe' And t¡ere's nothing on the horizon
      that shoulcl affect the pricing as of today'
                                                       also discusserl
                                                                            'leva's profitability in its
       193     Durir-rg the same conferenoe, olaf'sson

gcneric scgment
                                                          to'2015, we grew the operattng
       In terms of growing the profitability, fìom 2013                               year of
                                                         ancl we exitecl for the full
       profit of the generic business1 "^ il'lrin 2013,
                                                    1,100 basis points we improved the
       2015 we were at 28.1%. So iit about
       profitabilityonappfoximately$l0billioninrevenue.Soitwasasignificant
                                                    of that was clue to the improvement in
        improvementover à 24-month period' Part
        our oost of goods sold, very important
                                                in consolidation of plants and looking for
                                                                      selection and the cost
        the money   there. But also part of it was clue to portfolio
        infrastructure.

         lg4.ThestatementssetforthinTlIlg2-g3aboveweremateriallyfalseandmisleacling
                                                                                     and/or failed to
                                            statements had the effect of concealing,
 and/or omittecr material facts. orafison's

                                         reported ltnancial results an<l success
                                                                                 in the generic drug
 disclose, that, in truth, the Company's
                                                                               strategy to take
                                      wore driven primarily by its undisclosed
 market, including improved revenues,
                                                       in   tandem with other manufacturers
                                                                                            whom it
 massive price increases, either on its
                                        own or

                                                FYl3 through FYl5       T'eva generated more than $1'6
 purporte<lly oompeteil with. In fact, from

                 price increases alone. 'fhis strategy was inherently unsustainable in light of'
 biltion through
                                                                                      pricing of
                                            andgovernmental scrutiny surrounding the
  among other things, in<lustry, regulatory
                                                                               which would have
  generic chugs, and the inevitable clearing
                                             of the ANDA backlog at the FDA'

  the effect of introducing new competitors
                                              i' the market. Having put into play the issue of the
                                       the subject          of competition in the generic drug markets,
  souroe of reva,s revenue growth ancl


                                                      69
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 75 of 134




                                              price increasc strategy ancl the tr"uc sourcc
                                                                                                  of    its
Defencla'ts hacl a cl'ty to clisclose l'eva's

revenues

                    X7.    MaY 9, 20Ï"(r
                                                             6-K witlr thc SI,]C, whiclr was sigrred
        195.        On May g,2(\16,Teva lilc<i its 1Q16ììorm
                                                                                       1Q16 lìorm
                                              the consolicla1,e<l balance sheet in the
by Deslreh' Vigo<iman and Dcsheh both signecl

6-i(.Inthe1Q16lìorm6-K,'fevareportedaYOYcleclineingenericprofìtof$215million'or

 27o/o, altrtbuted   "primarilY" to:

           [Llowergrossprofltt,aswellashigherR&Dcxpensos,,,whilelowergrossproltt
                                                  high gross proht proclucts in the United
           was "mainly a result of lower sulã. of
           States, higher production expenses and
                                                    lower gross profit in our liuropeau
           markets.

         196.onMayg,2ol6,Vigoclman,Deshelr,andOlafssonparticipatedinTeva's1Ql6
                                             orafsson explainecr away the crecri'e
                                                                                   in generic profit
 earnings conf-erence call. During the cail,

                                       than pricing:
  margin by blaming it on issues other
                                                                  pfolìt declinecl by 360 basis
           when compared to lìrs1 quarter 2015,the operating
                                                           of gËneric Ne¡i1m, esomeprazole'
           points, fully explained by the å.J*ií" launch
                                                                    period of esomeprazole in
           in the hrst quarter 201[51. E;;ì;ilg the exclusiiity
           lrrstquarler,theprolttmarginofthegeneriosegmentwas24'4o/o'
                                                                           May 9' 2016 earnings call:
             lg7.                   olafsson also discussed prioing on the
                      During the call,

            Theglobalgenericdr.ugmarketlrasnoshortageofmanufacturerssupplyingvital
                                                                     As you know' in
                                                arouncl the world
            medicines to patients in the üs un¿                   industry patticipants
                                                         season, several
            February, during the fourlh-q*r,", reporting
            referenceclatougherpricingenvironmentthanwhatthe,yhave^experiencedin
                                                            in their respective generic businesses'
            previous yeat's, as a reason fo, tt"r* ,ortness
            Now,wefast-forwardtoAprilanclMay,toanewreportingSeas0n.an<lwefìnd      or price deflation
                                                            pricing
            the number of companies "itinfaltùú;t                    "nni'ont''tnt
                                                                    'Ihe
                                                  incrã¿iUté rate'       refcrencing of generic drug
             seems to have gfown at an almãst
             pricedeflation-hasnotbeenlimitedtolhemanufacturers'butisalsobeingoited
                                                       side' leaving many to wonder about
             by those on the purchasing *J áituiUution
             what is the real opportunity in generics'

             Asalways,Iwill<lomybesttoprovideyouwithasmuchcoloraspossibleon
             whatl.evaisexperiencing'inregardsto.prioinganilvolume;andmole
                                               'Ihroughôut the ongoing debate this year
             importantly, where we a'e i"uã*¿.


                                                         70
    Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 76 of 134




                                                                States, 'feva has been very
    about tl're lcvcl of generic prico erosion in the ljnited
                                           'l'eva has not seen any lundamental change or
    oonsistent ancl clear with investors.
                                                                havc been consistent about
    worscning in the prir:ing environment - something we
                                  'feva expericnced.appioximately 4o/o price erosion in
    telling investors all ycar.
    the tjnited States lasiy"ar, and clur guiclanoe t¡i
                                                          tnis year is that it will rem¿rin the
                                                                             with broad and
    same. In Iàct, Allergan, and Mllan, two other companios sirnilar trends'
                                                          have also reported
    cliversiliecl portfolios and high quulity pio<luct's,
     Iìrom where I sit today, ti"ré ir n,rthing that changes
                                                                       my rnind about that'
                                                                        ohangcd the prieing
    Nothing has happened in the last two cl"uarters th-at has
    environment. V/hat       this boils <lown to is each individual company's business
    model. . .   .




     198.      During the same call, Olalison statecl:

                'l'eva cliffèrent? why is our performance better than most generic
     l_w]hv is
                                                     to say, there is pricing pressure
     companies? why are other oornpanies eontinuing
     gr"ui", than what we at'feva are seeing'/

                            first, the companies with older portfolio seemed
                                                                                to complain
     I   see three reasons:
     much more loudly. What i mean by that is, that
                                                             if you look. carefully at some
                                                       y-ou that the pricing environment is
     companies with older portfolios, they will teli
                                                                 purely a reflection of their
     worsening. Ilut this is not un "nvironment. This is
                                                      oue, or very few' therapeutic classes
     portlblios, sorne of which are concentrated in 'fhis
                                                            takes me to the second factor'
     that are experienoing normal competition.
                                                          have new pro<luct launohes' and
     new procluct launchðs. V/hen .o.puni", don't
                                                            the market more than anything
     the business is declining, they tend to talk about
                                                          but rather again' a reflection on a
      else. 'fhis is not a reflection of the environment,
      companY's Portfolio'
                                                                              share' some
                           is companies that are trying to grow their market
         The third f'actor^"ä*t*i".
                                     i" going aft"i mátket share for a  variety of reasons'
         companies
                     "*
         including to utilize excess cupa"itf *ith relatively
                                                              cheap volume' But in order to
                                                              new markct share in price will
         do that, you,ll have to drive ãown price. Buyi'g
                                                           hand, are seeing our volumes go
         cost you on the bottom line. we, àn the other
         down,<leliberately,net-netapproxirnateirylYoaye,àr,becausewethinkthatis
                                                        reduce capacity, than hll.it with less
         better f'or our business, and we would tuth"l"
         profitable prnJn"rr. So if you look at this slide,
                                                            you'll seo that over the past few
         years'w"di,continueclT0products.Atthesametime,weintroduced63new
         ones in the tJS.
                                                                                       supposed reasons
          Ig9. l)uring the May g,2016 earnings call, olafsson also offered the
                                                  over several years, ancl thus was differently
why Teva,s generics division had achieved success
                                                          increased pricing pressufe:
positioned compared to its competitors who were reporting




                                                    7l
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 77 of 134




                                                                        business' soliilify our
        Wc have taken a signifÌcant step to transform our generic
        four-rclation, increasã our profiiability, and to better
                                                                     positio¡ us to generate
                                              'l'he'se many steps havc included portfoli<r
        sustainable long-term grówth.
        optimization, strengthening otlï capabilitie's" in I{&D,
                                                                      and manulàcturing of
                                                                               on lìrst-to-f'lles'
        complex proclucts, regaining a leacl'ing position in subn'rission
                                                                       capabilities' and much'
        enhancing orr;' ;o-to-;arketlanct ,al"s l'o.". ef'lectiveness
                       'fhese are the very capabilities that companies must posscss in <lrder
        much more.
                                                                   and diffcrentiated platform'
         to thrive at the global level. we havo created a uniclue
                                                                growing generio space'
         positionccl to exiract signilìcant value in the global
                                                                        the May 9,2016 earnings
         200,   The lnvestor Slides that the Company presentecl cluring

                                                   attributecl to olafsson: "what has changecl in
confcrence call contained the following statement,

                                                    The short answer is...nothing. we still expect
                                                                                                     4o/o
the   us prioing environment since e4 20i5?
                                                            contained the statement: "-fhere is no
price erosion on our portfòri<1.,, The Investor srides also

change in the pricing environment       f   .l it all comes down to each company's busincss model ' '       '



                                                                  Portfolio optimization
why is 'l'eva generics performance better than most Gx companies?
                                                                                                      ''''




[and'l [n]ew Product[1."

          20|'.I.hestatementssetforthin¡JI195-200aboveweremateriallyfalseandmisleading
                                                        had the efrect of concealing, and/or failed
 andlor omittecr material facts. Defendants' statements
                                                                resurts, i'crucring the YoY decli'e in
 to criscrose, that, in truth, the company's reported rrnancial
                                                                    of 'leva's undisclosed strategy to
 generic prohts, were driven primarily by the unsustainability

 take massive price increases, either on its own or
                                                    in tandem with other manufacturers whom it

                                                         unsustainable in light of' among other
 purportedly competed with. This strategy was inherently
                                                          surrounding the pricing of generic drugs'
 things, inclustry, regulatory ancl governmental scrutiny
                                                 at the FDA' which would have the effect of
 and the inevitable clearing of the ANDA backlog

  introducing ne\ry competitors in the market' In fact'
                                                        by this time' the risk from l)efendants'

  un<lisclosed strategy had begun to materialize.
                                                  while Teva generated more than $541 million

                                                      represented a decline of more than $200
                                                                                              million'
  througrr price increases cluring rìy16, that rrgure
                                                                                   'feva by May 2016,
                                                        would have bcen known to
  or nearly 30%o, fiorn FYl5. Much of this decline

                                                        72
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 78 of 134




I-laving put into play the issue of the source
                                                 of 'feva's fevenue growth and th(j subiect of
                                                                               'r'eva's pricc i'oreaso
                                                      ha<l a duty to cfiscrose
competition in the generic <lrug markets, Defendants

strategy and the source of its revenue

                     18"       MaY 10,20L6
                                                                         l'ynch Ilealthoare cotrference
         202. on May             10, 2016, on a llank of America Merrill
                                                                                           in
                                             rrnanciar results and the prioing environment
cail, olarìsson discussed the company,s 1Q16

 the generics market:

         I mentioned on that call, and want to reemphasizt
                                                             ht::' tltî: t:.:1lt:91,31:
         seen which rrro*r u worsening pricing
                                                 environment' we saw a pfloe eloslon ln
                                                 We guidecl the market that we would
                                                                                      see
         the US last year of approxim ut"ty i;iÏ                                    I
         the same pricing of approximately ¿.nut.i
                                                       ol 4Yo in 2016. And where sit
         toclaY, there is no change to that'
                                                                  and in the specialty space,
         I know many of the competitors in the generic lpu:",
         are talking about a lot of pricing
                                             pt.ttui", but.ii shouldn't be' There is nothing
                                                         which has changecl fundamental the
         that has happene<l over thô furt tt io i"urtá,,                          company's
                                                        environment on individual
          market. And I feel that we aÍe blaming the                           have tl-re right
                                                e'.Íse becaut"*1't long as you
          business model more than anything
          portfolio, yo,rrruu. had the ,ight iäuestment
                                                          in R&D, you really have a strong
             opPortunitY.

             203.      During the oall, Olafsson also stated:
                                                                                                    230
             you have to keep in mind that in the tJS generic space there's approximately
                          ;r*o hundrecl an<l thirty generic companies in the us thal                 are
             competitorr.
             olîeringproducts.Sot]recornpetitio''i't'"uuy.Soifyoushowthatyougrow
                                                        cost you on pricing'
             3olo,   let,s   say 3o/ovolume yeal-on-year, that
                                                                    will

                                                       why I'm highlighting that in Teva world'
             There,s no question about it. so that's
                                                         the volume tõ maintain the pricing'
                                                                                               So
             we assume approximat ely lo/o decline in                                         this
                                                      in the neighborhoo<l' and I don't think
             it,s not that we are the only good hour"
                                                        neighboihoo<l. It's unique' To maintain
             is a bad neighborhood, I think ir;r ;;;J
             your business you need to tfrint aUoît the
                                                          future' And I think that's at the end of
             the elaY what differentiates us'
                                                                   were materially lalse and misleading
               204. 'fhe statements set fordr in llll 202-03 above
                                                    statement that nothing had changecl
                                                                                          in the pricing
    and/or omitted material facts. orafsson,s
                                   .feva
                                           operated had the effect of concearing,
                                                                                  an./or railed to disclose, that'
    environment in which


                                                               t)
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 79 of 134




in truth, the Company's reported fìnancial results were driven prirnarily by its       unclisclosed

strategy to take massive pricc increases, cither on its owrì or in tandem with othcr manufàoturcrs

whom   it   purportedly competed   with. 'l'his strategy was inherently unsustainable in light   ol,

among other things, industry, re¡¡ulatory and governmental scrutiny surrounding the pricing of

generic drugs, ancl the inevitable cloaring of tho ANDA backlog at the IìDA, which would have

the elfect ol introducing new competitors in the market. In fact, by this time, the risk fiom

Defendants' undisclosed stlategy had begun to materialize. While 'feva generated more than

$541 millionthroughpriceincreasesduringlìYl6,thatfigurercpresentedadeclineof             morethan

$200 million, or nearly 30%o, from   FYl5.     Much of this decline would have been known to 'I'eva

by May 2016. Flaving put into play the issue ol'the source of 'leva's revenue growth and the

subject of oompetition in the generic drug markets, Defendants had a duty to disclose Teva's

price increase strategy and the true source ol its revenucs.

                  19.   .Iunc 3 an<l 8, 2016

        205.      On June 3,2016, during a Sanford C. Bernstein Strategic Decisions Conference

call, Vigodman made the following statement regarding prioing:

        lW]e are very consistent. Our message was conveyecl, and we will continue to
        convey. What we see is a 4%o Io 5o/o erosion. 'Ihat's what we see. That's not
        something which is different from what we said during 2015. By the way, we
        continue saying it in 2016. I think our results in Q1 demonstrated that. And with
        basically our operating profits towards one of the (inaudible) in our history on
        kind of a naked basis, so generic business in the US without launches. So, in this
        respect, we are very continuing with our messages, and that's what we continue
        seeing.

        206.      During a June 8, 2016 Goldman Sachs I'Iealthcare Conference call, Olafsson

again discussed pricing:

        V/hen we signed that fActavis] deal in .Iuly, we talked about 4o/o price erosion tn
        the US generic business. And we are still talking about the same number, what
        we see in the base business. And we can talk about that later, how we look at it
        versus others. But really the lunclamental -- so what has changed in the rnarket is


                                                    74
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 80 of 134




                                                           Mylan and us' has been
      that currently the multiples for generic companies,
                                             companies in the market partly' <lue
                                                                                   to
      clraggecl clown, I think, due to other
                                                        were macle in I'errigo and
      valcant, due to l.lndo, due to commenti that            the whole inclustry'
                                                      has affeoted
       Mallinokrodt about the generic business, whieh

       20l.].hestatementssetfortlrinIll205-06abovcweremateriallylalseandmisleading
                                         statements that notrring lia<l cha'ged
                                                                                in the pricing
an./or omitted matcriar facts. r)efendants'
                       ,reva                                          ancr/or failea to clisclose, that,
environment in which           operated had the effect of concearing,

                                                   were           clriven primar:ily   by its undisclosed
in truth, the compa.y's reported ltnancial results
strategytotakemassiveprioeincreases,eitheronitsownorintandetrrwithothermanufacturers
                                         ,flris strategy was inherently unsustainable in liglrt of,
whonr it purportedly competed with.
                                                                                   the pricing of
                                            and governmental scrutiny surrounding
alnong other thilgs, in<lustry, regulatory

 genericclrugs,andtheinevitableclearingoftheANDAbaclrlogaltlreFDA,whichwouldhave
                                               the market' In fact' by this time' the
                                                                                      risk from
 the effect of introducing new competitors in
                                                                     Teva generated more than
 Defendants, unclisclose<l strategy had begun to materialize' while

 $54lmillionthroughpriceincreasesduringFYl6,thatlrgurerepresentecla<leclineofmorethan
                                                                            have been known to Teva
 $200 rnillion, or nearly   300/o,   from Fy15. Much of this decrine woulcr
                                                                                  growth and the
          2016. Ilaving put  into play the  issue of the source of Teva's revenue
 by June
                                        clrug markets, Defendants had a duty
                                                                               to disclose Teva,s
 subject of competition in the generic
                                               of its revenues'
  price increase strategy ancl the true source

                  20.       .IulY 13,2016

          208'InaJuly13,20|6calltoannouncetheaccelerationof'leva,sdebtoffering,
                                                                                       ..[C|an you comment
                                              of July, a Citigroup analyst asked:
  including the Notes O11.ering, to the errcl
                                                                                              on that'
                                            you have baked into your f-oreoast? Foilowing
   on the generics pricing assumptions that
                                                                                                   that
                                                   genelics pricing environment' more broadly'
   siggi, maybe you could just oomment on the
                                                                                        .feva
                                                               olafsson  indicated that       trad still
                                                  In fesponse,
   you afe currently seeing in the marketplace.,,



                                                       75
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 81 of 134




not seen any ohange in the pricing environment, and that tl'ris stable pricing was baked into the

assumptions undcrlying'l'eva's guidance and projeotions

       Our assurnption and what wc assume is basically approximatcly           5o/o organlc
       growth that we see year on year..   ..



       In terms of generic prioing in the seconcl quarter, we saw no change in the pricing.
       We saw a stable environment, as we talked about, from lìrst quarter into second
       quarter, Obviously, in second quarter, as we have highlighted to investors, there
       was no significant new launches that we saw in 'leva, whioh obviously impaots
       the overall generic numbers. The prioing has remained stable '. ' '

                                                 *>t<*



       Our assumption for the rest ol'the year is basioally assuming the same prioing
       erosion. It is difficult to say; but as I'm sitting here today, with the inlormation I
       have in hand, we are assuming and now forecasting for the guidance for the
       remainder of the yeaï same pricing assumption as we have had for the first half of
        the year.

        20g.     The statements set forth in 1l 20tt above were tnaterially false ancl rnisleading

and/or onitted material facts. Olafsson's statement that nothing had changed in the pricing

environment in which Teva operated had the eflèct of concealing, and/or failed to disolose, that,

in truth, the Company's reported fînancial results were driven primarily by its          undisclosed

strategy to take massive price increases, either on its own or in tandem with olher manufacturers

whom    it   purportedly competed   with, This   strategy was inherently unsustainable   in light of,

 among other things, in<lustry, regulatory ancl governmental scrutiny surrounding the pricing of

 generic drugs, and the inevitable clearing of the ANDA backlog at the FDA, which would have

 the effect of introducing new competitors in the market. In fact, by this time, the risk from
                                                                  'feva generated more than
 Defendants' undisclosed strategy had begun to materialize. While

 fì541 million through price increases during IìY 16, that figure represented a decline of more than

 $200 million, or nearly 300/0, from FY15, Muoh of this decline would have been known to'l'eva

 by July 2016. llaving put into play the issue o1'the source o1''leva's revenue growth and the



                                                   t6
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 82 of 134




                                        drug rnarkets, De'endants had a clr'rty
                                                                                to disclose'l'eva's
subject of cor-npetitio' in the generic

prioc increase strategy and the true source
                                            ol'its revenues'

                21.    August 4,20X6
                                                        with        the sBc on Iìorm 6-K and signed
         210. on August 4,2016,in a press lelease fìlcd
                                                             'fhat same day,'r'eva also file<l with the
by Deshe', Teva announccd its        2er6 financiar resurts.
                                                                             the consolidated
                                           vigoclman and r)esheh both signed
 sBC its 2e16 Iìorm 6-K, signea by Desheh.
                                                                           a YOY decline in
         sheet in the 2Q16  lìorm 6-K' The Company's 2Q16 6-K reported
 balance

 genericpr.ofirtof$115million,or16,)/o,attributed..primarily',to:
                                                     ..mainly a result of loss of exolusivity
        ..[i-lower gross profit,,, which in turn was
                                                                  on other products in the
        on certain products as well as increased "ompeiition
                                                  expenses" '"
        tJnited Statäs " ' and higher production

        2Il,onAugusl4,20ì6,Vigodman,Desheh,andolafssonparticipatedin.leva,S
                                                                       performance of the
                conference ca'. on the ca', Desheh attribute. the poor
  2e16 earnings
                                                                            its long undisclosed
            generic segment to factors other than its inability to maintain
  Company,s

  price increases:

          RevenuesofourUSgenericsbusinesswasirnpacte<lbycompetitiontoour
                                           whióh werethe major drivers of
                                                                          our
          Aripiprazole, Esomep razol.e,r"dï;;;;nide
                                                   quarter last year'
          g;n"rì" business in the US in the second
                                                       question about "pricing stability"
                                                                                          in light of
            212, on    the same call, in response to a
                                                                                      stated:
          U.S, generic revenues coming in"a little lower than expectations"' Olafsson
   Teva'S

           Ithinlc,firstofall,it,stheoldstoryinthegenericbusiness,andwelravetalked              tliat
                  it many times.  It's the *to,t-t"'À volatîlity' but a long-term profitability
           about
                                                      I rhink on the us side, clearlv the impact
           we are ,.";Ë äü;;#;'ilrin.rr.
           we highlighte<l, the impac| of having               a competition on 'Aripiprazole'
                                                 was veïy, very signilicant' I think
                                                                                        overall' the
            Esomeprazóle, and tsudesonido
            underlying business clid well' ' ' '

            Intermsofthepricing,thepricingisstable.g.l"samedegreeasbef.ore'Wesaw
                                                    in the business, in a way very stable
            approximately in the uS, 4%';;å;"rorion
            fiom the first quarter



                                                        17
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 83 of 134




         2l3,I,aterinthocall,olafssonreitcratecltlrat..tlveralltlrebusinessitscll.is|airly
                                                                      prioe erosio'" " 40lo price
                                      we are seeing exaotly rhe 4')/o
             I mentionecr ìn the beginning,
stabrc. As

orosion in the IJS."
                                                                                                   thc
                                       a J.P. Morgan analyst aske<l
                                                                    about "price opportunities" on
        214      on the same call,
                                          In response, Olafsson stated
combinecl'l'eva-Actavis generic portfolio

         onthepricing,asyouknow,an<lweknowthat,tlresizereallycloesn,taffecttire
         pricing. ¡.nd-i nuu" u strong r¿årirg    ;h:. you have over 200 competitors'insize
                                              -tfünk                                      the
                                            t        the pricing comes with shortages
         has nothing to do about pri"ir-,g.                                                 in
                                              proj;"r, if thereis somo kind of dysfunction
         market, lf you  have an
                                 "*rturiu"                          that usually comes in and
         the market, there might be a smali pricing opportunity
                                                                            company docsn't play into
         comes out. Ilut overall, the size,;;iñ;
                                                             o
                                                                 "o*bir"á
                                           that'
         that. I feel quite strongly about
                                                                                     false and rnisleading
                    The statements set forth in    îî   210-14 above were materially
             2I5.
                                                                                             factors for the decline
                   material    facts.   Defen<lants'      statements (i) citing non-price
  and/or omitte<'
                                                                                                       in which Teva
                         an<l   (ii)  that nothing     had changed in the pricing environment
  in generic   revenue,

                                                      ancl/or failed to disclose' that'
                                                                                          i'truth' the company's
  operated   ha<l the  effect    of   concealing,
                                                                                                          primarily by
                                   including     the  yoy    decline  in gencrio prohts, werc <lriven
   reported finanoial results,
                                                             increases, either on its o*'l
                                                                                             or in landem with other
                                to  take   massive     price
   its undisclosed strategy
                                                               with.   'fhis strategy was inherently unsustainable
                             it  purportedry       competed
    manufacturers whom
                                                          regulatory and governmental
                                                                                            scrutiny surrouncling the
                          other    things,   inclustry,
    in light of, arnong
                                                                                                   at the IìI)A' which
                          drugs,     and  the   inevitable    ciearing of the ANDA backlog
    pricing of generic
                                                                                                fact' by this time' the
                                of   intro¿ucing      new   competito's in the market' In
     woulcl have the   eff.ect
                                                                                         while Teva generated more
                Defendants,     undisclosed       strategy had begun to materialize.
     risk from
                                                                                                                of more
                                                                                rrgure represented a decline
                 miilio*  through      price  increases eluring Fyl6, that
     than $541

    than$200million,ornearly30To,fromFYl5.Muchofthisdeolinewouldhavebeenknownto
                                                                            'l'eva's revenue growth
                                                           of the source of
    'feva by August 2016. Ilaving put into play the issue
                                                                                   a duty to disclose
                                    in the generic drug markets' Defen<lants had
     and the subject of competition

                                                             78
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 84 of 134




J'eva's price increase strategy ancl the true source       ol'its revcnues.        Moreover, Olafsson's

suggestior-r that   pricilg decisions were driven by organic market factors   -_   inclucling that "pricing

comes with shortages       in the rnarket" - was false and misleading in light of the Company's

undisclosed practice of irnplementing massive short term pricc increases to boost revenue.

         216. During the August 4, 2016 earnings conferenoe          call, Olafsson also stated that

"competition is fìerce" in the U.S. generics market and "[tlhere's no question about it."

         217. The statements        set lorth in 1I 216 above were materially false and misleading

anrl/or ornittecl material facts because Teva was not fàcing "fierce" competition, or operating in a

competitive environment, In truth, Teva's un<lisclosed and inherently unsustainable strategy to

take massive short term price increases depencled in large part on a lack of competition' In fact,

¿uring the Relevant Period, 'leva increasecl thc prices ol'multiple drugs, many of which were

done in tandem with its purported competitors. Se¿ IT 71-94'

                    22.    SePtember 7 and 91201'6

          Zlg.      On September 7,2016, <luring a Wells Fargo Securities Ilealthcare Conference

 call, Desheh stated:

         Now, with talking about prices of the base business, product that we've been
         selling more than two years already, the prices are very stable there' Might even
         go uiu little bit here ând there, clepending on demand and supply, and deman<l
         ãnd àvailability of competing produots in the markct, but you don't see_-- there
         you don't *"" ih" erosion. Where we See erosion is that you know, you have six
         months exclusivity, You start with the high price, and then obviously more
         competitors go intó the market and the price goes down. Ilut when we look at the
          base, there's no -- there's no pressure on prices'

          ZIg. ¡;1 September        9, 2016, during the Generic Medicines Business Overview call,

 Olafsson stated:

          There is no inflation in the generic pricing.




                                                     19
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 85 of 134




       So what is the secret sauce? lt's t-tot very complex, 'l'his has been the same
       winning formula I have talked about many, many times I{eally to bc top three in
       the market is so important.

                                                 +ô+


       I think what I want to highlight is thcrc will always be cycling of the pricing of
       generics. I have in rny cal'eer, 23 years, ncver seen a real inflation, I mentioned
       to some of you before, I have been in the market where price declines was
       approxirnately Iol> to 2o/o, probably 2o/o, and I've been in the market in 2006 and
       2007 when the price decline wasTo/o,8%. Aricl then it's everything in between.

       So far, what we saw in the end of second quarter was approximately 4o/o in the US
       and 5Yo global. So, there will be a fluctuation, and obviously, it will alfect every
       generic Company. But the message I want you to take fì'om this slide is with our
       business, with the size of our portfolio, with the flexibility of our manufacturing
       network, with the industry-leading position in the market, we are more shielded
       towards the prices up and down.

        220.      On the same call, Olafsson made the following staternent regarding industry talk

about price inflation: "so first of all, we neecl to differentiate generics fi'orn branded pricing. And

people that say that the generic-there's a big generic price inflation, are sirnply wrong."

        221.      Also during the September 9, 2016 call, a Goldman Sachs analyst noted there had

been speculation that 'Ieva was not raising prices during the approval process lbr the Actavis

<leal and asked   if the Company expected the "landscape in terms of pricing to change at all, now

that the deal is closed." Olafsson responded:

        So hrst of all, it cloesn't work like we wake up when we al'e one Company, and
        we can take price increases, Simply, it doesn't work like that in genedcs. lVhen
        price increuses øre taken, there's sonxe kind of abnormølity in the business.
        There are shortages.

        Remember that there's 208 generic companies out there that are offering product,
        and an average of every molecule we have, there is more than five competitors.
        So there's always somebocly happy to take a little bit lower price. So it's ã very
        com¡tefitive busíness we're itî. I think overall, obviously, we look at each
        opportunity, but we corìe back to what Andy said and he will say it better, is we
        have an opportunity to work with it, We have a broader portfolio now.




                                                   80
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 86 of 134



                                                                                   presented lnvestor
                               the september
                                             g,20l6   confèfenoo call' thc company
       222.     f)uring
                                                            'I'he srides contain the following
                                    in thc Generios market.
sriaes rcrated to pricing pfessures

statements attribute<i to
                          Olafsson:
                                                                       mal'ket share        will   destroy
        o    ,,Generic pricc erosion varies year-to-year" and "chasing
             value."
                                                                              specilic _- a br.ad rliversc
        o               Teva's advantages as: "Price ohallenges are pt'ocluct
             Listing
                                                 u,",á"î,räøiî*:, tftã          ;l Offcring dilferentiated
                                  rist<Ll Srrong                       1ãtft"tl
             portfolio mitigates ^r"ilp*i.i"rr;                competitive ðost positionf;]
                                                                                                  Industry
             products - ro*,ãi
                                                  ¿orjitity[;]                        which brings them
                      pipeline  I   oustàmers  want aocess to our new products
             leading
             value."

         ,    "Price erosion is nothing new'"

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              maximize tho value of thc
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                                                         value oreation'',
              competitiv;il;ture allows for long-term
             223'Thestatementssetforthin\\\\218-22aboveweremateriallyfàlsean<lmisleading
                                                                                        the clecline
                               Def.endants, statements
                                                       (i) citing non-price factors for
  ana/or omittecr material facts.
                                                           the pricing environment
                                                                                     in which reva
                                          had  changed  in
   in generic revenue, (ii) that nothing
                                                                            thç effect of concealing'
                               price infration in the generic business, had
   operated, ancl      (iii)
                     denying
                                                   company's reported hnancial results were driven
                               that, in truth, the
   ancl/or failed to disclose,

    primarilybyitsundisolose<lstrategytotakemassivepriceincreases,eitheronitsownorin
                                                                     'r'his         with'      strategy was
                                    whom               it   purportedly compete<l
    tandem with other manufacturers
                                                                               regulatory and  governmental
                                in  right  of, among other things, industry,
    inrrer.ently unsustainable
                                                                 and the inevitabre clearing
                                                                                              of the ANDA
                                  pricing   of  generic  clrugs,
     scrutiny surrounding the
                                                                                               in the market'
                                     would   have  the effect of introducing new eompetitors
     backrog at the FDA, which
                                                                                        begun to materialize'
                                         from  f)efendants'  unclisclosed strategy had
     rn fact, by this time, the   risk
                                                                                     during FY16' th't figure
                               more    than  g541 million through prioe increases
      white Tcva generated
                                                                            300/o, from FYl5' Much
                                                                                                       of this
                                   moro trran s200      m'rion,   or nearly
      represented a decline of

                                                              81
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 87 of 134




                                                                                                the issue       f
                                    'reva by september 20       1   6. I laving put into play               o

clcoline woulcl have been lcnown to
                                                                                             markets'
            .leva,s revenue growth a'¿ the subject o1'compctition in the generie drug
the source of
                                                              strategy a'cl tl're trr-re souroe of
                                                                                                    its
                        to disclosc.r.eva,s  ptioe increase
Delb'dants ha<l a duty
                                                                                       were clriven by
                     Desheh,s  ar.rd olafsson's suggestioris that pricing clcoisions
revenues. Moreover,

organicmarketlàctors-includingtlrat..pricesarcVcrystablethere'.'clependingondemand

 an<lsupply,,and..Whenpriceincreasesaretaken,there,ssomekin<lofabnormalityintlre
                                                                             practice of
             was false ancl misleading in light of the company's undisclosed
 business,,-
                                 prioe increases to boost revenuo'
 implementing massive short term
                                                                                                    misleading
                                                       above were also materially false
                                                                                             ar1d
         zz4.       The statements set forth in ll 221

                                   because Teva was not operating
                                                                    in a "very competitive business'"
 and/or omitted    materiar  facts
                                                                                   massive shoft term
            .r.eva,s un<liscrosed and inherentry unsustainable strategy to take
 In truth,
                                                                             fact' during the Relevant
                                         part on a lack of competition' In
 price increases depenclecl in large
                                                                                     in tandem with its
          'feva             the  prioes of multiple drugs' many of which werc done
  Period,        increase<l


  purported cornpetitors' See      II   71-94'

                     23'    November 15' 2016

             225,onNovember15,20l6,inapressreleaselìle<lwiththeSEConForm6-K,and

   signe<lbyDeslreh,.levareportedits3Ql6financialresults.Thatsameday,Tevalrledits3Ql6
                                                                                        consolidated
                                                             and Desheh both signed the
   Form 6_K with the       s'c,   signed by Desheh. vigodman
                                                                                also reported a YOY
                                            6-K'   The company's 3Q16 Þ-orm 6-K
   balance sheet in the 3Q16 ljorm
                                                                                                           from
                                       of $261 million,    or   25o/o,   attribute<l to increased revenues
    inorease in I.J.S' generic fevenue
                                                                           u.s' generic   revenues that quarter'
                                      Actavis, $53g million in
    Actavis. I{owever, after removing
                                                     business suffèred a
                                                                                yoy   decline   ols2i7 million'
    Teva,s   u.s.   generic revenues from its legacy
                                                                             Teva disclosed that those
               cliscussing the increased revenues that were ciue to Actavis,
    or 27o/o,n

    revenues were:

                                                          82
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 88 of 134




                                                        sales of briclesonide "' due
      |PIartiallyolßetbylossofrevenuesi.ollowingourdivestmentofcertaitrproducts      to
      in conneorion  with the aoquisi,i;;,'; tl""ri"Ji"
                                u,rd ihe lors át exclusivity
                                                             on esornepta'zole'
      increasecl
                   "";;;iiìi;
      226,.I.ova,S3Q16lìorm6.Kalsocontairrecltlrefollowingstatementrcgarclirrgtlre
                                                                                   "'r'eva is not
                              reoeiveil Iì.om  the DOJ  ancl tho connecticut AG:
subpoenas thc company hacl
                                                              the co'rpany with respeot to
                                                                                            these
                                give rise  to an exposure to
aware of any l.acts that wour<l

subpoenas."
                                                                                    in.leva,s
                             15, 20.6,Vigodman, l)eshelr, and olafsson participated
        227,     On November

3Ql6earningsconlerencecall.Duringtlrecall,aCreditSuisseanalystasked:

        [J]ustaroundyourcommentsyoumldearoundgenericdrugpricing,you                    it will still
        mentioned thatTo/oerosion this
                                            qiartel but yuu.'uia ]ot"'" confident provide a
                                                                           just maybe
        remain in the mid single-<tigits ;;**
                                                   i;t** lJ "u" yo"                investor focus'
                                                     an area.that therå's a lot of
        little bit more insight, there's "r,iiå"if v what's going to happen in thc comlng
        just what ;;;;ï'tn"         ,nnnã"nr. tr-rut
         quarters *ifiU" áifferent than
                                          what you saw this quarter?


 In resPonse, Olafsson stated:

                                                                                 saw in the
         Letmestartotlthedrugpricing,sogll3rlll,likepreviouslua'rtlrs,therchasrr,t
                                change  iñ'rr-," tJs drug priol"g' And what we
                                                          we guided for going into it'
         been any  funclamental                                                        velsus
         difference between the 5o/o",
                                       *i¿                                   product'
          exiting atlo/o,was the impact
                                       ;ïìh;'i"gle-digii
                                               pñring i*pu.iun thc clivosted
                                                                                      reiterated:
                        pressed on his explanation by a J'P. Morgan analyst, Olafsson
           228, When
   ,,where I sit here today, experiencing the market' there
                                                             hasn't again been any fundamental

   change."

         22g.AWellsFargoanalystalsoaskedolafssononthesameoallifhewassayingthat
                                                                                         of increased
                     in  the   price decreases      ' this past quarter aren't a result
   "the acceleration
                                                                                            give back
                                            of having  to tame previous price increases, or
   competition .    ancr . . . not a resurt

                                 Olafsson statecl:
    some of those?" In response'

                                                                         divest it' what
              No,basically,themainreason,David,wasthatwehadtodivestaverygood
                                             competiti-on, so we hacl-to
              portfolio of products   tl.rat   rr"ãïi-t"¿
                                               ;; t;ïh;tthereìs "";;;   ptuytt in the market that took
              our customers ilicl, as they

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        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 89 of 134




                                                                                                in our
                                      were   ,r;;i;;tìop       -- tl'," toþ tnolocttlcs wc liad
      ovorthosepÏodu'cts,anclthatbeoameapricing.pressuleonrouglrlyabout60
      nroleoules of. -- ancl these                      that happe""à' in the tnarket
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                               *as    an   inrtat itity
      portfolio. so    tr.,"r.                                            markct 1har1 ,'-: It didn't
      month of Augusr, when         tl-," ,r"*i#iått'î"t.ïiting           tt tnarkct' but we saw tl're
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      change the   stiórîctur" år:irr"                                 ít
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      impact      th;î;;*t"J      n',nr""..rr"-rîg,-,in"atrtly
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       ttre portfol,"'*ni.n"Lã""
       quarter'

       230'.rhestatementssetforthin\\1\225-2gabovewefemateriallyfalseandmisleading
                                                                        factors l'or the clecline
                                        statemerfs (i) oiting non-price
                        faots. Defenclants,
and/or omittea material
                                                                                     in which'feva
                        (ii) that nothing had cha'ged in the pricing environment
in generic revenue, and
                                                                                    the company's
                                          and/or fa'ed to disclose, that, in truth'
operatecl had the effect
                         of  concearing,
                                                                                  were driven primarily
                                                                                                        by
                            including     the yoy     decrine in generic prorrts'
repofied financial results,
                                                                                         tanclem with other
                                              price increases,  either on its own or in
                              take massive
 its undiscrosed strategy to
                                                                                              unsustainable
                         it purportecty    competed    with. This strategy was inherently
  manufacturers whom
                                                                                                          the
                                                 reguratory  and   governrnentar scrutiny surroun.ing
                                      industry,
  in liglit of, among other things,
                                                                                            the IIDA, whiclr
                                         inevitablo  clearing of  the ANDA backlog at
                                    the
  pricing of generic <lrugs, an<l
                                                                                        by thìs time' the risk
                                            new  competitors   in the market' In fäct,
                             introducing
   woul<l have the effect of
                                                      begun to materialize'
                                                                                While 'feva generated more
                                      strategy  had
   fiom Defenilants' undisclosed
                                                                               represented a decline
                                                                                                      of more
                                pr.ice increases  <luring Iìy16, that figure
   than $541 million through

   than$200million,ornearly30%o,fromFYl5.Muchofthisdeclinewoul<lhavebeenknownto                growth
                                               play the issue of the source of reva's revonue
                                      put into
         by November 2016. I{aving
   ,feva
                                                                   Defendants had a duty
                                                                                           to disclose
                                   in the generic  drug  markets,
    and the subject of competition

    Teva,spriceincreasestrategyandthetruesoulceofitsrevenlles.Moreovet,olafsson,s
                                                                               'reva
                                                                                i'cluding because
                                      were  driven by  organic market factors -
                           decreases
    suggestions that price
                                                                                          was false and
                                            of pro<lucts that rrad rimited competition" -
    ,,hacl to aivest a very goo<1 portfblio




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       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 90 of 134




misleading in light of the Company's undisclosed practice ol irnplenrenting massive short term

price increases to boost revenue, whioh, by this timc, was no longel sustainable.

                  24"   January 6,2{JX7

        231. During a       .Ianuary   6, 2017 Ilusiness Outlook       Conferenoe Call, Vigodman

announce<l   that'feva would provide 2017 guidance early inJanuary 2017.I)uring the call,

Vigodrnan claimed'leva's past success was not due to price increases,stating:

       Since the start of 2014, one of our greatest priorities has been to increase the
       profitability of our gencrics business. In the first three years of this great effort, we
       have been able to improve significantly the rnargins of
                                                                   'I'eva's standalone generics
       business. 'I'his has been accomplished with a strong emphasis on the cost of goocls
       sold, product mix, and the overall cost structure.

        232.      The statements set folth in n    nl    above were materially false and misleading

a¡d/or omitted material facts. Defendants' statements touting the purported success of their

generics business had the effect       of concealing, aud/or failed to disclosc, that, in truth,   the


Company's reportecl financial results ancl success         in the generic drug    market were driven

primarily by its unclisclosed strategy to take massive price inoreases, either on its own or in

tandem     with other manufacturers whom it purporledly competed with. Indeecl, lì'om lìY13

thr.ough   FYl6   T'eva generated more than $2.1   billion through price increases alone. This strategy

was inherently unsustainable in light of, among other things, in<lustry, regulatory                and


 governmental scrutiny surrouncling the pricing of generic drugs, and the inevitable clearing of the

 ANDA backlog at the FDA, which would have the effect of introduoing new competitors in the

 market. In fact, by this time, the risk from Defèndants' undisclosed strategy had begun to

 rnaterialize, While Teva generated more than $541 million thror-rgh price increases during FYl6,

 that figure represented a decline of more than $200 million, or nearly 30%0, from FY15' I-laving

 put into play the issue of the sourcc of Teva's revenue growth and the subject of competition in




                                                    85
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 91 of 134



the generic drug markcts, I)cfendants had a cluty to clisclose '['eva's price increase strategy               ancl


tho true souroe of its revenues"

               25.     ni'clrnuary X5, 20X7

        233.   On lrebruary 15, 2017, 'feva liled its 2016 Annual Ileport with the SliC on lìorm

20-Ir, signed by Desheh, Desheh signed the consolidatcd balance sheet. 'I'he Company's 2016

Irorm 20-F also reported a YOY decline in tl.S. generic revenues of $39 million, or 5o/o. When

lemoving the impact of Actavis' fì1.168 billion in U.S. generic revenues,'feva's U.S. generio

revenues lrom its legacy business sul'fbred a     YOY decline of   $I   .4   billion, or   29o/o.   l'he fìorrn 20-

F explained that the decline:

        "resulted mainly lrorn the loss of exclusivity on esomeprazole . .. and aripiprazole
        . . ., a decline in the sales of budesonide .. . due to increased cornpetition, loss of

        revenues following our divestment of certain products in connection with the
        Actavis Generics acquisition and the decline in sales ol'capecitabine."

        234. 'fhe statements       set forth in   \   233 above were materially false and misleading

and/or omitted matcrial facts. Delèndants' statements citing non-price 1àctors lor the decline in

generic levenue had the effect       of   conoealing, and/or failed      to disclose, that, in truth,           the

Company's reported financial results, including the past success and current YOY decline in

generic profits, were driven primarily by its undisclosed strategy to take massive price increases,

either on its own or in tandem with other manufacturers whom                 it purportedly competed with.

This strategy was inherently unsustainable in light of, arnong other things, industry, regulat<lry

and governmental scrutiny surrounding the pricing ol'generic drugs, and the inevitable clearing

of the ANDA backlog at the FDA, which would have the effect of introducing new competitors

in thc markct. In fact, by this time, the risk from Defendants' undisclosed strategy had begun to

materialize. While Teva generated more than $541 million through price increases cluring FYl6,

that figure represented a decline of more than $200 million, or nearly 30%0, û'om FYl5. I-Iaving



                                                       86
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 92 of 134



                                                                                                       tn
                                          ,I.eva,s revenuo growtlr ancl tlre subject of competition
                           tlrc source of
put into play the issue of
                                                                    'r'eva's price increase strategy ancl
                                          hacl a cluty to cliscrose
the generic  drug markcts, nef.en<lants

the true source of its
                       revenues'


          235'Inthesamell.ebruaryl5,20|1lìorm20-Iì,'revaclescribedthe..intense
                                                                                   ancl "oompetitive
                                               gcneric market ancl its "strategic"
                            faccd in the rJ.s.
 compctition,, trre company

 advantages":
                                                                              gcneric drug
                                        subject to intense competition in the
          in the tjnited states, we are
                                     h*åH;;;î;"*ti"        ¿'*ìounufacturers' brand-
                                                                                     name
                                 and
          market fiom domestic
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          ge,t"rics, existing bran$                                          of ihe same
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                                                                                quality' our
           advantages are                               on -ii*"ty        basis' our
           equivalerfs  î; ;;;r;:nuÅ" drugii pro<lucts"   portfolio.
           customer   ;*t"#;ìr"," u,"ujir-' ou' product
              236.,IheCompanyalsoclescribeclinthelìorm20.þ-the..itfensgcompetitioninthe                     s
                                                                           Generic Meclicine
                                      factors driving growth in the Teva's
    generic market,, and trre primary

    segment:

                                                                   and institutions' consumel.S'
              Salesofgenericmedioineshavebenelrttedfromincreasingawarenessand
                                                        in,.,,.,,
              u,""ptu..,"o-o,' .r'" pu,t
                                         or nJuttt',u,"  -fftt'å'"onJitiot-tt f re¡ult in intense
              physicians and ph.arm"rir11-efåî"fV
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              competitio,,i,,'.,r,"9:ï:.i'i;1:*;;1îFï..,ilT-ïltöir,=ïï:,:lï3,iii
                             pticirig                                      which
              advantage based on.                          that            product pipcline'
                                              Wo   bclicvc
              breadth of Product line' ' ' '                    "îr''r"U"t* abilitv to continuouslv
                                                                 b*iÄ;';tà
                                  with the   o"iåi'  Cã'''t'i"'                    continuing pnce
              t-,u, u""n ånnanced
                                          ;t,i;;i^'o_o.,,  g,o*.r'^ìn_túe f.ace of
                                      are
              launch new products
                                   the generios market'
               erosion å.p"ãit¿ in

                237,Teva,s2016Form20-FalsodescribedtheÍollowingRiskFactor:
                                                                                  pharmaceutical
                                                         aS adclitional generic '
               Ourgenericdrugsfaceintenseoompetition.Prices.Ì'*."::]:drugstypically
               decline, oftcn dramaticallv,.^ ",p".iuirv
                                                      o'"JJätt      üä"ã in china and India)
                .o*puni.* (including. t"*]"".i'æ""ri.                        pl.udutt
                                                                                        3nd
                                                                                              competition
                receive approvals uno     "r,äir]."*trt"t'rn''ïîi"n
                i,,t.,,,itiäå"ðnn*"Q.*"tryî";f"o;1jî'i;;ä:îfu               's:;ffi *r"tllru",iil
                given product over time                 and.fr"     ä*itg   of their approvals'
                         including new mÍuket entrants,
                Product'

                                                            87
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 93 of 134




       238.        llhe statements set lorth in   1111235-37 above were   materially fàlse and misleading

and/or omitted material Iàcts beoause 'l'eva was not ltrcing "intensc compctition" or operating in

a compctitivc cnvironrnent. In truth, 'l'eva's unclisclosr:cl and inhercntly unsustainable strategy to

take massive short tcrm price incrc¿rscs clepcndccl in largc part on alack of oompetition. In läct,

during the Iìelevant Period, 'I'eva increased the prices of rnultiple clrugs, many of which were

done in tandem      with its purported compctitors.   .\'ee TT 71"94.


                   26.     August 3,2017

        239.       In 'Ieva's August 3,2017 Form 6-K hled with the SllC, the Cornpany included             a


description of the antitrust matters     it   faced, including the Connecticut AG and DOJ subpoenas

and the December 2016 State AG lawsuit referenced above, and misleadingly stated that "Teva

clenies having engagecl     in any conduct that would give rise to liability with respect to the above-

rnentioned subpoenas and civil suits."

        240.       Teva macle materially iclentical false and misleading statements        in   each   of its

periodic reports filed with the SEC between August 3,2017,and May 10, 2019, including Teva's

lìorm 6-K filed on Novemb er 2,2017; 'I'eva's lìorm l0-K l'or the year ended December 31,2017                  ,



filed on February 72,2018; Teva's Form 10-Q for the three-month period ended March 31, 2018,

fìlecl on May 3,201tì; Teva's Form l0-Q for the thrce-month perio<l ended June 30,2018, filed

on August 2,2018; Teva's Form 10-Q for the three-rnonth period ended September 30,2018,

filed on November 1,2018; and Teva's lìorm 10-K for the year ended December 31,2018, filed

on February 19,2019.

         241   .    Each of these reports, as well as the other reports that Teva filed with the SEC on

Forms 10-Q and l0-K throughout the Class Period, contained certifications pursuant to Section

 302 of the Sarbanes-Oxley Act of 2002 ("SOX Certifications") signed by Defendants Schultz

 and McClellan, stating that the "report does not contain any untrue statement <lf a material fact or


                                                       88
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 94 of 134




                                                  the statements nracre,
                                                                         in light of the circumstanoes
                               neoessary to rnake
omit to state a rnateriar fact                                                                      by
                                                                       respoct to t'e period
                                                                                              covetrecl
                                                not misreading  with
                                 werc ma<le,
under which such statemonts
                                                                                          20-lì and 6-l('
                                              fosponsìbre  ròr and signed each Form
                              I)esheh Was
this rcport.,, ln aclclition,
                                                                                         as'l'eva's c''o'
                                                 20-F ancl 6-K  rrrecl during his tenure
                               1,or each  lìorm
vigodman was responsibre
                                                                                         each Form 20-F
                                                      for'reva's   generics segment in
                                   for  the reporting
 ancl oratsson was responsibre
                                                                         of 2016'
                          quarter   of 2014  through the third quarter
 an.6_K from the   third

          242.'fhestatementssetforthinllî239-4lweremateriallyfalsean<lmisleading         and its
                                                     in the con<luct allegeil by tho AGs
                   to.reva,s aenials that it
                                             e'gaged
  because, contrary
                                                                                               material fact
                                                                          untrue statements or
                                              srl.   clid not contain any
                           filings with the
  representations that its
                                                                                       ha<l colluded
                                                  trrerein not misleacring' Defèndants
                          to make the statements
   or omissions necessary
                                                                           drugs and were therefore
                                           to fix  the prices of generic
   with other generic clrug manufacturers

   subjecttocivilliabilîtywitlrrespecttothisoonduct.See|[]|71.94.
                   21'      Octoher 31'2tll7

            243'onoctober3l,20'.],inresponsetomediareportsissuedinthewakeoftlreState
                                                                                 a Teva spokeswoman
                                      expan<led their first
                                                            antitrust compraint,
                                which
    AGs proposed amen<lment,                                                                     itself
                                                                             continue to defend
                                 ,,Teva aenies these allegations and will
    tora courthouse News that                                                                 'leva is
                                                             "In  accordance with our values'
                            .fhe company further stated:
     vigorousry in cour1,,,                                                            'fo          we
                                                                                              this encl'
                                                   competition    laws an<l regulations'
                               with all appricabre
     committed to complying                                                                              of
                                                        to  ensure    that our employees are aware
                                   program designed
     have a robust oompriance
                                                                                  to abide by them'"
                                    and internal policies, an<1 their obrigations
      competition laws, regurations

               244'Thestatementssetforthin\243werematetiallyfalsean<lmisleadingbecause,
                                                                                           Defendants had
                                                             and  its reratecl statements,
                                   of trre AGs' arlegations
       contrary to Teva,s denial
                                                                                      drugs' s¿e lI 71-94'
                                                        to fîx the prices of generic
                            generic <lrug manufacturors
       colludeci with other



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          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 95 of 134




Accordilgly, 'l-eva was not "committccl to complying all applioable competition laws                         ¿rnd


regulations." See id.

                   Ztl.     Ilecemben 19, 20tr8,.ïarauarry Xtl,2{}tr9 ancl F'chx"t¡any tr9,20tr9
                                                                              'l'eva again denied the
          245. ln a December          19,201t1 statcmcnt to Business Insider,

State AGs' allegations, represerfing that            it "will continue to vigorously   del'encl   itself."    On


.lanuary 18,2019, Teva stated to Law360: "Overall, we establish plices to enable patient access,

maintain our commitment              to   innovative and generic medicines and       fulfill   obligations to

shareholders.,' 'I'eva further statecl that       it is "committed to cornplyir-rg with all applicable   laws


and regulations and is ¿edicated to conducting business with integrity and fairness' Litigation

surrounding U.S. generic pricing            of   several companies, including Teva, continues       to be     the


subject    of inaccurate media stories." On Febluary 19,2019, in               response   to media reports
                                                                                                'leva
cliscussing tht: recent release       of an unredacted vcrsion of the lirst State AG complaint,

state<l   to llloontbergthalit would "vigorously defend itself against these unfounded allegations'"
                                                                                          'feva had
           246.    These statements were false and misleading because, as alleged herein,

 collucled with other generic drug manufacturers to fix the prices of generic drugs, as alleged
                                                                                                by

 the AGs. Se¿       ,1T   7l-g4, 127. In<leed, il'eva was one of the central actors in an industry-wide

 pr-ice-fixing and market allocation scheme, and four
                                                      'leva executives are personally namecl                    as


 defendants in the May 2019 State AGs complaint. See f1I27             '


           B.       Defcndants Violated ltem 303 of SEC Rcgulation S-K and ltcrn 5 of
                    Form 20-F

            247.    Defendants violated their obligations pursuant to Item 5 of Form 20-F and Item

 303 of SEC Ilegulation S-K by failing to disclose the reasons and factors contributing to
                                                                                           the


 increase     or   <iecrease    in   revenues relating      to   Defendants' undisclosed and inherently

 unsustainable price increases,



                                                          90
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 96 of 134




        248.       Moro specifìcally, ltem 5 o1'lìorm 20-F recluired 'l'eva to disclose the source ol

n-raterial incrcases and decreases       in   revenues, iricluding those resulting   fiom l)cl'endants'

unclisclosecl and inherently unsustainablc      pricc increascs, Del'enclants clicl not   c1o   so.   lnsteacl,

they made numerous affirmative mislea<ling statements in the MD&A seotion of the 20-lì which

suggested 'I'eva's U.S. generics business was subject to "intensr: competition."

        249.       Teva hled its annual hnancial statement with the SEC in a lìorm 20-lì lìled under

section 13(a) or 15(d) of the Securities llxchange Act          of 1934. l'he   SEC explicitly requires

disclosures detailing changes in price that irnpact reported revenues in a lìorm 20-lì. Item 5 of

þ'orm 20-F (Operating and lìinancial Review and Prospects) states:

        'fo the extent that the f,rnancial statements disclose material changes in net sales or
        revenues, provide a narrative discussion of the extent to which such changes are
        attributable to changes in prices or to changes in the volume or amount of
            plo<lucts or services being sold or to the introduotion of new products or services .
            . . discuss, for at least the current hnancial year, any known trencls, uncertainties,
            demands, commitments or events that are reasonably likely to have a material
            effect on the company's net sales or revenues, income íìom continuing
            opelations, profitability, liquidity or capital fesources, or that would cause
            reported financial information not necessarily to be indicative of future operating
            results or financial condition,

            250, Itern 5 of Form 20-F is analogous to, and subject to the same rules and
requirements as, the Management's Discussion and Analysis of Financial Condition and Results

of Operations (MD&A) section of Form 10-l( filed with the SEC. SEC llelease No, 33-8350,

Note   1.


            251. As such, SAB 104 requiles management to disclose in the MD&A                     section the

impact of artifioial or collusive price increases: "Changes in revenue should not be evaluated

 solely in terms of volume and price ohanges, but should also include an analysis of the reasons

 and factors contributing to the increase or decrease."




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       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 97 of 134




       252.    SLìC lìeleaso No. 33-8350 further providcs thc I'ollowing          MD&A      disclosure

guiclanoe, requiring analysis and disclosure       of' volurne and prioe changes affocting          the

Company's revenucs      in a situation   analogous   to the rise ancl decline in revenuc liom       the

I)efendants' undisclosed anil inherently unsustainable price inereases:

       Iror exarnple,   if a company's Jinancial statements reflect materially          lower
       revenues resulting from a decline in the volume of products sold when compared
       to a prior period, MD&A should not only identify the decline in sales volume, but
       also should analyze the reasons underlying the decline in sales when the reasons
       are also material and determinable. The analysis should reveal underlying
       material causes of the matters described, inoluding for example, if applicable,
       dif ficulties in the manufacturing process, a decline in the cluality of a product, loss
       in competitive position and market share, or a combination of conditions,

        253, Additionally, SEC Iìelease No. 33-8350 explicitly            states that   "folne of   the

principal olrjectives   of MD&A is to provide        inforrnation about the quality and potential

variability of a company's earnings and cash flow, so that readers can ascertain the likelihood

that past performance is indicative of future perforntancc."

        254.   SAB 104 further states: "The Commission stated in FRR 36 that MD&A should

'give investors an opportunity to look at the registrant through the eyes of management by

providing a historical and prospective analysis of the registrant's fìnancial condition and results

of operations, with a particular emphasis on the registrant's prospects for the future."'

        255.    Delendants violated this requirement, especially given their assertions that the

U.S. generic drug markets were competitive, without disolosing the source and magnitude of

revenues generated by Teva's undisclosed and inherently unsustainable price increases.

VI.     ADDITIONAI, ALLIìGATIONS OF SCIII,NTEIì

        256.    Numerous facts give rise     to a strong   inference that, throughout the l{elevant

Period, Teva and the Individual Delendants knew or recklessly disregarcled that the statements

identified in Section V above were materially false and misleading and/or omitted material facts



                                                  92
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 98 of 134



                                                                                     lacts also support
                               to the specihc facts enumeratecl above, the following
whcn made         In a<ldition

a strclng inference    of scienter

       I]viclenceliomf.ormcremployeesclemotrstratesthatallpriceincreasesinrplcrrrcrrtcdby
                                                                        'r'eva's clecisions to increase
,reva wele approved by thc company,s most senior exeoutives.ra

                                             employees of
                                                            ''eva exprained that 'feva rrad an internal
prices came   rì.om  the top  clown. Iìormer

                                                                rcviews and clocumentation of
                                                                                                   price
                                     with  provicling <letailed
 pricing Group that was taskecr
                                                                              to which price increases
              .I.eva
                      estabrished review  and approval procedures, pursuant
 reductions,
                                                                                             'l'eva usA
                                                reva  and  'feva .JSA c'ro, Grii'tn, ancl
                                     ofrrcer of
 required the chief Aocounting
                                          to make a price increase                 a'.   to personally approve the
 coo,     cavanaugh, to determine whether
                                            decide when the increases
                                                                      would become
                   and cavanaugh would then
 increases. Grifhn

  effective

          251,'I.evastoreclclrug-by-drugpricing,sales,andrevenuedafaontheCompany,s
                       .fhe company stored prioing ancl rcvenu e data "down to the NDc
                                                                                        code"
  oracre      system.
         'Rp                                                     had access to the system' an.
                                        oberman, and olafsson'
   and executives, including cavanaugh,
                                                                                              weekly
                                                               was use<l to generate daily or
         routinery rrlled in on sares numbers. T'rre database
   were
                                                                                               and a
                                                              reported generic drug revenues
   ..Scorecards,, that senior exeoutives would receive that
                                                                              eommittee in Israel-
               ,,work Plan," which was presented to Teva's exccutive
   long-term
                                                                                   were also sent to
                           ancl nesheh.  other reports with pricing information
    including Vigodman

    'leva' s executive committee'
                                                                                     inference oÍ scienter
                z5g.    The slteer magnitude       of reva,s price hikes supports øn
                                                                          prices of its gene'ic drugs'
                         period, Teva made  astronomical increases in the
    During the l{eievant
                                                                  more than 1700%' such massive
              multiple price hikes of more than 800%' and some
    including
                                                                                                   cmnlovces contactcd by
                                                       allegatìons were taken from certain l'ormer
     'o         A, nored previousiy (11ï 12-75),th ese
                                                                         *î;;1ht    allegations*""   u"ifttd by Plaintilß'
                                         T'eachers Amended     Complaint,
     Plaintil'ß  counsel or lhe Ontat'io
     counsel.


                                                               93
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 99 of 134




price incrcascs impactod nore than 55 separatc drugs, over a Iòur year period. Given the intense

f'ocus on pricing   in the gcneric    dr"ug industry, and the fact that    'leva's senior executives,

including the Individual Dcl"endants, wer<: asked cluostions rcgarding'l'eva's pricing ancl pricing

trcnds during every earnings conference call and at mauy industry meetings, it is irnplausible that

the Defendants-the most senior executives of the Cornpany-wcre not awarc of price increases

on this scale in'leva's core business unit.

          259.   'l'hese massive price increases also contributed billions      of dollars to'leva's

bottom line, Indeed, from 2013 through nid-2011, Defendants'fraud generated more than $2

billion in additional revenues. Iìurther, given that the costs of implementing price increases         are


effectively zero, these massive increases in revenue flowed directly into Teva's profits-which

increased by similar amounts. Ììor example,'leva's profits from Pravastatin, one of Teva's better

selling generios, amounted to at least $370 million after instituting prioe iucreases of up to 437o/o,

Sirnilarly, Teva increaseil the price of Propranolol I-ICL by nearly 3rJ0% and obtained nearly

$1256   rnillion in profits. Teva also gained over $143 million in such profits lrom increases of up

Io 306Yo in its prices for Baclofen, Sìll0 million fiom increases of up to       182o/o   in its prices for

Fluocinonide; $138 million from increases of up to 579o/o in its prices for Methotrexate Sodium;

and $102    rnillion fi'om increases of up to l lll% in its prices for Ciprofloxacin FICI-,

          260.   The intense national focus on price increases in the generic drug business from

the beginning of the llelevant Period demonstrates that l)efendants must have been aware of

what was going on with respect to pricing at             f'eva. Ilven assuming that the Individual
 Defendants-Jsy¿'5 top executivcs--were not put on notice by massive and unexplained price

 spikes   in the Company's      oore genet'ics division, the historio rise     in   generic drug prices

 immecliately beforo and during the Relevant Period was well-publicized. Indeed, the gargantuan




                                                    94
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 100 of 134




                      .I.eva ana other generic manufàcturers lecr congress      to   oommoncc an
pricos increases by
                                                                                 Vigoclma'
industry-wi<le invcstigation beginning
                                         \n'2014' on ootobcr 2' 2014' Delenclant
                                                                                          cummings'
                   fiom tJ.S. senator Ilernie sanclers ancl tJ.S. rteprescntative
receive<l a letter                                                                'ilijah

putting.levaonnoticeofaninvestigationandrcquestirrgpricing<lataanclotlrerinformation

regardingtlreCompany,sgenericsbusiness'Inparticulat,CongressaskedtheDefen<lantsto
                                                  increases in the price of
                                                                            reva's generic drugs that
                               regarcling massive
provide it with infbrmation
                                                                                            the letter
                                     by  other generic clrug manufacturers. For example,
 coinci<led with similar increases
                                                        causes of recent increases
                                                                                      in the price of
                           regarding   "the underlying
 requested information
                                                                                      sodium and 5]3
                        have  increased  by "as much  as T36percent for Divalproex
  [Teva,sl drugs,, that
                                                                                 that time period' the
                            sodium   from  october  2013 to April 2014' over
  percent for Pravastatin
                                                                                         ancl $426 for
                     price  went  LW  by  as  much  as $735 for Divalproex so<lium
   average market
                                    on tl,e formulation'
  Plavastatin Soclium," clepencling
                                                                                               in
                                    .feva refised to appear to testify or to produce documents
          261. As noted above,
                                                                             the subsequent DoJ
                                incluiry, T.his congressional investigation,
  response to the congressional
                                                                                       hikes that
                               and the  widespread   pubticity surroun<ling the price
  subpoena to the company,
                                                                                                     at
                                              a duty to investigate the
                                                                        existence of price increases
                                 gave rise to
   spawned these investigations,
                                                        generic drug         pricing' At a minimum'
                               changes in the company's
   T.eva and a duty to monitor
                                                                               were recklessly made' in
                                 Defendants,  farse and misreading statements
   Teva,s ancl the Indivicluar
                                                                                                  core
                                             an<l monitor changes in
                                                                     the pricing of the company's
   dereliction of their cluty to investigate


    products.

           262.ThefraurlCÛncefllstlrecoreofTevø,soperations.Teva,sproductionofgenertc
                                                                                     during the
                             core  operation during the Iìelevant Period' In fact,
    <lrugs was the Company,s
                                                      of generic drugs in tho world, controlling
                                    rargest manufacturer
     Iìelevant perioa, Teva was the



                                                      95
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 101 of 134




l3o/o   of the generic drug markct by mid-2015. Gcneric drug sales accounted Iòr a substantial

portion ol'Teva's revenues and operations during the l{olevant Period. F'or oxample, in 2014,

'I'eva's revenuos hnm the segment inclr-rding gcnerics aocounted fbr 42.13% of the Company's

total revenues. In 2015, the percentage of the Company's revenues finm thc segrnent inclucling

generics jumped to roughly 50yo.      It is irnplausible that the Inclividual Defondants, who were   the

Company's senior-most executivos, were unaware of the historically colossal price increases

being implemented by the Company--particularly given the significant positive impact those

price incrcases were having on 'leva's I'rnancial performancc. As the Company's most senior

executives, the Individual Defendants had access             to   information concerning these price

increases,     At a minimum, they were reckless in            misleadingly telling investors that the

Company's improved financial outlook was due to cost-cutting, product mix and other factors

without investigating whether changes in prices for the Company's products were not a fàctor in

that turnarouncl.

          263.   Defenclants'turn around narrative wos the result of massive ¡trice increases"

By the encl of 2013, 'I'eva's U.S. generics business suddenly began reporting signilìcant glowth.

lìor example, in 4Q13, its lJ.S. generics division reported earnings of $1,178 million,                as


comparecl    to $1,034 million the year before-an          increase   of approximately $144 million,   or

nearly l4%o. This was a striking turn around. Relative lo 2012, Teva's net revenues f'or the nine

month period ending September 30, 2013, were down year-over-year'

                                                                                             'leva's
          264.      By April 7,2A14, National Alliance Securities analysts had taken note of

new-found financial success: although its generics division had "dramatically underperformed in

 2013" as compared to its peers, only a few months after the end of 2013, T'eva's performance in

 generics was, remarkably, "the Rest     Y'lf)"   among its peers.




                                                      96
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 102 of 134




                                     2014, I)efèn<lants', remat'kable
                                                                      "turnaround" story l'or the
        265. lly the encl of
                                                                           ar<lul]d $37 in late
                                            th() company's ADS price f'rom
company's generics business hacl propellecl

October 2013,to   $iì56   by the end of 2014'
                                                                                            2015'
                                                         into 2015' and by the end of' July
        266.   Def'endants' l.tnancial success continued

its stoclc price exceeded $70 per share'
                                                   I)esheh, olafsson' Schultz' anrl
                                                                                    McClellan' who
         267. It is implausible that  vigodman,
                                                                                            generics
                    and spoke   publicly  at  length  about' the "turnaround" in Teva's
 directly oversaw,
                                                                                      'fhe f'ar more
                unaware  of the  true  source  of the  company's changed fortunes'
 business, weïe

 oompellinginlèrenceisthattheseexecutives,whoseasoensionandarrivalcoincidedwith
                       and whose departures coincidea
                                                      with expanding governmental probes
 massive price increases,
                                                                                the true driving
 into trrose same price increases, were
                                        wet awaÍe that the price increases weïe

                                        success'
  I'orce behin<l the Company's ncwfound

         26s,Theevicleltceprorlucetlinthegovernftrcntinvestigutionssup¡lortsgninference
                                                                                       one half
                            above, the AG investigation has been ongoing for three and
  of scienter, As detailecl

                                                        electronic, ancl testinronial evidence
                                                                                               fro'r
  years and has invorved the collection of documentary,
                                                                                       through this
                                             information and evidence developed
                                          of the
  Teva and others. As a result
                                                                                 against'feva and
                  the Attorneys General or 46 separate LJ.S. States brought suit
   investigation,

   othergenericdrugmanufacturefs,documentingtheir"numerouscontracts'combinationsand
                                    of unrcasonabry restraining trade,
                                                                       artificia'y inflating and
   conspiracies that had the effèct
                                                                                           throughout
                                                   in the generic pharmaceutical industry
   maintaining prices and reducing competition
                                                                                      with Bloomberg
                                             during a l)ecembe r 14, 2016 interview
   the ljnitecl states.,, The cr AG stated
                                        .,vory expricit price Íixing" between'Teva and others: "This
   that its investigation has uncovered
                                                                                                    in
                          evidence .     'fhis is very explicit price hxing ' ' ' in text messages'
    isn,t circumstantial



                                                      97
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 103 of 134




emails, in oonversations; we havc cooperating witnesses. 'I'he case is vcry strong." As reportccl

by'l'hc New York'limes, the C'I'AG lirther summai:izcd the evidenco         as   "very damning." Nor

were these eonspiracies limitecl      to   lower*level enrployees. Iìather, thc AG invostigation

uncovered cvidence revealing that "many o{' these schemes wcro oollceivod and directed by

executives at the higl'rest levels of many of thc Defendant companies."

       269,       Moreover, the fact that the DOJ has intervened in at lcast five civil antitrust

actions against T'eva, now consolidated in the Multi-District l-itigation in the ll.S. Distriot Court

for the Bastern District ol'Pennsylvania-nfler subpoenaing and receiving documents flom

T'eva-strongly suggests that fèderal prosecutors have also determined that there is evidence of        a


oriminal conspiracy to fix prices in an anti-cornpetitive manner.

       270.       The significance of the corporate action required to participate in any collusive

behavior-particularly such sustained price increases, with rnultiple competitors-makes it

irnplausible that the scheme was carried out solely by low-level employees.

        271,      The Indi.vidual Defendants were motivatetl to commit frøud         in order to ruise

capitalfor   ø   major ocquisifion 'I'he hidividual Defendants were motivated to pump up the price

of Teva's securities in order to consummate a major corporate acquisition. Indeed, Vigodman

and Dosheh had stated early in the Rclevant Period that they wanted to convert Al)S into

"currency" to acquire a competitor, further consolidating Teva's market share.
                                              -leva's
        272.       By 2015, with the price of         stock artificially inflated to over $60 per   share


by Defendants' price increase plan, they decided to make their move. In April 2015, Defendants

first tried making an offer f-or Mylan, but their overlures were swiftly rebuffed. Undeterred, the

Individual Dcfenclants ratcheted up their bidding, and with the ADS price reaohing an all-time

high, on July 27,2015, Defendants announced the purchase of Allergan's generics division,




                                                    9tì
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 104 of 134




Actavis..fheclcalwouldcost.levaapproximately$40billion,mostofwlriclrwasfuncledby

memlrersol'tlreClasstlrrouglrthreeofferitrgs.

         273,,I'oexccutetheActaviscleal,however,Defenclantsstillnoededtoundertalcea
                                                            a.ditional capital'
                                                                                without warning'
                                 of bilrions of clorlars in
                       to raise tons
massive boncl offering                                                                              offering
                                                                                            clebt
                                                                       announce<lthattrre
                                           1 3,2016,Vigodman
                      investor ca, on Jury
 during apre_arranged
                                                                            reva's guidance
                                    on t'e same ca', vigoclman also revised
                         very cray.
 woul<l be raunched that                                                              generics
                                                              pricing pressure in its
                                                    not seeing further
         and  confirme<l that the company was
 upward
                                                                  of 'l'eva's securitios' ultimately' the
                                                        the price
                                to artir.rcia*y inflate
 business, trrereby continuing                                                                        The
                                                   over  $20 b'rion  from unsuspecting investors'
                         bond offerings raised
  company,s July 20r6
                          August 2'2016'
  Actavis cleal closed on
                                                      statements to the co*ective tliscrosures
                                         oÍ the farse
          214.    The temporar proximity
                                                                   days after the Notes
                                                                                         offering' and
                                                     4,z0r6,three
                           of scienter. on   August
   supports an inJerence
                                                                                 2016 fìnancial results
                                           closed,'reva rep.r*ea second qr;arter
                               transaction
   two days after trrc Actavis

    thatreflecteda$434milliondeclineinrevenuesinitsU'S'genericssegmentcomparecltothe
                                                                              to DoJ and state
                                                         that it was sub'iect
                                                 for the rrrst tirne
           quarler of 2015. Teva also discrosecr
    second                                                                                              decided
                                                                        day before'reva suddenly
                                      In fact, on Jury 12,20r6-thrl
    AG price_fixing investigations.
                                                                                        by the connecticut
                                                   rrad been served with a subpoena
                              to market-Teva
    to rush its bond offering                                                                     the DoJ,
                                                                     been served a subpoenaby
                                    cln June 2|,2016,Tevahad
     AG; and three weeks earlier,                                                                        The
                                                         investigations  into illegal price collusion'
                      .feva was now a focus      of  the
     indicating that                                                                         increasing the
                                                      rushing an  offering to market and
                                with Defen<lants
     timing of tr.rese events,                                                                  their pricing
                                                            government    subpoenas regarding
                                           after receiving
      company,s guicrance immediatery
                                  an inference of scienter
      policies, stronglY suPPorts




                                                          99
            Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 105 of 134




             275.   On¡anuary 6,20IJ,less than six months aller raising its guidalrce on the satne

clay   it   announce<l the surprise boncl offoring, T'eva signilìcantly lowered    its guidance, admitting

that its generics business was unclerpcrl'orming as a rcsult o1'tl're pricing pressures it liacl claimecl

inrmnnity fÌrlrn. As Vigodman describe<t in the January 6,2017 conf'ereucc call, T'eva "hafsl an

IlIlll'DA      gap of fì1.2   billion emanating liom our IJS generics business'"

             276.   Market reaction to Delèndants' clisclosures was fast and lurious. Commentators

notecl: "1'he larger point here is this: how is it possible that 2017 EPS guidance was cut by
                                                                                                        as


                                                                                    team in
much as l8% withi¡ the space of six months with largely the same senior lnanagement

 place?,, The temporal proximity              of   Defendants' disclosures that pricing pressures were

                                                                                    and assured
impacting Teva's generics business, less than six months after they raised guidance

investors that there would be no such efÍect, further supports an inference of scienter.

             277.     Ðefendøn.ts' Ft¿rtlrer Deniuls of Liahitity Despite Investigøtions. As set forth

                                                                                   the Iìelevant
 above, Delèndants repeateclly deniecl any involvement in collusive conduct during

 period, and continue to do            so, For example,    f)efendant Schultz staled during an investor

                                                                            more than 1 million
 earnings conl-'erence call onNovember 7,2019: "We have, of course, sharecl

 documents with fthe DOJI. We have not found any eviclence that we were
                                                                        in any way part of any

 structured collusion or price         hxing."   T'hese statements uuderscore that Dcfendants knew Teva


 was a central aotor in collusive concluct or, at a minimum, recklessly failed
                                                                               to review or check

 inforrnation they had a duty to monitor that would have revealed that fact.

               27g.   The Individual Defen<lants' high-level positions, access to information about the
                                                                            public statements'
  Company's generics business, and control of the contents of the Company's

  As the Company's top executives, Vigodman, Desheh, Altman, Schultz, McClellan'                         and


  Olafsson-the Presidents, CEOs, and CFOs of Teva,               ancl President and CE'O   of f'eva's Global




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            Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 106 of 134
                                                      t0I




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       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 107 of 134




t'ecklessly failed to disclose the overwhelming signiheance of the price increase plan           to the

financial rcsurgcnoe of T'eva.

       2tì0.   Vigodman    als<1,   in response to a direct cluestion on pr:icing practioes during an

Ootober 29,2015 investor conlèrence, falsely assured investors that: "We are very responsible.

. in everything    that pertains to prices on the generic side and on the speoialty side." IIe

continued: "And I will even put it another way, all the improvements you see in margins is not

driven by price. It is driven by quantities, and by mix, and by efÎroiency lneasures, not by price,

2014,2015. And that's a very important message."

        281.    Defendant Desheh served as Teva's CFO from July 200tÌ to June 30,2017, except

fronr October 30, 2013lo February 11,2014, when he served as Teva's Interim CEO and Interim

Presiilent. Desheh also serveci as Teva's Group IIVP flom 2012 to June 30, 2017. Desheh

signed and certilìed certain of 'I'eva's reports on Iìorms 20-F (including the 2013,2014,2015,

and 2016 l,ìorm 20-Iì SOX Certifications) and     6-l( fìled with the SIìC during thc Iì-elevant Period,

inclu{ing consolidated balance sheets, as set forlh herein. Desheh had a duty to monitor            any


conduct that threatened to undermine the veracity of these hlings, including the conduct alleged

herein. Desheh had access to pricing data for the Company's generic drugs. Notwithstanding

the certifications signed by Desheh and his acoess to pricing data, Desheh knowingly or

recklessly failed to clisclose the overwhehning significanoe of the price inorease plan to the

financial resurgence of Teva.

         282. During the Relevant          Period, Desheh made additional false and misleading

 statements regarcling the Company's       pricing. For example, during a Novembcr 2015         investor'


 conference, Desheh addressecl pricing head on: "il'here is a lot of noise around pricing issues'

 Some of it is coming liom politicians lwho arel driving agendafs]. . ,     .   Our exposure to all these




                                                    102
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 108 of 134



                                                                                                    real
things is very minimal. . .   .   I believe there aIe many examples lbr cornpctitive environntcttt'

                                                                           '   so it's a highly competitive
oompetition, like wc seo in generic market in the tlnitccl states. '
                                                                  .

                                                         witl'r a very 1ìerce price oompetition'"
e'vironment with players coming lrom all over the worlcl
                                                                    the price increase plan'
Ilven in the läce of'this clireot question, Desheh never clisclosed

        283.     Del'endant Altman servecl           as'leva's Acting clìo fiom ootober 31' 2013         to

                                                            Teva's reports on lìorms 20-F
Iìebruary 11,2014. Altrnan signed and certif,red cerlain of

(inclu<ling the 2013 lìorm 20-lì          sox      certification) and 6-K filed with the   sllc during the
                                                              monitor conduct that threatened to
 Iìelevant perioci, as set forth herein. Altman had a duty to
                                                                 alleged herein' Altman had access
 undermine the veracity of these filings, including the concluct
                                                                                           Altman
 to pricing   <lata 1òr   the company's generic drugs. Notwithstancling the certi{ications

 signed, and his access to pricing data, Altman knowingly
                                                          or recklessly failed to disclose the
                                                                                    'l-eva'
                                                         the hnancial fesufgence of
 overwhelming significance of the price increase plan to

          2S4.Defenclantolafssonserve<lasPresidetltandCEoofT.eva'sGlobalGenerics
                                                                                                        to
 Medicines Group from July          l,   2014   to Decemb er 5, 2016. In that role, olafsson had access

                                                               possessecl the power and authority
  pricing data for the company's generic clrugs. Olafsson also
                                                              concerning'['eva's u.s'                generios
  to control the contents of the company's reports to the sHC
                                                         reports and press releases alleged
  business and was provided with copies of the company's

                                                          issuance and had the ability and opportunity
  herein to be misleading before, or shortly after, their

                                                            Olafsson also would have received
  to prevent their issuance or cause them to be correctecl.
                                                    price increases on Teva's generic drugs'
  reports showing the amount of profit earne<l from

                   Olafsson assured investors <luring the iìelevant Period
                                                                                         that leva's strong
           285.
   performance in its generics business was not the result
                                                           of pricing changes: "This is $1 billion
                                                                                                    pricing
   improvcment in operating proht          <>vet   24 months period. So how dicl we do this? Not by




                                                           103
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 109 of 134




but by portlòlio mix, new products, and eificiency measurcs." In response to an analyst request

regarcling the source of price increases, Olafsson fàlsely responded as lòllows: "So first of all, it

cloesn't work like we wake up when we are one Company, and we can takc price incre¿rses.

Sirnply, it doesn't work like that in genorics. Whcn prioc increasos are tal<en, there 's sornc kind

of abnormality in the business. 'fhere are shortages. So thore 's always somebody happy to

take a little bit lower price. So it's a very competitive business we're      in."   llven in the face of

this direct question, Olafsson never disclosed the price increase plan.

        286.   The Individual Ðefendants were nntivated to contmit fraud .f'or tlteir own

personal   guin.   Teva aims to incentivize its executive officers by creating a strong link between

their compensation and performance. Therefore, a significant portion of the total cornpensation

package provided to Teva's executive ofhcel's is based on measures that reflect        both'feva's short

ancl long-term goals and perl'ormance, as    well   as the executive   officer's individual performance

and impact on shareholder value    . For example, the Individual Dcfcndants      received cash bonuses

of as much as 158% of their annual salaries based on performance mctrics direotly irnpacted by

the price increase plan. As described by the Company's Compensation Polioy lbr Bxecutive

Officers and Directors (the "Compensation Policy"),              "A    significant component      of   the

Compensation Policy was the Company's annual cash bonus progratn." Teva described the

bonuses as "strictly    pay-for-performance          as payout eligibility and levels are determined

based on actual financial and operational results, as     well as incliviclual performance," Teva also

made substantial equity grants to Defendants Vigodrnan, Desheh, Olafsson, and likely other

senior officers, including options to purchase shares, awards of restricted shares, and awards of

Performance Share Units ("PSUs"), the value               of which were likewise tied to          Teva's

performance.




                                                    104
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 110 of 134




                                                                 'l'eva's price hikcs, the prices of
       zB7. As a result of th,, number          and magnitude of

.'eva,s securities soarecl. 'fhc price oi''l'eva's ADS rose fio'r just below $45 to a l{elevant

                                    5,   'r'he Incrivicluar Defèndants        millions       in   personal
periocr higrr   or $72 in                                              ''rade
                          'ricl-20r
                                                                                'l'eva reported
                  this            aohievemcnt' For exatnple' for the year 2015'
compensation from      sr,rpposed

                                           i.   oash ancl $ì1.7   miilion in equity compensation. (LIis
paying Desheh more than !ì1.8 million
                                                                                           'r'eva reported
compensation was not disclosed     for z0r4 or2016). Iìor the years 20r5 ancr 2016,
                                                   in   cash and more than $3'5 million           in   equity
paying olalison more than $4.8 million
                                           clisclose<l for 2014)' For the years
                                                                                2014 to 2016'
 compensation. (I-lis compensation was not
 .fevareportedpayingVigoclmanmorethan$S.4millionincashandmoretlranlÙ5millionin

 ecluity comPensation.
                                                                                      and equity
         288. ln 2014, Vigoclman,        l)esheh, an<l Olafsson received oash bonuses
                                                  .I-eva,s
                          in signifìcant part, 0n             aclrievcmcnt o1 certain lÌlnancial targets,
 compensation based,

                                     gencratecl from the price increase plan'
 which were impacted by the revenues

          28g.Accordingtothe201420-F,tnorethanT0o/'orvigodrnan'scashbonuswastied
                                          for non-GAAP operating profit, 2l'2% for
                                                                                   non-
  to such financial targets (specif,rcally,35.4o/o
                                             He was entitled to             a bonus   of 140% of salary for
  GAAP net revenue, and |4.2%for cash flow).
                                                                              ir n5% of the targets       were
                                               or200Yo of salary
  achieving 100% of the targets, and a maximum
                                                     $4'5 million' comprised            of: (i) a salary of
  met.   FIis total reported compensation was nearly
                                                                  (ii)      a one-time bonus o15237 '401
   $1,1tì3,888, a bonus   of $1,868,477 (roughly 158% of salary);
                                                               "stfengthenfing] its leading position in
   for ,,signilìcant achievements and efforts,, inoruding'reva
                                                   shares at $41'05; (iv) a grant of 15'660
                                                                                             restricted
   generics"; (iii) options to purohase 280,702

   shares;and(v)agrantof30,869PSI.]sbase<lorrtargetsofcunrulativenon-GAAPoperating

   prolitandcumulativenon-GAAPnetlevenuefrom2014to2016.



                                                        105
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 111 of 134




        2g0. llecause olafsson and           Desheh weÏe      not among 'l'eva's five highest             paid


                                           bonuses were not crisclosccl
                                                                         (olafsson joincd'l'ova in
exccutives ittz0r4,their salaries and cash
                                                                                  shares at $ì54'02
                                            inolu<lecl optio's to purchaso 88'238
July 2014). Olal'ss'n's other compensation
                                                                of   1l           PSLJs based   on'feva's 2014
per share, a grant   oÍ   18,229PSUs, ancl an ad<litio'al grant           '773

                                              irrcludecl options            ttl   purclrase 98,581 shares at
perfornrance. l)eslreh,s other competrsertion
                                      PStJs'
$48.76 per share and a grant of 20p66
                                                                 cash                    bonuses and equity
         2g|. In 2015, Vigodman, l)esheh, and olafsson receivecl
                           in signihcant part, on'leva's      achievemcrf         of certain fìna'cial   targets'
 oompensation based,

 whichwereimpactedbytlrerevenuegeneratedfromthepriceincreascplan.
                                                                                              was ticd
                                                            7}vo of vigodman's oash bonus
         2g2.   Aooording to the 2015 20-Ít,more than
                                                                                              fbr non-
                                                   for non-GAAP operating profit' 2l'2%
 to such firnancial targets (specifically,35.4o/o
                                                                                                     or
                                      free  cash flow). IIe was entitlecl to a bonus of up to 200o/o
 GAA' net revenue,     and  14.2%for

                                          vigodman's total                        reported compensation was
  salary if 125% of the targets were met'
                                                                                          (roughly
                $5.7 million, comprised  of asalary of $1'363'692' abonus of 52'253'581
  approximately
                                                                            ancl a grant of 30'869
          salary), options to purchase  163,859 shares at $57'35 per share'
   165%of

  PStJsbasedonl.eva'S2014to20l5cumulativeperformance'

          2g3.Accordingtotlre20l520-Iì,Deshehan<lolafssonalsowerecntitledtobonuses
                                                                             proht, 15olo for net
   based on such financiar targets
                                   (specifically,zlo/ofor non-GAAp operating

                                         in amounts of up to 200% of salary               \f r20% of the targets
   revenue, and l0% for free cash flow),
                                                                                      comprised of a
                         total reported compensation was appfoximately $4'3 million'
   were met, Desheh's
                                                                                              89'376
                                                (roughly I51% of salary)' options to purchase
   salary of $ì733,tì63, a botrus of $1,110,824

    shares at a price   of $57'35, ancl a grant of 16'838 PSI'Js'




                                                        106
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 112 of 134




       2g4.Olalison,stotalreportc<lcompensationwasappfoximatcly$ì3'gmillion;he
                                                                                             I'lc also was
                                      abonus   of gì1,44g,375 (roughry 151or¡ of salary)'
                      gg54,g55    and
reoeivccl a salary of
                                                                          an adtitional 160'114 shares
                                94,343sharcs    at $57.35 pcr share, ancr
awarded oplions to    purohase
                                                                                                          of
                                                                 of work an<l responsibilitics as
                                  of the increase  in. . . scope                                    'read
 at $59,19 per share,,Iirn ligrrt
                                                                                                       grant
                                                       with  the Actavis aoquisition"' as urell as a
                               Group in    connection
 Grobar Generics Meclicines

  of|7,7]3PStJsbasedon.leva,S20ï4to20l5oumtrlativeperfortnance,

             2g5.TeVa,SADSpricereaclredalrighof$72onJuly2],2015,makingthepotential
                                     , z'r.and                                       at the height o1'the
                                                     2015 options quite signi,ircant
 varue of the Individuar Defcnclants
                                                                                                      the
                                              because
                                                        'reva was a "rbreign private issuer" during
                                  However,
  allege<l frauclurent scheme.
                                                             sares and, therefore, it
                                                                                      is unknown whether
                             not recluirea to report insider
  Relevant   periocl, it was
                                                                                                 activity'
                                      or  any  other  insider, engaged in suspicious tracling
  these Individual Defendants,

   Evidence of insider trading,
                                  if any, could bc obtained in cliscovery'

             296.suspiciously-timetlexecutivedeparturessupportaninference0.fscienter'ln
                                                                                      increase in gcneric
                                   pranwas   intatters  as aresurt of the inevitable
    rarez0r6,as the price increase
                                                                                            and the GAO
                                      generic drug  approvals   and basic market forces'
   competition resulting from
                                FDA
                                                                                           key executives
                                     pleas, and  state  AGs',  allegations mounted' the
   Ileport, criminal charges, guilty
                                                     crepartecl or wcre fired
                                                                                in relatively short order'
                                           business
   responsible for.reva,s u.s.
                                  generics
                                                                                      of olafsson' the 48-
                                       unexpectedry    announced the "retirement"
    rìirst, on December 5,20r6,Teva
                                                                                              employment
                                 (olafsson  clid not'  in  fact "IetiÏe" but instead found
    year-old head of generics
                                                                                            "raisled] more
                                    As  reported  by   Thestreet, orafss<ln's departure
     elsewhere in the industry).

     questionsfbrinvestorsamîdcontinuedworriesarounddrugpricing.',

               2gl.Justtwomontlrslater,onF.ebruary6,20IJ,as.l-eva's|tnancescontinuedtosag
                                                                                         announced
                                           continuecl to gather steam, Teva unexpectedly
      an<l
                            investigations
             the governmental



                                                          107
          Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 113 of 134



                                                                                           a
                                  vigocrman, effective irnmediatcry and without announolng
the termination of      Defendant

permanentreplacemont.'l.lren,onApril25,20lT,numeLousmecliareportssurfàcedlhat
                                                   'fhes., rcports were confìrmed the next
              wourd
DefenrJant Desheh   rre pushea out as c'o at'feva.
                                             .r.eva                             Desheh wourcl be   steppi'g
                     Apr'   26,   z0rl6-K,            announced that De fendant
<ray   when, in an
                                                                                      could move on to
                                 company  i',,the  coming months" so that Desheh
.own as clro an<l leaving  tl-re
                                                                                                  of the
,,the next phase of [hisr carecr.,, rn its rrrst f,rnancial
                                                            report issuccr after these architects
                                                                                                generics
                                 announced   a $6.1  b'lion   write dow'of its entire rJ'S'
 fraucl were removecl,'r.eva

 business
                                           OF LOSS CAUSATION
 VII.      THE TIIUTH EMERGES: ALLEGATIONS
                                                                                           the truth about'
                                 false  statements  and material omisstons concealed
          298     Defendants'
                                                                                  resurts through massivc
                         by,  their business   practice of improving business
  and risks presented
                                                                                          misstated include
                     .fhe tr.uth and risks that wcre concealecl and/or afrrrrnatively
  price inoreases.
                                                                          long-term beoause of the FDA's
                the price  increase  plan  was not sustainabre over the
  the fact that
                                                                           approbation an<l governmental
             of  new   drugs,   natural  competitivo pressuÍos' public
   approval
                                                                       -reva's participation in an industry-
                                             became   non-viable, ancr
                                   the plan
   investigations and that once
                                                            revenues and profits would
                                                                                             fall' negatively
                                          the  company's
   wide conspiracy was revealed,
                                                                                   public through a number
                         price,  These   risks  became  apparent to the investing
    impacting its stock
                                                             securities'
                                  impacted prices for Teva's
   of revelations that negatively

              A.      August 4-5' 2016

                2gg'AfterthecloseoftraclingonAugust4,20:l6-lwodaysaftertheActavis
                                                        F-orm 6-K, reporting its
                                                                                   second quarter 2016 hnancial
                                     rrled the   2Q16
       transaction closed_Teva
                                                                                                   compared to the
                                             decline  in revenue  in the u.s. generics segment
       results, inclucling a $434   million
                                                                                         that 'reva was implicated
                                  . The  2e    6 Iìorm  6-K revealed for the first time
        second quarter of 20  1 5            1



                                                       investigations, stating:
                                                                                 (i) "roln June 21' 201[6]' Teva
                         and state   AGs,   antitrust
        in the fèaeral

                                                              108
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 114 of 134




IJSA received a subpoena from the Antitrust l)ivision of the lJnited Statcs Department of Justioe

seeking documents and other information relating to the marketing and pricing of'certain     of feva

IJSA's gcneric produots and communications with competitors about such produots" and (ii)

"fofn July 12, 2016, Teva USA received a subpoena hom the Connecticut [AGl                    seekirig

documents and other information relating to potential state antitrust law violations."

       300. While these disclosures partially            revealed the relevant truth concealed by

l)efendants'misrepresentations and omissions, Defendants misleadingly attributecl'I'eva's

disappointing results to the loss of exclusivity on certain drugs, and a decline in sales in others,

expressly denied the impact of price hikes, and reaffirmed Teva's inflated outlook for 2016.

           301.   In response to this information, the price of 'l-eva's ADS declined $1,24 per share,

or approximately 2.24Yo, fiom its closing price of Íj55.45 on August 4,2016, to a close of $54.21

on August 5,2016, on high trading volume, wiping out $1.13 billion in market capitalization.

           B.     Novcmber 3 and November (t,2016

           302.   On Thursclay, November 3, 2016, before tlie lJ.S, markets closed, and after the

close of trading on the     'l'Asll, Bloomberg reportecl on the government's "sweeping criminal

investigation into suspected price collusion," spanning more than a dozen companies, including

'leva, and about two dozen drugs, and that charges could emerge by year-end.

           303.   On this news, the price of Teva ADS fell $4.13 per share, or approximately

9.53o/o,   from its closing price of $43.33 on November 2,2016 to close at $39.20 on November        3,


2016, on high trading volume, reducing'Ieva's market capitalization by another 53.77 billion.

           304.   Analysts from S&P Capital IQ lorvered their rating of Teva ADS in response,

from "buy" to "hold," and Ilierce Pharma reported that analysts believed the investigation could

have a sizeable financial impact on 'leva, estimated to be as much as lì700        million. The New
                                                                               -fhursday
York T'imes similarly reported that: "'fhe generic drug industry was jolted on           as shares


                                                   109
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 115 of 134




of many major companies tumblcd aftcr a news roport said that a fèderal incluiry into drug price-

fixing was wider than previously believed and oould lead to charges by the end of the           year.

Sharcs   in '|cva Pharmaceutioals, the world's largest generic drug makcr, f'ell more thatr 9
peroent, and the stock of oompetitors like Mylan, Iìndo Pharmaceuticals and Iurpax l-aboratories

had similar declines." (Katie 'J-homas, Nev,s of' (lharges in Price-Fixing Inquiry             Sends


I'harmaceuticals'['umbling,N.Y.'l'imes (Nov. 3, 2016), at B5).

         C.     Novcmber 15,2016

         305.   On November 15, 2016, before the lJ.S. rnarkcts opened (and during tracling on

the 'IASE), Teva lìled a press release on F'orm 6-K with the SEC, reporting third quarter 2016

revenues below consensus expeclations. During an investor conference call that day, Olafsson

explained that the disappointing results were a result of pricing pressures, stating that, despite his

past denials that Teva was exposed to or had observed pricing pressure, price erosion in Teva's

U.S. generics business in fact had been approximately 7Yo (as compared to the 5% Olafsson had

recently stated on Septembel9, 2016).

         306,   'While these disclosures partially revealed the relevant truth concealed by

Defendants' misrepresentations and omissions, Defendants insisted that the pricing pressure was

limited and woulcl not last beyond the cluarter', continued to attribute the Company's

disappointing results to divestiture of certain generic products related to the Actavis acquisition,

and continued to conceal Teva's anticompetitive concluct and collusion, improper financial

reporting and disclosures, and Teva's true financial and business condition. Moreover,

Defendant Vigodman stated that, "we are not aware          of any l'act that would give rise to     an


exposure to Teva with respect to the fDO.f] investigation."

         307.   1'he prices of ll'eva ADS fbll again in response to this news, cieclining $3.43 per

share, or 8.36Yo, from its closing price   of $41.03 per share on November 14, 2016 to close at

                                                  110
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 116 of 134




                                              trading volutne, orasing another $3.3
                                                                                        billion itr nrarket
$37.60 on November 15, 2016,on lriglr
                                                sirnilarly cleclinecl lLsT'2'' or 4'58o/o' fro'r
                                                                                                 its closing
 capital\,zat\'n. 1'eva's or<linary share price

                                                          at ll',s149'90 on November 15' 2016'
price of ILS157.10 on Nclvembcr 14,2016 to close

        30tl.Marketparticipantssinrilarlyresponded,withanalystsatJef-Íèriesdowngraclir-rg

Teva ADS from "buY" to "hold'"

         D.      I)ecember 5-6,2016
                                                                               'feva f,rled a Form 6-K,
         309' After the markets closed on December 5, 2016,
                                               even though he was only                    in his late 40's'
 announcing Olalsson's immediate "retirement,"
                                             that olafsson ha<l in fact been pushed
                                                                                    out' stating in
 Analysts at Piper Jaffray quickly concluded
                                                                                     guidance and
              6,2!l('¡report: "when   a company   issues what many view as bullish
 a Decembe  r

 tlrenwalksthatbackwithinaquarterofissuingsaidguidance.itwoul<lonlybenaturalto
                                              at the top of the organization'"
  conclude that there woul<1 be rcpercussions
                                                          departure to the apparent rise in
                                                                                             generic
          310.   Other analysts tied Olafsson's abrupt
                                                                                              report'
                                                         commentecl in a l)ecember 6' 2016
  pricing pressure. For example, analyst Morningstar
                                                                                          as cE'o of
       .,Teva,s announcement that Dipankar Bhattacharjee will replace siggi olafsson
  that
                                                                                                 drug
                                                        Iìecent pricing pressure in the generic
  the gener-ics segment does not inspire confidence'
                                                 on the 40mg version of copaxone
                                                                                      in 2017 remain
   market and anticipated generic competition
                                                    which makes the abrupt leadership change
                                                                                                      a
   signilicant near-term ohallenges    for  Teva,
                                                                                           in a report
               developme nl af acritical  time for the company'" BTIG similarly stated'
   concerning
                                   ..[w]ithout Siggi olafsson at the helm of Teva's global generic
   date<l December   5,20|6,that

    segment,wetlrinkinvestorsentimentcou]clworsenasthemarkethasremainedfocusedonprice

    erosion for the [company's] base generics
                                              business'" Citi (at the Citi Global Ilealthcare

    Conference)anclPiperJaffray(inaDecember6,20l6report)expressedconcernthatolafsson,s



                                                         111
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 117 of 134




departure suggested that there may be something "going on internally in tlie generics business"

that had not been disclosed.

       311.     In response to this news the price of 1'eva ADS fell Íì2.01 per share, or:5.43'%, thr:

next trading day, from its olosing price of'fì37.04 per share on December 5,2016, to close at

$35.03 per share on l)ecembler 6,2076, on high trading volume, and reclucing
                                                                             'leva's market

capitalization by fì1.96 billion.

        E.      I)ecember L4,2016

        312.    As had been previewed on November 3,2016, on l)ecember 14,2016, the DOJ

announced the anticipated criminal investigation and disclosed that       it   had charged Glazer and

Malek, the former CEO and President of I'Ieritage, respectively, for their roles in conspiracies to

fix prices, rig bids, and allocate   customers for certain genedc drugs, namely Doxycycline (as

early as April 2013 until at least December 2015) an<l Glyburide (as early as April 2014 until at

least December 2015), the latter for which'leva was a dominant malket partieipant cluring the

Relevant Period. The DOJ further stated that the charges stemmed from its ongoing federal

antitrust investigation into price-hxing, bid-rigging and other anticornpetitive conduct relating to

generic drugs and marked "an important step" in ensuring true competition among companies "at

a price set by the market, not by    collusion." Two-count felony charges for violations of Section

 1 of the Sherman Act against Glazer and Malek also were unsealed that day, alleging               the

following in sum and substance:

        .    various corporations and individuals participated as co-conspirators in the offenses
             and performed acts and made statements in furtherance thereof;

        ¡ the defenclants and co-conspirators knowingly        entered into and engaged in 'à
             combination and conspiracy with other persons and entities engaged in the production
             and sale of generic drugs, including Doxycycline and Glyburide, the primary purpose
             of which was to allocate customers, rig bids, and fix ancl maintain prices of those
             drugs sold in the United States; and



                                                  112
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 118 of 134



                                                                                     ancl eonspllacy'
                                               oarrying out the chargccl ootnbination in meetings and
      *    fòr the purpose of forming uld                  niltt"t ;i;;; pu''ti"ipottcl
           the del.onclants ancl "o-"onrp,,ärlî*,'u--n,]g U, allocatc custclmers or rig bicls for the
           oommunications to discuss
                                           ,',"ä;      of¿                                        bids'
                                 to oompete;*;*;.;;"n     áth"t   fn' certain oustomors; submitted thc
            clrugs; agr:eccl not                                    with their agrecments; and sold
           withheld           an. issuecl pr"ö'^L' 1"-u'"n'dunee
           <1rugs at    'ids,
                       collusive and nonoompetitive prices'

       3l3.lnrcsponsetothisnows,thepriceof,fevaADspricelèll$0.66pershare,or
                                                        on l)ecember 13' 2016
                                                                              to close at $37'00
                            its closing price of $37'66
approximat ely !.7So/o,from

pershaleonDecember|4,2016,erasing$Tll.Tmillioninrrrarketoapitalization'

          F'"      l)ecember 15-tr8' 2016

          3|4.Onl)ecember15,2016(afterthe.fAsE,closed),theCTAGannounoedtlrathe
                                                                      and five other drug
                                             lawsuit against Teva uSA
 an<l 1g other state AGs
                         had rrred a federal antitrust

                                                  ancl Mylan), alleging
                                                                           that they had "entered
                                  citron, Mayne,
 companies (rleritage, Aurobin¿o,
                                              lestrain tracle, artihcially
                                                                           inflate and manipulate
 into illegar conspiracies    to unreasonably

                                 foÏ Doxycycline an<lGlyburide'
 prices, and reduce competition"

           315.'fheDecernber15,2016pressreleasestateclthatportionsoftlrecomplaintwere
                                                                                of additional
                                               investigationil" as to "a number
  redaoted
             ,.to     compromising the ongoing
                   avoid

                               that:
  generic drugs," but revealed

                                                                           piarmaceuticals' The
            InJuly20t4,thestateofConnecticutinitiate<l[anon-public]investigationofthe
                                                       of
            reasons behind suspicious
                                        pri;;*;r;ases      "ttråi"i""eric
                                           ongoing as to a n"n1u"i
                                                                     of a<lclitional generic drugs'
                                                                 iong-'unning conspiracy to
            investigation, whioh is                                                             hx
                                  of-still
                                      u  *tùlcooî<linated   u"i
             uncovered evidence                           t'v"r'utt ¿åuv"¿ rerell.ana
                                                                                         gtvburide'
             prices *ä           markets     fä"";rtt"i*"                          and carried
                        "ii;;;ie the statesäI.;'rú   the misconduct was conceived
             In today's lawsuit,                                           marketing and sales
                                          äT"Ë",ìïär äiJ
             our by senior drug comp*,                    'rttr'ï"uot¿i*te
             executives'

             Thecomplaintfurtheralleges.th",11",'1.":îdantsroutinelycoordinatedtheir  traclc shows'
                              .irect intcräction  with rhcir comf"titor: ^1.i"d::Tv phone and
             schcmes  through                                             direct email'
             customer conference, ^r'r¿
                                        o'tiääï*r'u, *"rt å'îr"ough  conâuct - including effotls
                                                                                                 to
                                              The   antico*p"titi.,.
             text message communi"utio,','
                                                   markets unã--oth"'*ise
                                                                            thwart competition -
             fix and maintain   prices,  uiio"ut.
                                                  continuing          in the countty's healthcare
              caused signihcant,  rr**rri^  "nã               "ift*t
                sYstem, the states alloge'


                                                         113
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 119 of 134




       'I'he states lirther allege that the drug companies know that their conduct was
       illegal and made efforts to avoid communicating with each other in writing or, in
       some instances, to delete written communications after becoming aware of the
       investigation. 'fhe states allege that the cornpanies' conduot violated the lederal
       Sherman Act ar-rd are asking the court to enjoin thc companies 1ìom ertgaging in
       illegal, antioompetitive behavior and for equitable relief, including substantial
       lìnancial relief, to address the violations of law and restore compotition.

       316.    As lìorbes reported that day, the complaint revealed new inlòrmation regarding

'leva's potential exposure relating to two generic drugs, in that it "makes clear which companies

could be implicated in the antitrust investigation federal proseoutors are pursuing," including

'leva. It further noted that, according to the state AGs, Malek had a direct relationship with     a


Teva employee and the two agreed to raise the prices of Glyburide.

       317.    On this news, the price of 'l'eva ADS fell $0.27, or 0.73o/o, from its olosing price

of $37.00 on December 14,2016 lo close at $36.73 on December 15,2016, reducing'l'eva's

marlcet eapitaliz.xion by another fl29l million.

       G.      .Ianuarry 6-8,2&17

        318.   Before the NYSII opened (and when the TASE, was closed) on January 6,2017,

il'eva lilecl a press release on Forrn 6-l(, announcing a significant reduction in2017 guidance, far

below market expectations, due to previously-unannounced poor perfbrmance and inoreased

competitive pricing pressures in the market. The press release quoted Defendant Vigodman,

who stated, "[t]he entire healthcare sector has faced significant headwinds, and we have not been

immune." As explained by Morningstar in a January 6, 2017 report, "Teva's management

lowered its 2017 outlook frorn its previous forecast released in July 12016, at the time of the

Notes Offering] astheJirm succumbs to increøsed competítive pressute, especially in the U.S'

generics market."

        319. While      these disclosures partially revealed the relevant truth concealed by

Defendants' misrepresentations, duling     ¿r   conference call that <lay Vigodman falsely attributed


                                                    rr4
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 120 of 134



                                                                            'r'eva regacy busi'ess '
.reva,s poor resurts ,,to not bei'g ablc   to rearir,e new launorres in our                            '



                                                                              collusion dissolvecl'
                                          rather than prieing pressure as the
consistent with our past track-record,,,
                                                                                        to thc lowerod
                   'fhestreet ropotle<l, 'l()va's ADs price "plumntetecl" in respclnse
        320.   4s
                                                                        share' or approximately
                                     price of Teva ADS fell $2'86 per
2017 guidance. speeifically, the
                                                                                        6'20rJ '
              its closing price of g3l.g6on.Ianuary 5,2011to close at $35'10 on January
1.S3o/o,fi.om

                                        $3.1 billion in marlcet capitalization'
 on high trading volume, erasing nearly

         H.     FebruarY 6-7,2077

         3zl.onlrebruary6,z0lT,afterthecloseoftraclingontheNYSE,inallorm6-i(filed
                                                                                           and
               Teva announced the  termination of vigoclma' as cto, ef'fective immediately
 with the sEC,
                                      his removal lrom the Iloard of Directors'
 without a permanent replacement, and

          322.Whilethesedisclosurespartiallyrevealedtherelevanttruthconcealedby
                               additional information continued to
                                                                   be concealed by the
  Delèndants' misrepresentations,

  CornpanY.

                                      the  close of trading on February 6 and on lìebruary 7,
          323. on this news, between
                                                                        preferred share price fell
                      fe'       or 6.2go/oto crose at $ù32,1g; an<l the
   z.r,the  ADS price     $2.16

   $29.00 or 4,5To/oto close at $605'00

           I"      August 3-7,2017

           324.BeforetheNYSEopening(andduringtradingontheTASE')on'I'hursday'August
                                                                                            quafler
                                         on Form 6-K, announcing lower-than-expected second
    3,201J,'fcva   filed a press release
                                                                                             price erosion
                        poor  performance   in its rJ.S. generics business an<l "accelerated
    2017 results due to
                                                                                competition as a result of
                    volume  mainly   due to  customer co'soridation, greater
    and decreased
                                                                                    product launches that
                 in generic  drug  approvals   by  the tJ'S' Þ-DA' and some new
    an increase

                                      more competition'"
    were either delayed ol subject to




                                                        115
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 121 of 134




       325.     'feva also disclosed a net carnings loss prin-rarily due to a $ì6.1 billion goodwill

impairment charge in its [J.S. generir:s unit-which consistcd of both 'i'eva legacy and Actavis

generics business- revealing thc true value of thc combined lJ.S. generic business.

       326,     These disclosuros revealed that 'I'eva was lacing signifìcant and pertnanent

generic pricing pressure-which pressures Defendants had, until then, vehemently clenit:d and

the price of 'feva seourities declined signilicantly in response. As lìloombcrg reported: "Phartna

Giant'leva's    Stocl<   Is lmploding As Generic Drugs Get Cheaper." Moody's also downgraded

Teva's debt rating to llaa3 (one step above junk), with a negative outlook, citing "weakness in its

US generics business" among other things. Specihcally, 'l-eva ADS prices fell $7,50, or 24.00Yo,

from its closing price of $31.25 on August 2,2017 to close at523.75 per share on August                 3,


2077, on high trading volume-wiping out Íìt1.08 billion                in market capitalization.   'I'eva's

ordinary share price also declineci II-S19.[ì0, or 17.79o/o, from its closing price of ILS11l.30 on

August 2,2017 to a close of ILS91.50 on August 3,2017.

       327,      On Friday, August 4, 2017,Iìitoh Ratings downgraded 'l'eva to BBB- (one step

above junk), with a negative    outlook. Teva's ADS price continued to fall, an additional $3.15, or

13.260/0,   from its closing prioe of 523.75 on August 3,2077 to close at $20.60 on August               4,

2017, on high trading volume-removing another fì3.2 billion in market capitalization.

        328. 'fhe next trading        day, Monday, August 7, 2017, Morgan Stanley downgraded

'I.eva's ADS to "Underweight," noting that it had "underappreciated the risk of generios pricing

pressure to Teva's earnings and dividend, and we expect'feva to continue to underperform given

overhangs."

        329. The prices of Teva Securities oontinued to drop, with Teva's ADS                       prices

declining an a<l<litional $2.01 ,   <>r   9.760/o,   from its closing price of $20.60 on August 4,2077 to




                                                         116
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 122 of 134




                                                           wiping out anothcr Íù2'0 billion in
olosc at $18.59 on August 7,2017,on high tracling volutne,

market capitalization.
                                                                               lell $i12'66 '             40'51Vi''
                  In total, over these three tracling ilays,'I'eva's ADS price
                                                                                                   cst:
       330.
        J"        Novcrnber 2r2017

        331.OnNovember2,2017,'fevahledapressreleasewiththesE'ConaForm6-K
                                                           inclucling a 9o/n decline                         in ll'S'
announcing lower-than-expectecl Q3 2017 financial results,

generic cluarterly revenues compared              to Q3 2016' 'fhe Company attributed the decrease in
                                                                                          accelerated
generic fevenues      to "pricing   <leolines resulting from oustomel collsolidation an<l

                                                                        medicines as well                             as
 FDA approvals for. additional generic versions of competing of{:patent
                                                             (concerta(Ð authorized generic) due
 volume docline of methylphenidate extendecl-release tablets

 to the launch of a competing product'"
                                                                             continued to clecline. From
          332,      In response to this news, tlre prioes of Teva Sccurities

 the close of tracling on November          i,   2017 ,   to the close of tra<ling on lrloveml:er 2' 20Il ' Teva',s

 ADS price fell $2.79 or     19 .90o/o   to close at fi 1 1 '23   '


                                                                         that the results were even
          333.      commenting on this news, RBC Capital Markets statecl

 ,,below our cautious expectations," and that the "magnitude of weakness in the IJS generics

                                                        vy'elrs }ìargo stated that'leva's rosults
  business in both revenue and margins was surprising."

  were "especially disappointing' "

          K.         FebruarY 8' 2018

           334.OnFebruaryS,20itl,TevafiledapressreleasewiththesE'ConalrormS-K

  anrroui-ioing its   e4 2ar7 andFy              2or7 rrnaneiar resurts, including a signirrcant $17.1 billion
                                                          'reva's lJ's' generics business' Teva
  goodwill irnpairment, of which $10.4 billion related to
                                                                             deterioration in the                     u's'
  statecr trrat   the $10.4 billion impairment was based in part on "further




                                                               t17
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 123 of 134




genefics marlçet"--inclurling "fplricing challenges due             to   governnìent regulation"--and the

                                                                                anticipatcd'
Company,s rcsulting expectation of "larger pricing cloclitres" than previtlusly

                                                'I'eva Securities continucd to declinc. lìrom thc close
        335.        On this news, the prioes of
                                                                                        ADS price
of tracling on lìebruary 7,201[], to the olose of tracling on lrebruary 8,2018,'l'eva's

fèll $2.21 or      10.60/o   to close at Sì18'64.

        336. In response             to this news, wells Fargo observed that Teva hacl misscd consensus

                                                                      generic pricing worsening
expectations "by a significant margin," pointe<l to "commentary about

                                                                                    as rellective
in 4e,,,and co¡cludecl that investors "should see fTeva's $17.1 billion impairment]
                                                                                 charge
of how challenging the situation is." IBI Ilrokerage stated that the impairrnent
                                                                                                          was

,,almost entirely for the generios business in the US," and that Teva's 2018 guidance was "way


below market exPectations."

        L.            I)ecemtrer 7-10' 2018
                                                                                          Connccticut
         337   .      On December 9, 201tì, an article \n |'he Washington Pnsf quoted the

                                                                         had expanded to at least
 Assistant AG Joseph Nielsen as stating that the State AG investigati<ln

 l6 companies        anci 300 <lrugs, ancl exposed   "the largest cartel in the history of the lJnited States'"

                                                                                    conduct, and
 While the article cited Teva's oontinued denial of engaging in any anticompetitive
                                                                               "are entirely conclusory
 its statement in a courl liling that allegations ol'a priee-fixing conspiraQy
                                                                                                      of
 ancl devoi¿    ol any facts," the price of Teva Securities dropped significantly with the disclosure

 the State AGs' expanded investigation.
                                                                                      day before the
         33g.          From the close of trading on December 7,2018 (the last trading
                                                                         ADS price fèll $0'97 or
  arltlouncement), to the olose of trading on l)ecember 10,2018,'l'eva's

  5o/oto close at $18.44.




                                                          118
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 124 of 134




       M.      MaY 10-tr3,2{1tr9
                                                                                  a 524-pagc
       339. on May 10,2019,          after the market closed' the state AGs fìled

                                                        fàcts r:egarding'l'eva's participation
                                                                                                 i'   the
antitrust cornpraint revearing previousry u'clisclosecl
                                                           'flie May 2019 complaint     cletails 'leva's
inclustry-wide generic drug price-lixing conspiracy'
                                                   generic drugs' compareci to the 7 drugs in
                                                                                              the
price-hxing with respect to at least 86 clillbrent
                         .fhe                                            implemented significant
previously_I1led action.      compraint further asserts that the company

                                                 drugs, incluaing astonishing price hikes
                                                                                          of over
price increases *br approximately 112 generic
                                                                                     a central player
                                              role as a "consistent participant" and
 1,000% f.or some drugs, an<l details.r.eva,s
                                                    namcs four'feva employees as <lefèndants:
 in the conspiracy. Further, the May 2019 complaint

 Cavanaugh, Patel, Gteen, and Rekenthaler'
                                            'leva's ADS declined by     14'83o/o'   from a closing price
         340.    on this news, the price of
                                        price of gl2'23 on May 13'2019'
 of'$14.36 on May 10,2019, to a closing

                 Analysts expressed surprise in response
                                                         to the revelations in the state AGs', May
          341.
                                                stated that "the price-fixing lawsuit
                                                                                      is worse than
  l0,20Ig cornplaint.   Iror example, Bernstein
                                                                                                  to
                    .,there seem to be specific cases in the lawsuit that are going to be hard
  we expected,, and

  explainaway',,J.P'Morganstate<l:..'Wewereopentothemajorityofpricespikesbeing
  .explainable,bywayofshortages,limite<lcompetition(onlytwoorthreeoompetitors),andprice

                                                              sorely disappointe<l by the nature
                                                                                                 of the
  ,signaling,, a gfey area of antitrust   law. so we were
                                              in the expanded complaint'"
   direct quotes attributed to'feva employees

           342.PlaintiffssufferedactualeconomiclossandweredamagedbyDefendants'
                      ancl otnissions when the truth concealed
                                                               by such misrepresentations and
   misreprescntations
                                                      ot1 August 4-5' 2016' November
                                                                                         3-6' 2016'
   omissions was revealecl  through the disclosures

                                                          14'2016'f)ecember 15-18' 2016', 'Ianuary
   November 15,20l6,December 5-6,2016,I)ecember
                                               20|J , February 8, 20:18, Decenrb
                                                                                 er 7 -10, 2018, and
    6-8, 2016,August 3-] , 20|7 ,November  2,

                                                     119
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 125 of 134




May l0-13,2019. Bach disolosure served to remove some olthe artilìcial inflation in the price

of ]-eva securities.

        343. 'fhe negative events and disclosurcs on these clatcs were dircctly related to
Defendants' li'audulent schemc. Del'endants' material misstatemerfs ancl omissions concealecl

fìom tho market, anìolìg othcr things, the fact that thc Company's financial condition ha<l been

the result of its price increase plan, rather than the faotors citcd by Defendants. Defendants

falsely and misleadingly reported more than $1 billion in revenues generated from undisclosed

price increases in the Company's core [J,S. generic drug business, revenues which were

unsustainable.

        344. None of these events or disclosures was sufficient,     on its own, to fully remove the

inflation frorn the prices of 'feva securities because each only partially revealed the scope and

consequence    of Defen<lants' liaudulent schemc. 'lhe corrective effect of cach new picce of

inf'ormation was tempered also by Defèndants' continuing efforts to conceal the true risks and

conditions arising from Teva's involvernent      in the undisclosed price increase plan,      which

prevented the price of 'feva securities from declining to their true value. As a result, the price of

'leva securities remained arlificially inllated until the end of the Relevant Period. As Plaintiffs

continued to hold 'I'eva securities, and/or purchased or acquired those securities, the artificial

inflation oaused them further injury when additional information was revealed.

         345.    Defendants' oonduct, as alleged herein, direotly and proximately caused the

damages suffered       by Plaintiffs. As a result of Defendants' wrongful conduct slowly being

revealed on the above dates, the price of Teva ADS, which had steadily increasecl fiom the start

of the Relevant Period to an all-time high of 572 in July 2015, had 1ällen to less than $12,

reducing market c'apilalizaLion significantly as the truth leaked   out. 'fhe Company experienced



                                                 t20
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 126 of 134




dislocation and uncertainty due to the abrupt departurcs of'three top executives and ongoing

disruption and fàllout l'r<lm irulncrous criminal and civil invcstigaticlns and litigations. Its credit

ratings were downgracled to one level ¿ibove 'Junlc." In aclclition, 'I'ovzr cut its proht Iòrecast fòr

2017, cut its dividend, and warned investors that it risks blcaching debt covenants.

        346. It was entirely foreseeable      that concealing the Company's conoealment of its

price increase plan, which was unsustainable over more than a short period, would, among <lther

things, inflate the revenues from its generics business and artificially inflate the price       of its

securities. It was also foreseeable that the disclosure of this information, and the materialization

o1'concealed risks associated with'feva's misconduct, would cause the price of 'leva's securities

to decline as the inflation    caused   by 'feva's earlier misrepresentations and omissions        was

removed from the price      of l['eva's securities. Accordingly, l)efendants' conduct, as alleged

herein, proximately caused foreseeable losses       iòr Plaintiff's, who purchased Teva securities
during the Relevant Period.

VUI" PLAINTIFFS ARE ENTITLBD                 TO A PII.ESUMPTION OF REI.,IANCB

        347. At all relevant times, the market for 'I.eva ADS was open and efficient for the
following reasons, among others: (i) 'l'eva ADS met the recluirements for listing, and were listed

and actively traded on the NYSE under the ticker symbol           "TEVA"; (ii)     as a registered and

regulated issuer of securities, Teva filed periodic public reports with the SEC, in addition to the

Company's frequent voluntary dissemination of information; (iìi) 'teva regularly communicated

with investors via established market communication mechanisnts, including through regular

disseminations of press releases on the national circuits of major newswire services and through

other wide-ranging public disclosures, such as communications with the financial                  press,

securities analysts, and other similar repolting services; (iv) Teva was followed by numerous

securities analysts employed by major brokerage firms, including Citigroup, Goldman Sachs,


                                                  12r
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 127 of 134




Needham     &   Cornpany, UllS, llarclays Capital, Ilank of America Merrill l-yncl'r,   llMO Capital,

Susquehanna lìinanoial (iroup, J.P. Morgan, ancl Wells lìargo, who wrote reports that were

distributed to the sales lbrce ancl eertain cust<lmers of their respeotivc brokerage firms and that

were publicly available and entered the public marketplace; (v) the material n.rist'cpt'cscntalions

and omissions alleged herein would induce a rcasonable investor to misjuclgc the value of Teva's

ADS; and (vi) without knowledge of tho misrepresentecl or omitted fàcts, Plaintiffs purchased or

otherwise acquired Teva ADS between the time that Defendants made                        the rnaterial
misrepresentations and ornissions and thc tirne that the truth was revealed, during whioh period

the price    of   'I-eva's ADS was artificially inflated   by Defendants'   misrepresentations and

omlssl0ns.

       348.       As a result of the f'bregoing, the market for '|eva ADS promptly digested current

information regarding 'I'eva ÍÌom all publicly available solìtces and the prices of Teva's ADS

reflected such information. Based upon the materially false or rnisleading statetnents and

omissions of material fact alleged herein, Teva ADS traded at prices in excess of the true value

of such shares during the Relevant Period. Plaintiffì purchased or otherwise acquired 'feva ADS

relying upon the integrity of the market price and other market information relating to f'eva.

        349.      Under these circumstances, Plaintiffs, as purohasers or accluirers of Teva ADS at

artifìcially inflated prices during the Relevant Period, suffered similar injuries and   a presumption


of reliance under the frau<1-on-the-market doctrine applies.

        350.      Further, at   all   relevant times, Plaintiffs relied upon Defendants    to   disclose

material information as tequire<lby law and in the Company's SEC filings. Plaintiffs would not

have purchased or otherwise acquired 'l-eva ADS at artificially inllated prices    if   Defendants had

clisclosed all material information as required. Thus, to the extent that Defendants ooncealed or




                                                    122
         Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 128 of 134




                            clisclose nraterial lacts with regarcl
                                                                     to tlre Cornparry and its business,
irnproperly failecl to

Plaintiffs arc entitled to   a presumption o1'reliance

                                                        BTrSPn,,{KS         CAtjl.I{}þ{ x}ÛCT.It{N{i,
TX.      'î.Ï{IÙ STA'rîJ'1.Ûï'{'Y SAF{I î{AR.B(}I{,,{NÐ
         AtrìE tr N,'\.1' I' LI C AIlLtl

       351.'I'hePrivatesecuritiesLitigationRelbrmAct'sstatutorysafeharborand/orthe
                                                            statements under certain
,,bespeaks caution doctrine,, appricabre to forward-rooking
                                                                                        alleged herein'
                                                        false or misreading staternents
 circumstances      not appry to any of the rnateriaily
                  <1o


                  None of the statements complained
                                                         of herein were forward-looking statements'
           352.
                                                                                facts ancl
                                          or a statement of purportedry current            '0nclitions
 I{ather, each was a historicar statement

                                made'
 at the time each statement was

           353..I.otlreextentthatarryofthemateriallyfalseormislea<lirrgstatementsalleged
                                                                               such statements were not
                   portions   thereof, can  be construed as forwarcl-looking,
  lrerein, or any
                                                                                   faots that could cause
                  by  meaningful     cautionary  language i<lentifying important
   accompanied
                                                                          set forth above in detail'
                                                                                                     given
          results to differ rnateria'y  from those in the statements. As
   actual
                                                                            generalized risrc disclosures
                        facts  contr.adicting Defendants, statements, any
   the  then_existing
                                                                                   for their materially
                                             to insurate Defendants from liability
   ma<le   by Defendants were not sufrrcient

                                     omissions'
   false or misleading statements or

                        'I'o the extent that the statutory safe harbor may apply
                                                                                 to any materially false or
             354.

      mislea<lingstatementallegedherein,oraportionthereof,Defendantsareliableforanysuchfalse

      ormisleadingf-orward-lookingstatementbecauseattlretimesuchstatetnentwasmade,the
                                               mislea<ling' or the statement
                                                                             was authorized and
                    the statement was false or
      speaker knew

      approvedbyanexecutiveofficerof.fevawhoknewthattheforward-lookingstatementwasfalse

      or misleaciing




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       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 129 of 134




X"      CAUSBS OF ACTION

                                                   CÛ{JNT T
                           F'or Violations of Section 10(b) of the Exchange Act
                                anct trtulc X{}b-S Pnomulgafcd T'trereuneler
                               Against T eva and the Individual n]ef'endants

         355.   Plaintiffs repeat and re-allege each and every allegation set forth above as if fully

set forth herein.

         356,   This Count is asserted pursuant to Section 10(b) of'the llxchange Act, and Rule

10b 5 promulgated thereunder, against'feva and the Individual I)efendants.

         351. As alleged herein,       throughout the Relevant Period, Teva and the Individual

Defendants, individually and       in concert, directly and indirectly, by the use of the means or

instrumentalities     of interstate commerce, the rnails and/or the fàcilities of national   securities

exchanges, made materially untrue statements of material fact and/or ornitted to state material

facts necessary to make their statements not misleading and carried out a plan, scheme, and

course   of conduct, in violation      o1'Section 10(b)      of the Exchange Act and lìule 10b 5
promulgated thereunder. Teva and the Individual Defendants intended to and did, as alleged

herein, (i) deceive the investing public, including Plaintiffs; (ii) artihcially inflate and maintain

the prices of 'I'eva's ADS; and         (iii)   oause Plaintiffs   to   purchase the Company's   Al)S   at

artifioially infl ated prices.

         358.       The Individual Defendants were individually and collectively responsible for

making the materially false and mislea<ling statements and omissions alleged herein and having

engaged   in a plan, scheme, and course of conduct designed to deceive Plaintiffs, by virtue of

having made public statements and prepared, approved, signed, and/or disseminatcd documents

that contained untrue statements of material fact and/or omitted facts necessary to make the

statements therein not misleading.




                                                      124
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 130 of 134




                                                                             macle the materially fälsc
       35g.       As set forth above, ]'cva ancl the Indiviclual Defènclanls

                                              engagecr in trre    liaudulent activity describecl herein
ancl rnisleading statements and omissions and

                                                        rcckless mannef        ¿rs   to constittlte willftrl
knowingly and intentionally, or in such a cleliberately

<leceit and fraud upon
                          plaintiffs, who purohaseil the Company's ADS cluring the Relevant Period'

        360.Inignoranceofthemateriallyfalsean<lmisleaclingrratureirfi.leva,sandthe
                                                    and relying <lirectly or indirectly on those
Inilivi<lual Defendants' statemeuts ancl omissions,
                                                price for 'reva's ADs, plaintiffs purchased the
statements or upon the integrity of the market

                                                     the Iìelevant Pcliod' Ilut for the fraud'
 company,s ADS at artihcially inflaled prices during
                                                                           inflated prices' As
 praintiffs would not have purohased the company's ADS at such artihcially
                                                                                       'feva's ADS
                                                             disclosed, the price of
 set forth herein, when the true facts were subscquently
                                                    ancl clarnage<l as a direot and proximate
                                                                                               result
 declined precipitously, and Plaintiffs were harmed
                                                                              and the subsequent
 of their   purchases    of the company,s ADS at artificiauy inflatecl prices

 declineinthepriceoftlratstockwlrentlretruthwasdisclosed'
                                                                                               are liable to
            36.i Iìy virtue o1' the foregoing, Teva ancl the Individual Defendants
                                                                              5'
  plaintiffs for violations of Section 10(b) of the Exchange Act and Rule 10b

                                                 COUNT       II
                                                                             Act
                              ForViolations of Section 20(a) of the Exchange
                                      Against the Individual Def'enclants
                                                                              set forth above as if fully
            362     Plaintiffs repeat and re-allege eaoh and every allegation

  set forlh herein'
                                                                      of the Exchange Act against each
            363      This Count is asserted pursuant to Section 20(a)

   of the Individual Dcfen<lants

            3(14'Asallegedabove,theCompanyviolatedsectionl0(b)ofthel.jxchangeAotand
                                                           false a'd misleading statements ancl
   Iìure 10b 5 promulgated thereunder by making materia[y
                                                sale of Teva's ADS, and by participating
                                                                                           in a
   omissions in connection with the purchase or

                                                       125
        Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 131 of 134




fraudulent scheme and course of business or oonduct throughout the Iìelevant Period. 'I'his

fiaudulent conduct was un<lertalcen with scienter, and 'l'eva is chargcd with th<l knowledge and

soientcr of each of the Individual Defi¡ndants who knew of or ¿rctecl with clelibcrate reclçless

disregard of the falsity of thc Company's statements ancl the fraudulent naturç       of its schemc

during the l{clcvant Periocl.

         365.    As set forth above, the Individual Defendants were controlling persons of       the

Company during the ilelevant Period, due to their senior executive positions with the Company

an<l   their direct involvement in the Cclmpany's day-to-day operations, including their power to

control or influence the policies and practices giving rise to the securities violations alleged

herein, and exercised the same.

          366. By virtue of the foregoing, the Individual Defendants        each had the power to

influence and oontrol, and did inlluence and control, dircctly or indirectly, the decision-making

of the Company, including the content of its public statements with respect to its operations,

corporate goveÍnance, and complianoe with regulators.

          367.    The Individual Defendants were culpable participants in 'leva's fiaud alleged

herein, by acting acted knowingly and intentionally, or in such a deliberately reckless rtanner as

to constitute willlul lraud and deceit upon Plaintiffì, who purchased the Company's ADS during

the Relevant Period.

          368.    By reason of the fioregoing, the Individual l)efendants are liable to Plaintiffs   as


controlling persons of the Company in violation of Section 20(a) of the ìrxchange Act.

YI        ÞÞ   AVIIIì   NOf¿ r{NI,IITF'

WIIERIIFORE, Plaintiff.s respectfully pray for judgment as follows:

          369.    l)eclaring and deteunining that f)efendants violated the Exchange Act by reason

of the acts and omissions allegecl herein;


                                                  126
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 132 of 134



       370.      Awarding Plaintifß compenszrtory damagcs against all Defendants, jointly and

severally, in an amount to be proven at trial togcthcr with prcjuclgment intercst thercon;

       371,      Awarding Plaintiflìc thcir reasonable costs and cxpenscs incurrcd in this action,

including but not limited to, attorneys' lèes and costs incurrecl by consulting and testil'ying oxpert

witnesses; and

       372.      Granting such other and further relief'as the Court deems just and proper.

XII.   JURY TIìIAL DEMANDEI)

       Plaintiffs hereby deman<l atrial by jury.




                                                   121
      Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 133 of 134




                                     RespectfullY submitted'
Dated: MaY 28,2020


                                     By:
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                                                 Counsel   for Plaintiff




                                           128
       Case 3:17-cv-00558-SRU Document 389 Filed 05/28/20 Page 134 of 134




                                    CE                  F TIRVICE

       I   horeby certify that on May 2tì, 2020, a copy of the Iòregoing document was {ìled

elcctronioally and scrved by rnail on anyone unable to accept clectronic          liling. Notiee o1'this

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by mail to anyone unablc to accept electronic filing as indicatecl on the Notice of lllectronic

Filing. Parties may   access this   filing through the court's CM/llCF Systetn.

                                                           /s/William 11. Cle ndenen. .lr
                                                           Williarn FI. Clendcnen, .Tr
